                          Appendix B




Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 1 of 314 PageID #:
                                    11015
                                                                         Page 1

     ··
     ··UNITED STATES DISTRICT COURT
     ··EASTERN DISTRICT OF TENNESSEE
     ··KNOXVILLE DIVISION
     ··---------------------------------------x
     ··LEWIS COSBY, KENNETH R. MARTIN,
     ··as beneficiary of the Kenneth Ray Martin
     ··Roth IRA, and MARTIN WEAKLEY on
     ··behalf of themselves and all others
     ··similarly situated,
     · · · · · · · · · · · · · ·Plaintiffs,
     · · · · · · · · · ·vs.· · · · · · ··No. 3:16-cv-00121
     ··KPMG, LLP,
     · · · · · · · · · · · · · ·Defendant.
     ··---------------------------------------x
     · · · · · · · · · · · · · ·April 12, 2019
     · · · · · · · · · · · · · ·9:01 a.m.
     ··
     · · · · ·VIDEOTAPED DEPOSITION of CHAD COFFMAN, held
     ··at the law offices of MCDERMOTT WILL & EMERY LLP,
     ··340 Madison Avenue, New York, New York, before
     ··Eleanor Greenhouse, a Shorthand Reporter and Notary
     ··Public within and for the State of New York.
     ··
     ··

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 2 of 314 PageID #:
                                    11016
                                                                         Page 2

 ·1· ·
 ·2· ·A P P E A R A N C E S:
 ·3· ·Attorneys for Plaintiffs:
 ·4· ·COHEN MILSTEIN SELLERS & TOLL PLLC
 ·5· · · · ·88 Pine Street, 14th Floor
 ·6· · · · ·New York, New York··10005
 ·7· ·BY:· ·LAURA H. POSNER, ESQ.
 ·8· · · · ·lposner@cohenmilstein.com
 ·9· ·
 10· ·Attorneys for Defendant:
 11· ·MCDERMOTT WILL & EMERY LLP
 12· · · · ·340 Madison Avenue
 13· · · · ·New York, New York··10173-1922
 14· ·BY:· ·GREGORY BALLARD, ESQ.
 15· · · · ·gballard@mwe.com
 16· · · · · · ·- AND -
 17· ·WALLER LANSDEN DORTCH & DAVIS, LLP
 18· · · · ·Nashville City Center
 19· · · · ·511 Union Street - Suite 2700
 20· · · · ·Nashville, Tennessee 37219
 21· ·BY:· ·PAUL S. DAVIDSON
 22· · · · ·paul.davidson@wallerlaw.com
 23· ·ALSO PRESENT:
 24· · · · ·Mukarram Attari, Charles River Associates
 25· · · · ·Allison Hart, Paralegal, McDermott Will & Emery

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 3 of 314 PageID #:
                                    11017
                                                                         Page 3

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·THE VIDEO TECHNICIAN:··This is the
 ·3· · · · ·video deposition of Chad Coffman in the
 ·4· · · · ·matter of Lewis Cosby et al. versus KPMG,
 ·5· · · · ·LLP.··This deposition is being held at
 ·6· · · · ·McDermott Will & Emery LLP on April 12, 2019
 ·7· · · · ·at 9:01:00 a.m.
 ·8· · · · · · · ·My name is Darrak Lighty from Reporters
 ·9· · · · ·Central and I'm the video specialist.··The
 10· · · · ·court reporter today is Eleanor Greenhouse,
 11· · · · ·also associated with Reporters Central.
 12· · · · · · · ·Counsel will now state their
 13· · · · ·appearances for the record.
 14· · · · · · · ·MS. POSNER:··Laura Posner, Cohen
 15· · · · ·Milstein, Sellers & Toll PLLC, for the
 16· · · · ·Plaintiff.
 17· · · · · · · ·MR. BALLARD:··I'm Greg Ballard, from
 18· · · · ·McDermott Will & Emery, for KPMG, LLP.··I
 19· · · · ·have Allison Hart, a paralegal here, also
 20· · · · ·from McDermott, with me.
 21· · · · · · · ·MR. ATTARI:··Mukarram Attari, Charles
 22· · · · ·River Associates.
 23· · · · · · · ·MR. DAVIDSON:··Paul Davidson, Waller
 24· · · · ·Lansden, on behalf of KPMG.
 25· · · · · · · ·THE VIDEO TECHNICIAN:··Will the court

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 4 of 314 PageID #:
                                    11018
                                                                         Page 4

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·reporter please swear in the witness.
 ·3· ·C H A D· ·C O F F M A N, called as a witness,
 ·4· · · · ·having been duly sworn by a Notary Public,
 ·5· · · · ·was examined and testified as follows:
 ·6· · · · · · · ·(Exhibit 25, March 15, 2019 expert
 ·7· · · · ·report of Chad Coffman, marked for
 ·8· · · · ·identification, as of this date.)
 ·9· ·EXAMINATION BY
 10· ·MR. BALLARD:
 11· · · · ·Q.· ··I'm handing you Exhibit 25.··What is
 12· ·Exhibit 25?
 13· · · · ·A.· ··This appears to be a copy of the report
 14· ·I prepared and submitted in this matter.
 15· · · · ·Q.· ··Did you sign this report on March 15,
 16· ·2019?
 17· · · · ·A.· ··Yes.
 18· · · · ·Q.· ··Does Exhibit 25 contain a complete and
 19· ·accurate statement of your opinions as you hold
 20· ·them today in this matter?
 21· · · · ·A.· ··Yes.··It summarizes the opinions, the
 22· ·overarching opinions I've reached.··Within the
 23· ·report there are a lot of sub-opinions as well, and
 24· ·obviously my background and experience contributed
 25· ·in a lot of ways to some of the analyses, but the

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 5 of 314 PageID #:
                                    11019
                                                                         Page 5

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·summary of the opinions is certainly contained in
 ·3· ·the report.
 ·4· · · · ·Q.· ··Did you prepare this report?
 ·5· · · · ·A.· ··I did.··I had -- I directed the
 ·6· ·preparation of the report.··I had assistance from
 ·7· ·staff members of my firm.
 ·8· · · · ·Q.· ··You had assistance but ultimately it's
 ·9· ·your opinion and your report?
 10· · · · ·A.· ··Absolutely, yes.
 11· · · · ·Q.· ··Did you attempt to include in this
 12· ·report a complete statement of all opinions you
 13· ·will express in this matter and the basis and
 14· ·reasons for them?
 15· · · · · · · ·MS. POSNER:··Objection.··As to class
 16· · · · ·certification?
 17· · · · · · · ·MR. BALLARD:··As to class certification,
 18· · · · ·yes.
 19· · · · ·A.· ··I expressed opinions on the questions I
 20· ·was asked, and I haven't been asked any additional
 21· ·questions outside the scope of this in terms of
 22· ·opinions I'm being asked to form.
 23· · · · ·Q.· ··As to the opinions you've been asked to
 24· ·form, did you --
 25· · · · ·A.· ··Or asked to answer, sorry.··Questions

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 6 of 314 PageID #:
                                    11020
                                                                         Page 6

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·I've been asked to answer.
 ·3· · · · ·Q.· ··As to the questions you were asked to
 ·4· ·answer, does Exhibit 25 contain a complete
 ·5· ·statement of the opinions that you developed?
 ·6· · · · ·A.· ··I believe it does, yes.
 ·7· · · · ·Q.· ··Does it contain the bases and the
 ·8· ·reasons for those opinions?
 ·9· · · · ·A.· ··Yes, it does.··Again, there may be some
 10· ·elements of my experience and knowledge that I have
 11· ·not committed to the four corners of this report,
 12· ·but I believe it summarizes all of the analyses I
 13· ·performed and the logic I'm using to reach the
 14· ·opinions.
 15· · · · ·Q.· ··You did your best to comply with the
 16· ·Federal Rules requirement that this report contains
 17· ·a complete statement of all opinions you will
 18· ·express and the bases and reasons for them as to
 19· ·class cert; correct?
 20· · · · ·A.· ··Yes, absolutely.
 21· · · · ·Q.· ··Did you include in this report the
 22· ·facts and data you considered in formulating these
 23· ·opinions?
 24· · · · ·A.· ··I believe the results of any analyses I
 25· ·performed are summarized in the report.··I believe

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 7 of 314 PageID #:
                                    11021
                                                                         Page 7

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·there was a host of backup material that was
 ·3· ·created that's not in the report per se, but that
 ·4· ·supports the report, I believe.··I actually don't
 ·5· ·recall if that material was asked for or produced,
 ·6· ·but there is backup material that is not explicitly
 ·7· ·in the report.
 ·8· · · · ·Q.· ··Does this report contain the exhibits
 ·9· ·or any exhibits that you would use to support your
 10· ·opinions?
 11· · · · ·A.· ··Based on what I know right now, yes.
 12· · · · ·Q.· ··It contains your qualifications as
 13· ·well?
 14· · · · ·A.· ··It does, yes.
 15· · · · ·Q.· ··Did you list all of the publications
 16· ·that you have made in the last ten years in your
 17· ·report?
 18· · · · ·A.· ··Yes.
 19· · · · ·Q.· ··I'd like you to turn to page 3 of
 20· ·Exhibit 25 and I'll direct your attention to the
 21· ·first paragraph of your report.··Do you have that?
 22· · · · ·A.· ··Yes.
 23· · · · ·Q.· ··In this paragraph, you indicate that
 24· ·you were asked by counsel for the plaintiffs to
 25· ·examine and opine on whether the markets for Miller

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 8 of 314 PageID #:
                                    11022
                                                                         Page 8

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·Energy Resources, Inc.'s publicly traded securities
 ·3· ·were efficient during the period from August 29,
 ·4· ·2011, through July 30, 2015, inclusive, and you
 ·5· ·defined that as the analysis period; right?
 ·6· · · · ·A.· ··Yes.
 ·7· · · · ·Q.· ··Why was the analysis period different
 ·8· ·from the originally proposed time period in this
 ·9· ·case, do you know?
 10· · · · · · · ·MS. POSNER:··Objection.··I think it
 11· · · · ·calls for attorney-client privileged
 12· · · · ·communications.
 13· · · · ·A.· ··I don't know all the reasons that
 14· ·counsel asked me to analyze that particular period.
 15· · · · ·Q.· ··So this was a period that was given to
 16· ·you and you were just asked to opine on that, you
 17· ·didn't determine what the period would be; is that
 18· ·fair?
 19· · · · ·A.· ··I ultimately did not determine the
 20· ·period that was used.··I believe there was some
 21· ·discussion ahead of my starting work about using
 22· ·this period versus the full class period, but
 23· ·again, I wasn't the one that ultimately made the
 24· ·decision, so I don't know all the different reasons
 25· ·that were used.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 9 of 314 PageID #:
                                    11023
                                                                         Page 9

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··Is it your understanding that the
 ·3· ·analysis period that you examined is now the class
 ·4· ·period that is being proposed in the case?
 ·5· · · · ·A.· ··I don't know that for sure.
 ·6· · · · ·Q.· ··You were asked to examine whether the
 ·7· ·market was efficient for three separate securities;
 ·8· ·is that right?
 ·9· · · · ·A.· ··That's right.
 10· · · · ·Q.· ··The common stock was one, the 10.75
 11· ·percent C series preferred stock was another, and
 12· ·the 10.5 percent D series preferred stock was the
 13· ·third; is that right?
 14· · · · ·A.· ··That's correct, yes.
 15· · · · ·Q.· ··Did you examine each of those three
 16· ·securities as to whether the market for the trading
 17· ·was efficient?
 18· · · · ·A.· ··Yes.
 19· · · · ·Q.· ··Each of those three securities was, in
 20· ·fact, a separate security with a separate CUSIP
 21· ·number; is that right?
 22· · · · ·A.· ··Yes, that's my understanding.
 23· · · · ·Q.· ··Each traded separately; is that right?
 24· · · · ·A.· ··In the way I think about it, yes.
 25· · · · ·Q.· ··And each of the three securities at

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 10 of 314 PageID #:
                                    11024
                                                                        Page 10

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·issue, the common stock, the Series C and the
 ·3· ·Series D, traded at different prices through the
 ·4· ·analysis period; is that right?
 ·5· · · · ·A.· ··That's fair, yes.
 ·6· · · · ·Q.· ··Because they're different securities?
 ·7· · · · ·A.· ··Yes.
 ·8· · · · ·Q.· ··And each of the three securities had
 ·9· ·its own unique characteristics; is that fair?
 10· · · · · · · ·MS. POSNER:··Objection.
 11· · · · ·A.· ··Yes.
 12· · · · ·Q.· ··You, in fact, described some of those
 13· ·in the appendices to your report where you listed
 14· ·some of the characteristics of the C series and the
 15· ·D series; is that right?
 16· · · · ·A.· ··Yes.
 17· · · · ·Q.· ··Would it be possible for a company's
 18· ·common stock to trade in an efficient market while
 19· ·its preferred stock does not?
 20· · · · · · · ·MS. POSNER:··Objection.
 21· · · · ·A.· ··Yes.
 22· · · · ·Q.· ··So you have to evaluate each of the
 23· ·securities to determine whether the market for that
 24· ·security was efficient?
 25· · · · ·A.· ··Yes.··I mean, you can learn

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 11 of 314 PageID #:
                                    11025
                                                                        Page 11

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·something -- I don't think that it's absolutely
 ·3· ·independent.··In other words, if a number of
 ·4· ·factors point towards efficiency for all the
 ·5· ·securities and one security is -- you know, has
 ·6· ·even additional evidence that it trades efficiently
 ·7· ·and the prices are moving how you would expect them
 ·8· ·to in terms of consistency across markets, that
 ·9· ·might provide some additional evidence of
 10· ·efficiency, but ultimately, the way I approach a
 11· ·problem is to analyze each of them separately.
 12· · · · ·Q.· ··So if you're examining whether the
 13· ·market for a particular security of a company is
 14· ·efficient and you determine that it is, and then
 15· ·you were asked to determine whether the market for
 16· ·another of that company's security was efficient,
 17· ·you might consider the work you had already done,
 18· ·but what you had concluded with respect to the
 19· ·first security would not, standing alone, be enough
 20· ·for you to conclude that the second security is
 21· ·trading in an efficient market; is that fair?
 22· · · · · · · ·MS. POSNER:··Objection.
 23· · · · ·A.· ··I think that's fair in most
 24· ·circumstances.··I can think of securities like
 25· ·tracking stocks or things like that where they move

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 12 of 314 PageID #:
                                    11026
                                                                        Page 12

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·almost in tandem where you might not need to do a
 ·3· ·whole lot, but yes, that's generally true.
 ·4· · · · ·Q.· ··So at least for the three securities
 ·5· ·you looked at here, it's true you would have to
 ·6· ·look at each one separately?
 ·7· · · · ·A.· ··Yes, and that's what I did.
 ·8· · · · ·Q.· ··In paragraph 2 of your report, you
 ·9· ·indicate that you have been asked to opine on
 10· ·whether calculating damages in this matter is
 11· ·subject to a common methodology under Section 11
 12· ·and under Section 12; right?
 13· · · · ·A.· ··No.
 14· · · · · · · ·MS. POSNER:··Objection.
 15· · · · ·Q.· ··I'm sorry -- let me restate that.··I
 16· ·was wrong.
 17· · · · · · · ·In paragraph 2, you indicate that you
 18· ·were asked to opine on whether it is possible to
 19· ·subject damages calculations to a common
 20· ·methodology under Section 10(b) of the Securities
 21· ·and Exchange Act and Section 11 of the Securities
 22· ·Act; is that correct?
 23· · · · ·A.· ··Yes.
 24· · · · ·Q.· ··So basically you were asked for
 25· ·opinions on two questions, one on market

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 13 of 314 PageID #:
                                    11027
                                                                        Page 13

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·efficiency, and two on whether damages are capable
 ·3· ·of class-wide determination?
 ·4· · · · · · · ·MS. POSNER:··Objection.
 ·5· · · · ·A.· ··Yes, I believe that's a fair summary.
 ·6· · · · ·Q.· ··Have you been asked for opinions on any
 ·7· ·other topics beyond those two?
 ·8· · · · ·A.· ··No.
 ·9· · · · ·Q.· ··Have you formulated any opinions on any
 10· ·topics other than those two?
 11· · · · ·A.· ··No.
 12· · · · ·Q.· ··As for the opinion on damages -- well,
 13· ·let me rephrase that.··You're not giving an opinion
 14· ·on damages, right, you're giving an opinion on
 15· ·whether it would be possible to determine damages
 16· ·on a class-wide basis; right?
 17· · · · ·A.· ··That's correct, yes.··If by the first
 18· ·question, you mean have I quantified damages, the
 19· ·answer is no.
 20· · · · ·Q.· ··When you were asked this question
 21· ·whether calculating damages is subject to common
 22· ·methodology, did you treat that question as a
 23· ·matter of economics or a question of law or
 24· ·something else?
 25· · · · ·A.· ··Economics and experience in these types

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 14 of 314 PageID #:
                                    11028
                                                                        Page 14

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·of matters, but it's ultimately an economic
 ·3· ·question.
 ·4· · · · ·Q.· ··Were you asked to calculate damages in
 ·5· ·this case?
 ·6· · · · ·A.· ··In terms of forming an opinion to
 ·7· ·calculate damages?
 ·8· · · · ·Q.· ··Yes.
 ·9· · · · ·A.· ··No.
 10· · · · ·Q.· ··Did you attempt to calculate damages in
 11· ·this case?
 12· · · · ·A.· ··No, I have not attempted to do
 13· ·calculate damages in this case.
 14· · · · ·Q.· ··So you have not, as of today, actually
 15· ·calculated the damages for any of the claims in
 16· ·this case?
 17· · · · ·A.· ··That's correct.
 18· · · · ·Q.· ··So you were asked to opine only on
 19· ·whether it might be possible to calculate damages
 20· ·in this case; is that fair?
 21· · · · ·A.· ··I don't know about the word "might."
 22· · · · ·Q.· ··Let me rephrase it.
 23· · · · ·A.· ··Yes.
 24· · · · ·Q.· ··You were asked only whether it is
 25· ·possible to calculate damages in this case?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 15 of 314 PageID #:
                                    11029
                                                                        Page 15

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·MS. POSNER:··Objection.
 ·3· · · · ·Q.· ··Is that fair?
 ·4· · · · ·A.· ··I guess I prefer the wording that is
 ·5· ·here, whether there is a common methodology that
 ·6· ·allows calculation of damages for the entire class.
 ·7· · · · ·Q.· ··I see.··So you were asked only whether
 ·8· ·there's a common methodology for calculating
 ·9· ·damages.··You were not asked whether it's possible
 10· ·and you were not asked to actually do it; is that
 11· ·fair?
 12· · · · ·A.· ··Well, I think --
 13· · · · · · · ·MS. POSNER:··Objection.
 14· · · · ·A.· ··-- in ascertaining whether there's a
 15· ·common methodology, I was entertaining the
 16· ·question, is this case, like the dozens or even
 17· ·hundreds of others I've come across in my career in
 18· ·which I've been asked to perform damages
 19· ·calculations, is there anything specific in this
 20· ·case that implies that the methodology that is used
 21· ·in virtually every case, the out-of-pocket
 22· ·methodology, that for some reason it's -- it
 23· ·wouldn't make sense in this case.
 24· · · · · · · ·So in my mind, I was being asked is it
 25· ·possible to calculate damages in this case and so I

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 16 of 314 PageID #:
                                    11030
                                                                        Page 16

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·believe the answer to that is yes and I believe I'm
 ·3· ·giving that opinion.
 ·4· · · · ·Q.· ··So you are in a sense giving an opinion
 ·5· ·as to whether it's possible to calculate damages,
 ·6· ·you just haven't done it yet?
 ·7· · · · ·A.· ··Correct.
 ·8· · · · ·Q.· ··Do you know if you are going to be
 ·9· ·asked to calculate damages in this case?
 10· · · · ·A.· ··I don't know.
 11· · · · ·Q.· ··So at this point you're basically
 12· ·saying, "I haven't done it yet, I haven't tried to
 13· ·do it yet, but trust me, I could do it if you asked
 14· ·me to"?
 15· · · · · · · ·MS. POSNER:··Objection.
 16· · · · ·A.· ··I don't know that I'm saying trust me.
 17· ·I'm saying based on my reading of the complaint and
 18· ·understanding of plaintiffs' allegations and the
 19· ·nature of plaintiffs' allegations and the nature of
 20· ·what is laid out there and my discussions with
 21· ·plaintiffs' counsel, that this case looks like, in
 22· ·its core features, dozens of other cases in which
 23· ·I've been engaged to evaluate and compute damages.
 24· · · · · · · ·And in all those cases, virtually all
 25· ·those cases, the damages were being calculated on

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 17 of 314 PageID #:
                                    11031
                                                                        Page 17

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·the out-of-pocket methodology that I described in
 ·3· ·this report and I see no reason, as a matter of
 ·4· ·economics, that that methodology wouldn't apply in
 ·5· ·this case.
 ·6· · · · ·Q.· ··So in your view, there's nothing unique
 ·7· ·about this case that would make that common
 ·8· ·methodology referred to inapplicable?
 ·9· · · · ·A.· ··That's correct.
 10· · · · ·Q.· ··You mentioned dozens of cases where
 11· ·you've been engaged to compute damages.··Did I hear
 12· ·that right?
 13· · · · ·A.· ··Yes.··I think I said dozens or even
 14· ·more than 100 or something to that effect.
 15· · · · ·Q.· ··It's a bunch?
 16· · · · ·A.· ··It's a lot, yes.
 17· · · · ·Q.· ··Over a long period of time?
 18· · · · ·A.· ··Yes.
 19· · · · ·Q.· ··When was the first time, just roughly,
 20· ·when you were engaged to calculate damages in a
 21· ·securities class action?
 22· · · · ·A.· ··It probably would have been -- I don't
 23· ·know an exact time, but it probably would have been
 24· ·around 1997 or 1998.··I was not a testifying expert
 25· ·then, but I was a consulting expert that was

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 18 of 314 PageID #:
                                    11032
                                                                        Page 18

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·working with a party in a class action securities
 ·3· ·case and I was attempting to compute damages under
 ·4· ·a number of different scenarios.
 ·5· · · · ·Q.· ··Do you recall when you were first
 ·6· ·engaged as a testifying expert on damages in a
 ·7· ·class action securities case roughly?
 ·8· · · · ·A.· ··Probably around 2008 or 2009.
 ·9· · · · ·Q.· ··So you've had a lot of experience both
 10· ·as a consulting and as a testifying expert on the
 11· ·topic of damages?
 12· · · · ·A.· ··In class action securities cases, yes.
 13· · · · ·Q.· ··And have you used the same methodology
 14· ·in all of those matters?
 15· · · · ·A.· ··No.
 16· · · · ·Q.· ··What is the most common methodology
 17· ·you've used in these matters?
 18· · · · ·A.· ··The out-of-pocket methodology that I
 19· ·described.··There were a couple of cases with
 20· ·unique circumstances or unique legal theories that
 21· ·were being put forth and I calculated damages under
 22· ·a couple of different scenarios where it was not
 23· ·the out-of-pocket methodology, but the vast, vast
 24· ·majority, almost exclusively, it's on the
 25· ·out-of-pocket methodology.

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 19 of 314 PageID #:
                                    11033
                                                                        Page 19

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··So really there's only been a couple of
 ·3· ·cases where you used a different methodology?
 ·4· · · · ·A.· ··Again, I can -- I think that's fair,
 ·5· ·yes.
 ·6· · · · ·Q.· ··Do you remember the names of any of
 ·7· ·those cases?
 ·8· · · · ·A.· ··In the DVI matter, I put forth two
 ·9· ·different methodologies, the traditional
 10· ·out-of-pocket methodology based on an event study,
 11· ·and then a model I referred to as the insolvency
 12· ·model which I guess still falls under the idea of
 13· ·an out-of-pocket methodology, but it was -- did not
 14· ·employ the usual event study approach to
 15· ·ascertaining what the inflation was.
 16· · · · · · · ·And then in the BP matter, there was a
 17· ·legal theory being put forward that deviated from
 18· ·the out-of-pocket methodology.
 19· · · · ·Q.· ··What was that method that deviated from
 20· ·the out-of-pocket?
 21· · · · ·A.· ··Well in that particular case, there
 22· ·were two separate classes.··There was a post-oil
 23· ·spill class that used the standard out-of-pocket
 24· ·methodology, and then there was a pre-spill class
 25· ·where the allegation or the legal theory being put

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 20 of 314 PageID #:
                                    11034
                                                                        Page 20

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·forward was that investors could recover for losses
 ·3· ·suffered as a result of the oil spill even though
 ·4· ·had the full truth of what was alleged to have been
 ·5· ·misleading was not -- if that had been disclosed
 ·6· ·prior to the oil spill, it was clear that the stock
 ·7· ·price wouldn't have reacted as it did after the oil
 ·8· ·spill, but that plaintiffs' legal theory in that
 ·9· ·case was that they were entitled to the full drop
 10· ·even after the oil spill.
 11· · · · ·Q.· ··The class was certified for the
 12· ·post-spill class and was not certified for the
 13· ·pre-spill class; is that right?
 14· · · · ·A.· ··That's right.
 15· · · · ·Q.· ··And your opinion was rejected in
 16· ·connection with the pre-spill class; correct?
 17· · · · ·A.· ··Well, my opinion was -- again, I think
 18· ·it's a little more complex than that.··My -- I was
 19· ·engaged to opine on the appropriate method of
 20· ·damages under their legal theory and that legal
 21· ·theory was rejected, so I -- you know, the method I
 22· ·was proposing for calculating damages was not
 23· ·accepted, yes.··The class was not certified.
 24· · · · ·Q.· ··And in the DVI case, your opinions were
 25· ·challenged in that case as well.··Do you recall the

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 21 of 314 PageID #:
                                    11035
                                                                        Page 21

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·outcome of that?
 ·3· · · · ·A.· ··I believe the more traditional
 ·4· ·out-of-pocket methodology, the class was certified,
 ·5· ·and with the exception of certain corrective
 ·6· ·disclosures which were ruled that both I and the
 ·7· ·defense expert could not opine with regard to
 ·8· ·damages on certain corrective -- some small
 ·9· ·minority of the corrective disclosures, the
 10· ·insolvency theory was ruled to not sufficiently fit
 11· ·with the law, and so I was prevented from
 12· ·testifying about that particular theory.
 13· · · · ·Q.· ··So have you -- I know you've expressed
 14· ·an opinion in this case on your conclusion that a
 15· ·common methodology is available.··Have you
 16· ·evaluated whether it would, in fact, be necessary
 17· ·to turn to an alternative method of computing
 18· ·damages if you were asked to actually compute
 19· ·damages in this case?
 20· · · · · · · ·MS. POSNER:··Objection.
 21· · · · ·A.· ··I have not entertained or been involved
 22· ·in any discussions that would suggest that anything
 23· ·other than the standard out-of-pocket methodology
 24· ·is what is being sought in this case.
 25· · · · · · · ·In other words, the complaint alleges

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 22 of 314 PageID #:
                                    11036
                                                                        Page 22

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·an artificially inflated price of the securities.
 ·3· ·It alleges that there were corrective disclosures.
 ·4· ·It's not alleging any theory of damages outside of
 ·5· ·what I can see is the out-of-pocket method, and in
 ·6· ·my discussions with counsel leading to my opinions,
 ·7· ·in which we discuss damages broadly, my
 ·8· ·understanding is they're not pursuing anything
 ·9· ·other than the standard out-of-pocket methodology.
 10· · · · ·Q.· ··What is your understanding of the
 11· ·damages theory in this case?
 12· · · · · · · ·MS. POSNER:··Objection.
 13· · · · ·A.· ··That investors paid artificially
 14· ·inflated prices as the result of KPMG's alleged
 15· ·misstatements, and that ultimately that artificial
 16· ·inflation came out of the stock through a series of
 17· ·partial corrective disclosures.
 18· · · · ·Q.· ··Do you understand that the plaintiffs
 19· ·have alleged a materialization of risk theory?
 20· · · · ·A.· ··I know that language is in the
 21· ·complaint.··I don't pretend to know all the legal
 22· ·in's and out's of what that might mean, but I don't
 23· ·read it to mean anything other than the application
 24· ·of the out-of-pocket methodology.
 25· · · · ·Q.· ··What is your understanding of the

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 23 of 314 PageID #:
                                    11037
                                                                        Page 23

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·materialization of risk theory?
 ·3· · · · · · · ·MS. POSNER:··Objection.
 ·4· · · · ·A.· ··I've seen it used in multiple ways so
 ·5· ·that's why I don't put a lot of stock in -- when I
 ·6· ·actually see those words, what, you know, is
 ·7· ·intended from a legal perspective.
 ·8· · · · · · · ·What I, from an economic perspective,
 ·9· ·what I understand is that there is a theory that
 10· ·what materialized later was within the realization
 11· ·of a risk that had either not been disclosed or
 12· ·insufficiently disclosed in the past.··I've also
 13· ·seen it referred to as something different than the
 14· ·out-of-pocket methodology, and I've seen that
 15· ·language used in a sort of -- used in a lot of
 16· ·loose ways as well, so I don't -- when I see that
 17· ·language, I don't ascribe any particular economic
 18· ·meaning to it.
 19· · · · ·Q.· ··You recall that the plaintiffs in the
 20· ·BP case had a materialization of risk theory for
 21· ·their pre-spill class claim; correct?
 22· · · · ·A.· ··Correct, and that's what I was talking
 23· ·about in terms of in that particular case, when
 24· ·they referred to the materialization of the risk
 25· ·theory, they were talking about one that clearly

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 24 of 314 PageID #:
                                    11038
                                                                        Page 24

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·deviated from the out-of-pocket methodology.
 ·3· · · · ·Q.· ··Why do you say that?
 ·4· · · · ·A.· ··Because as I made clear in my opinions
 ·5· ·in that case, I was not attempting to quantify what
 ·6· ·the "but for" stock price would have been but for
 ·7· ·the misstatements in the pre-spill period.
 ·8· · · · · · · ·In that particular case, there were
 ·9· ·claims that BP had insufficiently disclosed its
 10· ·safety profile and I clearly opined in that case
 11· ·that had BP disclosed some of the issues with its
 12· ·safety profile that plaintiffs were alleging were
 13· ·unknown to the market before the spill, clearly the
 14· ·stock price would have declined to some degree, but
 15· ·there was no way it was going to decline to the
 16· ·degree that you actually saw after the spill had
 17· ·already occurred.
 18· · · · · · · ·But yet plaintiffs were alleging that
 19· ·they were entitled to the financial losses even for
 20· ·those purchasers that occurred as a result of the
 21· ·spill and further disclosures after that.··So they
 22· ·were attempting to collect damages over and above
 23· ·the difference between the observed price in the
 24· ·market and what would have been the alternative
 25· ·price had full disclosure been made prior to the

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 25 of 314 PageID #:
                                    11039
                                                                        Page 25

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·spill.
 ·3· · · · ·Q.· ··Did you read what the 5th Circuit had
 ·4· ·to say about the pre-spill class in its opinion in
 ·5· ·that case?
 ·6· · · · ·A.· ··I may have at some point.··I don't have
 ·7· ·in mind right now what was said.
 ·8· · · · ·Q.· ··Do you remember agreeing or disagreeing
 ·9· ·with anything you read from what the 5th Circuit
 10· ·said about that, the pre-spill class?
 11· · · · ·A.· ··I don't recall specifically what the
 12· ·5th Circuit said.
 13· · · · ·Q.· ··And you don't remember why the 5th
 14· ·Circuit said that your methodology wouldn't work?
 15· · · · · · · ·MS. POSNER:··Objection.
 16· · · · ·A.· ··Well, I recall reading the opinion of
 17· ·the District Court judge.··I don't know if you're
 18· ·talking about --
 19· · · · ·Q.· ··The 5th Circuit on appeal.··Let me
 20· ·rephrase the question.··You don't remember anything
 21· ·that the 5th Circuit had to say about why your
 22· ·methodology for the pre-spill class was not
 23· ·appropriate?
 24· · · · ·A.· ··As I sit here right now, I don't recall
 25· ·reading that.··I may have at some point.

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 26 of 314 PageID #:
                                    11040
                                                                        Page 26

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··In your report, at paragraph 3, you
 ·3· ·indicate you're getting paid at an hourly rate of
 ·4· ·$800 per hour.··Is that your current standard rate?
 ·5· · · · ·A.· ··For new matters, yes.
 ·6· · · · ·Q.· ··And you give rates for the other folks
 ·7· ·who work on your team.··How many people are working
 ·8· ·on this matter on your team?
 ·9· · · · ·A.· ··There are three primary people I recall
 10· ·working directly on this.··They may have delegated
 11· ·certain work to other folks, but there were three
 12· ·people I interacted with in preparing this report.
 13· · · · ·Q.· ··Do you have a sense of how many hours
 14· ·in total have been put in on the project so far?
 15· · · · ·A.· ··I don't.
 16· · · · ·Q.· ··Do you have a sense of how many dollars
 17· ·have been billed or accrued to date on the project?
 18· · · · ·A.· ··I don't know that number specifically,
 19· ·no.
 20· · · · ·Q.· ··How much time have you spent on it?
 21· · · · ·A.· ··Again, I don't know a specific number
 22· ·of hours, but I can try to a rough estimate, but I
 23· ·don't have a specific amount.
 24· · · · ·Q.· ··Do you have a rough estimate of the
 25· ·number of hours that you put in on the matter so

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 27 of 314 PageID #:
                                    11041
                                                                        Page 27

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·far?
 ·3· · · · ·A.· ··More than 20, probably more than 30,
 ·4· ·less than 100, would be my best guess.
 ·5· · · · ·Q.· ··And do you have any rough estimate of
 ·6· ·how much time the other folks on your team have put
 ·7· ·in?
 ·8· · · · ·A.· ··Just based on the amount of work
 ·9· ·involved, certainly more than 100 but beyond that,
 10· ·I don't know.··We obviously have records that
 11· ·reflect that, but I don't know.
 12· · · · ·Q.· ··You indicate that your compensation is
 13· ·in no way contingent on the outcome of this case.
 14· ·How do you bill your time?
 15· · · · ·A.· ··By the hour.
 16· · · · ·Q.· ··And then how do you bill or invoice
 17· ·your client in this case?
 18· · · · ·A.· ··Like all our other clients, we prepare
 19· ·monthly invoices sometime after the close of each
 20· ·month and send it to the client.
 21· · · · ·Q.· ··So you're paid as you go, you don't
 22· ·wait until the end?
 23· · · · ·A.· ··That's correct.
 24· · · · ·Q.· ··Do you know how much you billed to
 25· ·date?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 28 of 314 PageID #:
                                    11042
                                                                        Page 28

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··I don't.
 ·3· · · · ·Q.· ··Do you have an expectation of how much
 ·4· ·you will bill in this case?
 ·5· · · · ·A.· ··No.
 ·6· · · · ·Q.· ··I want to go back to something you said
 ·7· ·earlier about the dozens of cases that you were
 ·8· ·involved on damages issues.··Have you been employed
 ·9· ·by plaintiffs and defendants in those cases?
 10· · · · ·A.· ··Yes.··I've been actually engaged by a
 11· ·number of different types of parties, so I've been
 12· ·engaged by plaintiffs, I've been engaged by
 13· ·defendants, I've been engaged by D&O insurers for
 14· ·defendants, and I've been engaged by neutrals that
 15· ·are trying to resolve these cases to evaluate the
 16· ·work, the damages work, on both sides of the case.
 17· · · · ·Q.· ··Are you working on any matters for a
 18· ·defendant in a class action securities case at the
 19· ·moment?
 20· · · · ·A.· ··Not at the moment, no.
 21· · · · ·Q.· ··If you go back, say, the last five
 22· ·years, have you worked for a defendant in a class
 23· ·action securities litigation in that time period?
 24· · · · ·A.· ··Yes.
 25· · · · ·Q.· ··Roughly what is the next -- how often

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 29 of 314 PageID #:
                                    11043
                                                                        Page 29

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·do you represent plaintiffs versus defendants?
 ·3· · · · ·A.· ··I don't represent anyone.
 ·4· · · · ·Q.· ··That's a good point.··Let me rephrase
 ·5· ·that question.··What is the rough mix in terms of
 ·6· ·who engages you, how often it's plaintiffs and how
 ·7· ·often it's defendants?
 ·8· · · · ·A.· ··In class action securities cases, it's
 ·9· ·varied substantially over time.··Currently it's
 10· ·primarily plaintiffs, the vast majority is
 11· ·plaintiffs.··Over the whole scope of my career,
 12· ·it's more of a mix.
 13· · · · ·Q.· ··At present the vast majority of your --
 14· ·can I call them clients?
 15· · · · ·A.· ··Clients, yes.
 16· · · · ·Q.· ··At present the vast majority of your
 17· ·clients are plaintiffs' counsel; is that fair?
 18· · · · · · · ·MS. POSNER:··Objection.
 19· · · · ·A.· ··In class action securities cases that's
 20· ·fair, yes.··There are other types of work in cases
 21· ·I perform where I work for defendants more often.
 22· · · · ·Q.· ··I'd like you to turn to paragraph 7 of
 23· ·your report.··There's a heading, "Summary of
 24· ·Opinions."··Do you have that?
 25· · · · ·A.· ··Yes.

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 30 of 314 PageID #:
                                    11044
                                                                        Page 30

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··In paragraph 7, you indicate that you
 ·3· ·have formed the opinion that the markets for Miller
 ·4· ·Energy securities were efficient during the
 ·5· ·analysis period.··Do you see that?
 ·6· · · · ·A.· ··Yes.
 ·7· · · · ·Q.· ··And you are referring to each of the
 ·8· ·three securities you looked at here; right?
 ·9· · · · ·A.· ··Yeah.··When I use the capitalized term
 10· ·"Miller Energy Securities," I think I defined that
 11· ·earlier as the three securities we were talking
 12· ·about.
 13· · · · ·Q.· ··And for ease of reference today, can we
 14· ·call them the common stock, the Series C preferred,
 15· ·and the Series D preferred?
 16· · · · ·A.· ··That's fine, yes.
 17· · · · ·Q.· ··And we will all know what we're talking
 18· ·about?
 19· · · · ·A.· ··Yes.
 20· · · · ·Q.· ··Is it your opinion that the market for
 21· ·Miller Energy's common stock was efficient through
 22· ·the entirety of the analysis period?
 23· · · · ·A.· ··Yes.
 24· · · · ·Q.· ··Is it your opinion that the market for
 25· ·the Series C preferred stock was efficient for the

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 31 of 314 PageID #:
                                    11045
                                                                        Page 31

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·entirety of the analysis period?
 ·3· · · · ·A.· ··Yes.
 ·4· · · · ·Q.· ··Is it your opinion --
 ·5· · · · ·A.· ··Well, let me take a step back.··The
 ·6· ·Series C wasn't issued until sometime in the middle
 ·7· ·of the analysis period, so from the time it was
 ·8· ·issued to the end of the analysis period, yes.
 ·9· · · · ·Q.· ··As to the Series D securities, is it
 10· ·your opinion that the market for those securities
 11· ·was efficient from the time they were issued
 12· ·through the end of the analysis period?
 13· · · · ·A.· ··Yes.
 14· · · · ·Q.· ··Each of those three securities had its
 15· ·own ticker symbol; right?
 16· · · · ·A.· ··Yes.
 17· · · · ·Q.· ··And they were traded on the New York
 18· ·Stock Exchange?
 19· · · · ·A.· ··That was their primary listing, yes.
 20· · · · ·Q.· ··Is it your opinion that --
 21· · · · ·A.· ··I think -- yes is the answer.
 22· · · · ·Q.· ··Is it your opinion that any security
 23· ·that trades on the New York Stock Exchange trades
 24· ·in an efficient market?
 25· · · · ·A.· ··I think that makes it highly likely,

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 32 of 314 PageID #:
                                    11046
                                                                        Page 32

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·but that, in and of itself, doesn't convince me,
 ·3· ·no.
 ·4· · · · ·Q.· ··So the fact that a security trades on
 ·5· ·the New York Stock Exchange, standing alone,
 ·6· ·wouldn't be enough for you to conclude that the
 ·7· ·market was efficient?
 ·8· · · · ·A.· ··I think that's fair, yes.··I would want
 ·9· ·to look at more data beyond just that.
 10· · · · ·Q.· ··Let me direct your attention to
 11· ·paragraph 12 of your report.··You write,
 12· ·"Plaintiffs' complaint alleges that KPMG issued
 13· ·false and misleading statements and omitted
 14· ·material information during the analysis period."
 15· · · · · · · ·Do you see that?
 16· · · · ·A.· ··Yes.
 17· · · · ·Q.· ··In this sentence, you're describing an
 18· ·allegation of the complaint; right?
 19· · · · ·A.· ··Yes.
 20· · · · ·Q.· ··You have no knowledge as to whether it
 21· ·is true or false as a matter of fact; is that
 22· ·right?
 23· · · · ·A.· ··That's correct.
 24· · · · ·Q.· ··And you have no expert opinion on that
 25· ·as well; right?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 33 of 314 PageID #:
                                    11047
                                                                        Page 33

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·MS. POSNER:··As to whether KPMG issued
 ·3· · · · ·false and --
 ·4· · · · ·Q.· ··I'll rephrase it.··Do you have an
 ·5· ·expert opinion as to whether KPMG issued false and
 ·6· ·misleading statements and omitted material
 ·7· ·information during the analysis period?
 ·8· · · · ·A.· ··No.
 ·9· · · · ·Q.· ··For bonds that are traded on the New
 10· ·York Stock Exchange, first of all, there are bonds
 11· ·traded on the New York Stock Exchange; right?
 12· · · · ·A.· ··I believe there are some at least, yes.
 13· · · · ·Q.· ··Are they likely to trade in an
 14· ·efficient market by virtue of the fact that they
 15· ·are traded on the New York Stock Exchange?
 16· · · · · · · ·MS. POSNER:··Objection.
 17· · · · ·A.· ··Can I have that read back, please.
 18· · · · · · · ·(Record read.)
 19· · · · ·A.· ··I don't know.··That's not something
 20· ·that I have explicitly evaluated.
 21· · · · ·Q.· ··In paragraph 12 of your opinion, you
 22· ·refer to the allegation that the prices of Miller
 23· ·Energy securities were artificially inflated and
 24· ·the plaintiffs were damaged.··Do you see that?
 25· · · · ·A.· ··Yes.

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 34 of 314 PageID #:
                                    11048
                                                                        Page 34

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··Do you have an opinion on whether the
 ·3· ·prices of Miller Energy securities were inflated?
 ·4· · · · ·A.· ··No.··I understand that's what is being
 ·5· ·alleged, but I do not -- have not formed an opinion
 ·6· ·on that.
 ·7· · · · ·Q.· ··Do you have an opinion on whether
 ·8· ·plaintiffs were damaged?
 ·9· · · · ·A.· ··No.··I'm not offering that opinion at
 10· ·this time, no.
 11· · · · ·Q.· ··You said you're not offering that
 12· ·opinion at this time.··Have you formulated an
 13· ·opinion at this time?
 14· · · · ·A.· ··No.
 15· · · · ·Q.· ··In paragraph 13, there's a reference
 16· ·again, I think it's to an allegation, that Miller
 17· ·Energy vastly overstated the value of Miller
 18· ·Energy's assets in Alaska; do you see that?
 19· · · · ·A.· ··That's part of what that sentence says,
 20· ·yeah.··There's more in the middle there but it --
 21· ·part of that sentence is that Miller Energy's
 22· ·annual financial statements for fiscal years 2011
 23· ·through 2014 vastly overstated the value of Miller
 24· ·Energy's assets in Alaska.
 25· · · · ·Q.· ··And that sentence is referring to an

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 35 of 314 PageID #:
                                    11049
                                                                        Page 35

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·allegation of the complaint; right?
 ·3· · · · ·A.· ··Yes.
 ·4· · · · ·Q.· ··You have no opinion on whether it's
 ·5· ·true or false; correct?
 ·6· · · · ·A.· ··That's correct.
 ·7· · · · ·Q.· ··And you have no expert opinion on that
 ·8· ·question as well; right?
 ·9· · · · ·A.· ··That's correct.
 10· · · · ·Q.· ··Have you formulated any opinion on the
 11· ·value of the Alaska Assets?
 12· · · · ·A.· ··No.
 13· · · · ·Q.· ··Have you done any analysis of the value
 14· ·of the Alaska Assets?
 15· · · · ·A.· ··No.
 16· · · · ·Q.· ··Have you formulated any opinion on the
 17· ·fair value of any assets or liabilities at issue in
 18· ·this case?
 19· · · · ·A.· ··Let me take a step back.··Obviously
 20· ·embedded within the prices of what I've analyzed
 21· ·are at least the market's assessment, based on the
 22· ·information available, of what the assets are.··So
 23· ·I don't want to say that my opinions are completely
 24· ·divorced of at least what the market's beliefs were
 25· ·about the value of the Alaska Assets, but if you're

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 36 of 314 PageID #:
                                    11050
                                                                        Page 36

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·asking me have I performed my own fair value
 ·3· ·valuation of the assets, themselves, the answer is
 ·4· ·no.
 ·5· · · · ·Q.· ··You're not an expert on generally
 ·6· ·accepted accounting principles, are you?
 ·7· · · · ·A.· ··I think I'm more generally familiar
 ·8· ·with those principles than a lay person off the
 ·9· ·street in terms of my experience and education, but
 10· ·I don't hold myself out as somebody who testifies
 11· ·as an expert about the application of GAAP, no.
 12· · · · ·Q.· ··Are you a CPA?
 13· · · · ·A.· ··I am not, no.
 14· · · · ·Q.· ··Are you an expert on generally accepted
 15· ·auditing standards?
 16· · · · ·A.· ··Again, I probably have more than a lay
 17· ·person's understanding of it than somebody walking
 18· ·on the street, as a result of my background and
 19· ·education and experience, but I do not hold myself
 20· ·out as a testifying expert in that area or somebody
 21· ·who gives expert opinions in that area.
 22· · · · ·Q.· ··Are you an expert on PCAOB standards?
 23· · · · ·A.· ··No.
 24· · · · ·Q.· ··So you're not giving or you're not
 25· ·proposing to give any opinions in this matter on

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 37 of 314 PageID #:
                                    11051
                                                                        Page 37

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·GAAS or GAAP or PCAOB standards; is that fair?
 ·3· · · · ·A.· ··No.
 ·4· · · · ·Q.· ··You're not --
 ·5· · · · ·A.· ··I mean, that's not what I've been asked
 ·6· ·to form an opinion on, but no, that's not my
 ·7· ·understanding of what my role in this case would
 ·8· ·ever be.
 ·9· · · · ·Q.· ··And you haven't been asked to evaluate
 10· ·whether KPMG's audits were in compliance with
 11· ·professional standards?
 12· · · · ·A.· ··That's correct.
 13· · · · ·Q.· ··In your report on page 6, in Footnote
 14· ·3, there's a reference to several Form 10-K's
 15· ·issued by Miller Energy; do you see that?
 16· · · · ·A.· ··I do.
 17· · · · ·Q.· ··And it looks like there is a Form 10-K
 18· ·listed here for 2011, 2012, 2013 and 2014.··Do you
 19· ·see those?
 20· · · · ·A.· ··Yes.
 21· · · · ·Q.· ··And when I refer to the year, you
 22· ·understand that Miller Energy's fiscal year ended
 23· ·on April 30; right?
 24· · · · ·A.· ··Yes.
 25· · · · ·Q.· ··So if I refer to the fiscal year 2011,

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 38 of 314 PageID #:
                                    11052
                                                                        Page 38

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·you'll understand that to refer to the year that
 ·3· ·ended April 30, 2011?
 ·4· · · · ·A.· ··That's my understanding, yes.
 ·5· · · · ·Q.· ··Was that the way you would refer to it?
 ·6· ·I just want to make sure we're talking about the
 ·7· ·same years when we talk about these things.
 ·8· · · · ·A.· ··It is.··The only reason I hesitated is
 ·9· ·there are some companies that have very strange
 10· ·naming of their fiscal years and whether the one
 11· ·ending April 30, 2011 is what they call 2011 or
 12· ·2010, that's the detail I'm completely remembering,
 13· ·but I'm fine in this deposition referring to it the
 14· ·way you referred to it.
 15· · · · ·Q.· ··We can all try to make sure we're clear
 16· ·on what we're talking about.··I think that will be
 17· ·fine.
 18· · · · · · · ·So there are four annual reports on
 19· ·Form 10-K that are referenced in Footnote 3 of your
 20· ·report; right?
 21· · · · ·A.· ··Yes.
 22· · · · ·Q.· ··Have you formulated any opinion on
 23· ·whether those financial statements contained
 24· ·material misstatements or omissions?
 25· · · · ·A.· ··No.

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 39 of 314 PageID #:
                                    11053
                                                                        Page 39

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··Have you formed any opinion as to
 ·3· ·whether those financial statements were misstated
 ·4· ·in any way?
 ·5· · · · ·A.· ··No.
 ·6· · · · ·Q.· ··Have you formulated any opinion as to
 ·7· ·whether KPMG's audit opinions included in Miller
 ·8· ·Energy's filings were misstated in any way?
 ·9· · · · ·A.· ··No.
 10· · · · ·Q.· ··Let's turn to paragraph 15 of your
 11· ·report on page 8.
 12· · · · ·A.· ··Okay.
 13· · · · ·Q.· ··In this paragraph you refer to the
 14· ·Supreme Court decision Halliburton II?
 15· · · · ·A.· ··Yes.
 16· · · · ·Q.· ··Have you read that opinion?
 17· · · · ·A.· ··Yes.
 18· · · · ·Q.· ··You're aware of the comments the
 19· ·Supreme Court made about the efficient market
 20· ·theory; correct?
 21· · · · · · · ·MS. POSNER:··Objection.
 22· · · · ·A.· ··Yes.··That's part of what -- I believe
 23· ·there may be additional statements made, but that's
 24· ·what I'm quoting.··Part of it is what I'm quoting
 25· ·here, yes.

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 40 of 314 PageID #:
                                    11054
                                                                        Page 40

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··And it's your understanding that in
 ·3· ·certain circumstances, plaintiffs may be allowed to
 ·4· ·invoke a presumption of reliance; is that right?
 ·5· · · · · · · ·MS. POSNER:··Objection.
 ·6· · · · ·A.· ··That's my understanding, yes.
 ·7· · · · ·Q.· ··And is it your understanding that that
 ·8· ·presumption is rebuttable?
 ·9· · · · · · · ·MS. POSNER:··Objection.
 10· · · · ·A.· ··I mean, that's my general
 11· ·understanding, yes.··I mean, I'm not a lawyer but
 12· ·that's what I generally understand, yes.
 13· · · · ·Q.· ··The Supreme Court said so in
 14· ·Halliburton II; right?
 15· · · · · · · ·MS. POSNER:··Objection.··He's not an
 16· · · · ·attorney.
 17· · · · · · · ·MR. BALLARD:··That's okay.··You can
 18· · · · ·answer.
 19· · · · ·Q.· ··You're quoting a Supreme Court decision
 20· ·in your opinion; right?
 21· · · · ·A.· ··I am.··As I sit here, I just don't
 22· ·recall all that I said about the ability to rebut
 23· ·it, but yes, my general understanding is that the
 24· ·defendants -- based on my experience in these types
 25· ·of cases, that defendants have the ability to try

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 41 of 314 PageID #:
                                    11055
                                                                        Page 41

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·to rebut the presumption of reliance.
 ·3· · · · ·Q.· ··Have you been asked to evaluate whether
 ·4· ·the presumption of reliance or any presumptions of
 ·5· ·reliance that might be applicable in this case is
 ·6· ·rebuttable?
 ·7· · · · ·A.· ··That's not the nature of the work I
 ·8· ·performed in this case, no.
 ·9· · · · ·Q.· ··Have you formulated any opinion as to
 10· ·whether the presumption of reliance, if it applies
 11· ·in this case, is rebuttable?
 12· · · · ·A.· ··I don't know what -- all you might mean
 13· ·by rebuttable.··I've formed the opinion that the
 14· ·market was efficient which I understand is related
 15· ·to that topic, but whether there's -- what the
 16· ·contours of how or for what reasons defendants
 17· ·might be able to rebut that presumption is not
 18· ·something I've looked at.
 19· · · · ·Q.· ··So as of today, you have no opinion on
 20· ·that topic?
 21· · · · · · · ·MS. POSNER:··Objection.
 22· · · · ·A.· ··Again, to the extent it turns on the
 23· ·efficiency of the market, I believe I do, but to
 24· ·the extent it turns on something outside of that,
 25· ·I'm not opining on that one way or the other.

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 42 of 314 PageID #:
                                    11056
                                                                        Page 42

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··Let's turn to page 9 of your report.
 ·3· ·So we're in Exhibit 25 at paragraph 18.··Do you
 ·4· ·have that in front of you?
 ·5· · · · ·A.· ··Yes.
 ·6· · · · ·Q.· ··In the middle of that paragraph, you
 ·7· ·refer to the semi-strong form of efficiency.··Do
 ·8· ·you see that?
 ·9· · · · ·A.· ··Yes.
 10· · · · ·Q.· ··You write, "Semi-strong form efficiency
 11· ·implies that all publicly available information is
 12· ·reflected in a security's current market price.
 13· ·This implies that security prices adjust to new
 14· ·publicly available information rapidly and in an
 15· ·unbiased fashion so that it is impossible to earn
 16· ·excess returns by trading on that information."
 17· · · · · · · ·Do you see that?
 18· · · · ·A.· ··I see that, yes.
 19· · · · ·Q.· ··Can you explain what you meant by that?
 20· · · · ·A.· ··Well, again, this is describing a
 21· ·theoretical construct of what it means for a market
 22· ·to be semi-strong form efficient, that the market
 23· ·prices reflect all widely available information
 24· ·that is available to investors.··And so I'm
 25· ·describing here how the basic decision and the

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 43 of 314 PageID #:
                                    11057
                                                                        Page 43

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·Halliburton II decision are talking about what I
 ·3· ·understand to be that particular economic
 ·4· ·theoretical construct of semi-strong form market
 ·5· ·efficiency.
 ·6· · · · ·Q.· ··So then when you do your analysis in
 ·7· ·this case, is that the type of efficiency you're
 ·8· ·essentially looking at or looking for?
 ·9· · · · · · · ·MS. POSNER:··Objection.
 10· · · · ·A.· ··That's correct, and again, I think it's
 11· ·important to keep in mind that while Dr. Fama, who
 12· ·I describe, his theories in here laid out what
 13· ·theoretical market efficiency is, I also describe
 14· ·in here how efficiency exists on a continuum, and
 15· ·so I'm not evaluating whether it's perfectly
 16· ·semi-strong form efficiency, but whether or not
 17· ·that's a reasonable assumption to make that it
 18· ·trades in a semi-strong form efficient market.
 19· · · · ·Q.· ··And in your view it's an empirical
 20· ·exercise?
 21· · · · ·A.· ··To evaluate that, yes.
 22· · · · ·Q.· ··So you do an analysis and you evaluate
 23· ·empirical data and formulate an opinion as to
 24· ·whether a particular market for a particular
 25· ·security was efficient for a particular period of

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 44 of 314 PageID #:
                                    11058
                                                                        Page 44

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·time?
 ·3· · · · ·A.· ··I think that's fair.··I mean, as I
 ·4· ·describe in the report, there have been a number of
 ·5· ·factors that have been consistently used in this
 ·6· ·context to evaluate market efficiency and I
 ·7· ·performed those types of analyses to evaluate
 ·8· ·whether there is economic evidence supportive of
 ·9· ·market efficiency.··I also describe in the report
 10· ·how there's no bright line test that tells you,
 11· ·yes, this market is efficient, or no, it's not, so
 12· ·that's why it's important to analyze a number of
 13· ·different factors to reach that view.
 14· · · · ·Q.· ··Would it be fair to say that some
 15· ·factors bear more directly on the question of
 16· ·whether security prices adjust to new available
 17· ·information rapidly than other factors?
 18· · · · ·A.· ··I think that's probably fair, that some
 19· ·are more direct than others.
 20· · · · ·Q.· ··So the fact that there are analysts
 21· ·covering a stock may bear indirectly on the
 22· ·question, whereas an event study might provide more
 23· ·direct evidence?
 24· · · · · · · ·MS. POSNER:··Objection.
 25· · · · ·Q.· ··Is that the way you would look at it?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 45 of 314 PageID #:
                                    11059
                                                                        Page 45

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··I think it's fair to say that an event
 ·3· ·study looking at the -- how the prices react to new
 ·4· ·information is a more direct test than just looking
 ·5· ·at whether there are analysts covering.··As I
 ·6· ·describe in the section of my report that deals
 ·7· ·with analyst coverage, you know, the logic behind
 ·8· ·the analyst coverage factor really is whether or
 ·9· ·not there's sufficient information and analysis out
 10· ·in the market, and I describe how currently, now
 11· ·with the Internet, there's a vast array of
 12· ·different ways you can get information on a
 13· ·security so that it's not really looking just at
 14· ·analysts.
 15· · · · · · · ·But I would generally agree with you
 16· ·that doing the event study type test is a more
 17· ·direct test than just looking at analysts, but I do
 18· ·think they're both important.
 19· · · · ·Q.· ··It just seems that if the question is,
 20· ·do securities prices react rapidly to new
 21· ·information, it seems that some of your analysis
 22· ·appears to be more directly addressed to that
 23· ·question, and so the event study and that
 24· ·particular Cammer factor seems to be one of them.
 25· · · · · · · ·Is that the way you would think of

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 46 of 314 PageID #:
                                    11060
                                                                        Page 46

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·that?
 ·3· · · · · · · ·MS. POSNER:··Objection.
 ·4· · · · ·A.· ··I think it's fair to say that the event
 ·5· ·study tests are more direct than some of other
 ·6· ·factors.··But again, I think they're all important.
 ·7· · · · ·Q.· ··And how rapidly in an efficient market
 ·8· ·would you expect security prices to adjust to new
 ·9· ·public information?
 10· · · · ·A.· ··I think it can depend greatly on the
 11· ·facts and circumstances of what is being released.
 12· ·I think generally speaking, the tests I perform
 13· ·within this test are to look within a day.
 14· · · · · · · ·There are certainly circumstances of
 15· ·particular disclosures where it may take a series
 16· ·of days.··I don't think looking beyond a small
 17· ·number of days is the usual approach to what is
 18· ·thought of as rapidly.
 19· · · · · · · ·Sometimes it's clear the market reacts
 20· ·on an intraday basis very quickly, but assessing
 21· ·when it fully impounds certain information often
 22· ·can be a case-specific analysis or an
 23· ·event-specific analysis.
 24· · · · ·Q.· ··Did you determine that in this case,
 25· ·the appropriate window to look at was one day?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 47 of 314 PageID #:
                                    11061
                                                                        Page 47

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·MS. POSNER:··Objection.··Are you asking
 ·3· · · · ·with regard to market efficiency?
 ·4· · · · · · · ·MR. BALLARD:··The event study.
 ·5· · · · ·A.· ··I think if the question was looking at
 ·6· ·one specific event or -- looking at a possibly --
 ·7· ·if you were trying to evaluate the effect of a
 ·8· ·single piece of news and how that impacted the
 ·9· ·price, I think you would want to look more closely
 10· ·than I have in terms of whether there's evidence to
 11· ·suggest you should look at a shorter window than a
 12· ·full day or a longer window than a full day,
 13· ·depending on the facts and circumstances.
 14· · · · · · · ·For the purposes of evaluating
 15· ·marketing efficiency, I've used a full day, which
 16· ·is a standard approach, but I don't -- I wouldn't
 17· ·read into what I've done that in all circumstances,
 18· ·for every piece of news, the right event window
 19· ·would be one day.
 20· · · · ·Q.· ··For what type of events might a longer
 21· ·period be appropriate?
 22· · · · · · · ·MS. POSNER:··Objection.
 23· · · · ·A.· ··I don't know that I can characterize it
 24· ·fully or all the circumstances, but for example, if
 25· ·there's an unexpected complex announcement of some

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 48 of 314 PageID #:
                                    11062
                                                                        Page 48

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·kind where there's an initial market reaction, and
 ·3· ·then analysts weigh in and there's additional news
 ·4· ·stories and coverage about that event over a series
 ·5· ·of days, and you observed high volume on multiple
 ·6· ·days and you see the stock price reacting over
 ·7· ·multiple days, you know, in those circumstances,
 ·8· ·the evidence may suggest looking at a longer event
 ·9· ·window.
 10· · · · ·Q.· ··So at least for this case, you looked
 11· ·at hundreds of events and for each of them, in
 12· ·every instance, you looked at a window of one day
 13· ·of trading; right?
 14· · · · ·A.· ··Yes.··To evaluate market efficiency, I
 15· ·set a standard of looking at daily stock price
 16· ·returns.
 17· · · · ·Q.· ··And did you say that was standard, to
 18· ·look at one day in this context?
 19· · · · ·A.· ··Well, I'm saying it's -- in the context
 20· ·of analyzing market efficiency, I believe looking
 21· ·at daily returns is a standard thing that is done
 22· ·both in the context of this -- of this type of
 23· ·analysis, which I've done in many, many cases, and
 24· ·I've seen other experts do those types of studies
 25· ·in many cases.··And also historically, in the

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 49 of 314 PageID #:
                                    11063
                                                                        Page 49

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·academic literature, there are literally dozens, if
 ·3· ·not hundreds, of daily event studies out there
 ·4· ·analyzing the market's reaction to different types
 ·5· ·of information.
 ·6· · · · ·Q.· ··So just to get the concept down, if an
 ·7· ·event occurs and it's material and it's new
 ·8· ·information, in an efficient market, you would
 ·9· ·expect the price of the security to react rapidly,
 10· ·and so you look at the next day.
 11· · · · · · · ·And if it reacts, you may be able to
 12· ·draw some conclusions based on that.··If it doesn't
 13· ·react, you may be able to draw conclusions based on
 14· ·that.··Is that the essence of the concept?
 15· · · · · · · ·MS. POSNER:··Objection.
 16· · · · ·A.· ··Again, I think in that question you're
 17· ·saying is one day the only thing you would
 18· ·necessarily look at, and I wouldn't necessarily
 19· ·agree with that.··Looking at what the -- how the
 20· ·stock price responds in some reasonably short time
 21· ·period after the event is, I think, an appropriate
 22· ·way to think about it.
 23· · · · · · · ·Whether that -- for a variety of
 24· ·reasons, it may be that the best way to look at
 25· ·that is to look even shorter than a day if there's

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 50 of 314 PageID #:
                                    11064
                                                                        Page 50

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·confounding information during a day that you want
 ·3· ·to eliminate the possibility of that influence, or
 ·4· ·if -- like I said, there are certainly examples
 ·5· ·where follow-on coverage of an event from analysts
 ·6· ·and media and others may suggest that looking at
 ·7· ·more than just a single day is appropriate.
 ·8· · · · ·Q.· ··So, as a general matter, if material
 ·9· ·new information comes out and the market reacts
 10· ·quickly, as a general matter, you would say that
 11· ·tends to support a finding of efficiency where if
 12· ·material new information comes out and it takes
 13· ·several days for the market price to react, that
 14· ·would tend to support a conclusion of inefficiency;
 15· ·is that fair?
 16· · · · · · · ·MS. POSNER:··Objection.
 17· · · · ·A.· ··I don't know that I would necessarily
 18· ·agree with that.··I mean, if what -- I think there
 19· ·are different gradations of what you're talking
 20· ·about.
 21· · · · · · · ·So if, in an efficient market or in a
 22· ·market, information is revealed and the stock price
 23· ·reacts on the first day, but then there seems to be
 24· ·some residual continued reaction as people process
 25· ·the information and as analysts comment on the

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 51 of 314 PageID #:
                                    11065
                                                                        Page 51

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·information, and as new stories comment on the
 ·3· ·information, in that case, the full impact may take
 ·4· ·several days.
 ·5· · · · · · · ·I think in your question you're sort of
 ·6· ·asking if the impact takes several days, so if you
 ·7· ·see a news announcement on a particular day or a
 ·8· ·new event, and there's no reaction for a day or two
 ·9· ·days, and it doesn't react, or it appears not to
 10· ·react until a third day at all, I think that would
 11· ·be a little bit less consistent with market
 12· ·efficiency.··But there's the idea of an initial
 13· ·impact and then it sort of being fully reflected,
 14· ·and that fully reflected I believe takes -- the
 15· ·market takes time to fully react to information and
 16· ·that could be within a day, it could take two days,
 17· ·three days.
 18· · · · · · · ·I think when I refer to rapidly, I'm
 19· ·incorporating all those possibilities in terms of
 20· ·how long it takes it to be fully reflective of the
 21· ·stock price.
 22· · · · ·Q.· ··But here you looked at a period of
 23· ·what, like a thousand days, right, trading days?
 24· · · · ·A.· ··It may even be more than that.
 25· · · · ·Q.· ··It may be more?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 52 of 314 PageID #:
                                    11066
                                                                        Page 52

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··I don't recall exactly how many trading
 ·3· ·days.
 ·4· · · · ·Q.· ··A lot of days, I mean, several years;
 ·5· ·right?··And in each instance, you looked at each
 ·6· ·day and each day was either deemed to be a date
 ·7· ·where there was no news or a date where there's an
 ·8· ·SEC filing, or a date where there was an earnings
 ·9· ·race, and then you looked at just the next day to
 10· ·see if there was a price reaction.··Right?
 11· · · · ·A.· ··Yeah.··Again, the task I've been asked
 12· ·to perform is to evaluate the market efficiency of
 13· ·these securities during the analysis period, so in
 14· ·order to do that, one of the things I had to choose
 15· ·was an event window to look at for, as you said,
 16· ·the thousands of days we're looking at and multiple
 17· ·earnings announcements and multiple types of other
 18· ·announcements, and so to have a standard event
 19· ·window for the purposes of calculating market
 20· ·efficiency, I restricted the price movement to be
 21· ·within a day, yes.
 22· · · · ·Q.· ··How do you reconcile that with your
 23· ·testimony earlier that it's possible for an event
 24· ·to lead to a price reaction that occurs over more
 25· ·than one day?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 53 of 314 PageID #:
                                    11067
                                                                        Page 53

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Because it's a different question when
 ·3· ·you're asking how did this specific one
 ·4· ·announcement, what is the best opinion you can give
 ·5· ·about how this one particular event changed the
 ·6· ·value of the stock when it was fully imputed into
 ·7· ·the stock price.
 ·8· · · · · · · ·So looking over many events for the
 ·9· ·purposes of analyzing market efficiency, I'm
 10· ·restricting it to a day, but I'm not being asked to
 11· ·give an opinion about the detailed full price
 12· ·impact of a particular piece of information.
 13· · · · ·Q.· ··So if you have a number of days you
 14· ·looked at in your period, and on day three, you
 15· ·found a statistically significant price movement --
 16· ·are you with me so far?
 17· · · · ·A.· ··I believe so.
 18· · · · ·Q.· ··-- in your methodology, you would
 19· ·attribute that to news on day two if there was news
 20· ·on day two; right?
 21· · · · · · · ·MS. POSNER:··Objection.
 22· · · · ·A.· ··I think I want to be careful about a
 23· ·hypothetical.··So if you're saying after market
 24· ·hours on day two, there's an announcement and then
 25· ·there's a stock price reaction, I would attribute

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 54 of 314 PageID #:
                                    11068
                                                                        Page 54

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·that to the post-market release of information on
 ·3· ·day two or to an announcement early on day three.
 ·4· · · · ·Q.· ··And how would your methodology assess
 ·5· ·whether that reaction might actually have been a
 ·6· ·reaction to an announcement post-close on day one?
 ·7· · · · ·A.· ··Well, again, I'm not suggesting in any
 ·8· ·way that the first time the market would react to
 ·9· ·new information is three days out from when the
 10· ·stock price or when the event occurred.
 11· · · · · · · ·I'm saying that in some circumstances,
 12· ·it's apparent that news affects a security on the
 13· ·first day, but then that there could be some
 14· ·residual reaction beyond one day.
 15· · · · ·Q.· ··So in my hypothetical, we have news
 16· ·comes out after the close on day one.··News comes
 17· ·out after the close on day two.··There's a
 18· ·statistically significant price movement on day
 19· ·three.
 20· · · · · · · ·Does your methodology allow you to
 21· ·determine whether that reaction is in response to
 22· ·the news that came out after the close on day two
 23· ·versus day one?
 24· · · · · · · ·MS. POSNER:··Objection.
 25· · · · ·A.· ··When you say "your methodology," in the

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 55 of 314 PageID #:
                                    11069
                                                                        Page 55

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·particular methodology I'm using to evaluate market
 ·3· ·efficiency, I'm not ever trying to suggest that the
 ·4· ·movement on day three is due to the news on day
 ·5· ·one.
 ·6· · · · ·Q.· ··But didn't you say that it's possible
 ·7· ·for news to have an effect on not only the
 ·8· ·following day, but the second day following?
 ·9· · · · ·A.· ··I'm saying in some circumstances, based
 10· ·on the facts and circumstances of that particular
 11· ·disclosure, that's possible.··And I've seen cases
 12· ·where the evidence supports that, but that's a
 13· ·highly fact-specific case-specific date-specific
 14· ·analysis.
 15· · · · · · · ·So for example, if I see a news event
 16· ·and there's a reaction on day one, and there's no
 17· ·movement on day two but there's significant
 18· ·movement on day three, I wouldn't just say that day
 19· ·three movement is tied to the news on day one.
 20· · · · · · · ·There would have to be a whole set of
 21· ·analyses that would go into whether it's
 22· ·plausible -- whether it's even plausible that that
 23· ·day three reaction is still potentially related
 24· ·back to the news on day one.
 25· · · · · · · ·So I think the initial assumption and a

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 56 of 314 PageID #:
                                    11070
                                                                        Page 56

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·standard assumption to begin with is consistent
 ·3· ·with what you're saying if you look a day out, but
 ·4· ·then if you're analyzing a specific announcement
 ·5· ·for full impact, it also makes sense to at least
 ·6· ·evaluate whether there's evidence that the market
 ·7· ·could have still been reacting beyond day one.
 ·8· · · · ·Q.· ··In the methodology you employed in this
 ·9· ·case for the particular securities here, you were
 10· ·assuming that material new information would be
 11· ·incorporated within one trading day; is that fair?
 12· · · · · · · ·MS. POSNER:··Objection.
 13· · · · ·A.· ··I don't believe I'm making that -- I
 14· ·don't believe I'm making the assumption that the
 15· ·market would fully impound all information in one
 16· ·trading day.··What I'm doing is using this
 17· ·methodology as a test for market efficiency.
 18· · · · · · · ·So what I'm testing is whether there's
 19· ·rapid price reactions in general on news days
 20· ·relative to non-news days, and for that purpose,
 21· ·I'm selecting one day as the testing window.··I'm
 22· ·not suggesting a one-day testing window is the only
 23· ·plausible event window one could choose.
 24· · · · ·Q.· ··Do you believe that one day is the best
 25· ·window to use in this case?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 57 of 314 PageID #:
                                    11071
                                                                        Page 57

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·MS. POSNER:··Objection.
 ·3· · · · ·A.· ··I think it's a -- I think it is the
 ·4· ·best window available for testing market
 ·5· ·efficiency.··Again, if I were analyzing a specific
 ·6· ·event and the question was what is your best
 ·7· ·estimate of the full price impact of that event, I
 ·8· ·would want to at least analyze more carefully
 ·9· ·rather than just assume that one day is the right
 10· ·event window.
 11· · · · · · · ·But for evaluating market efficiency, I
 12· ·do think looking at a daily event study is an
 13· ·appropriate thing to do, and in my view, the most
 14· ·standard thing that is done.··That's not to say you
 15· ·couldn't do it other ways, but I think it's the
 16· ·most reasonable thing to do.
 17· · · · ·Q.· ··Let me ask it this way:··If it
 18· ·routinely took two days for the market to absorb
 19· ·new information about Miller Energy, then your
 20· ·event study really wouldn't tell you much; right?
 21· · · · · · · ·MS. POSNER:··Objection.
 22· · · · ·A.· ··I don't know that that's the case.
 23· ·Again, there's a difference between initial price
 24· ·reaction and fully reflected price reaction, so in
 25· ·a purely hypothetical situation, I'm not at all

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 58 of 314 PageID #:
                                    11072
                                                                        Page 58

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·suggesting this is the case here, but let's
 ·3· ·hypothetically assume that full price reactions
 ·4· ·take place over two days, but that initial price
 ·5· ·reactions can occur very quickly.
 ·6· · · · · · · ·In my view, that market would still be
 ·7· ·efficient, it's rapidly reflecting the new
 ·8· ·information, and the tests I'm conducting would
 ·9· ·reflect that because there's rapid reaction on day
 10· ·one.··There may just be some residual price
 11· ·reaction on day two that is not being measured.
 12· · · · ·Q.· ··I'm asking, I think, a different
 13· ·question.··I'm asking whether you're actually
 14· ·testing the right thing.··If it takes two days
 15· ·routinely for the market to incorporate and react
 16· ·to new information, and you look at, say, 19
 17· ·earnings releases and your methodology only looks
 18· ·at the one day after they come out, how do you know
 19· ·those instances where you found a statistically
 20· ·significant reaction are in fact, a reaction to the
 21· ·press release the day before as opposed to
 22· ·something that happened the day before that?
 23· · · · · · · ·MS. POSNER:··Objection.
 24· · · · ·A.· ··I guess under your hypothetical
 25· ·scenario, which is not anything close to what I've

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 59 of 314 PageID #:
                                    11073
                                                                        Page 59

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·concluded in this case, that somehow there's
 ·3· ·routinely two-day price reactions, I think the
 ·4· ·criticism would be that the method isn't
 ·5· ·necessarily reflecting the full price impacts, but
 ·6· ·it's still testing for whether there's a rapid
 ·7· ·reaction within one day.
 ·8· · · · ·Q.· ··Your position is it's testing whether
 ·9· ·there's a rapid reaction within one day even though
 10· ·you haven't controlled for whether there was a
 11· ·statement two days before that also might have had
 12· ·an effect?
 13· · · · · · · ·MS. POSNER:··Objection.
 14· · · · ·A.· ··Here's where I think we're sort of
 15· ·tacking past each other a little bit, is that in
 16· ·the circumstances where I've seen evidence of
 17· ·multiple-day reactions, and I'm not in any way
 18· ·suggesting that happens routinely as your question
 19· ·put it, but in the cases where I have seen that,
 20· ·typically what is occurring is an event occurs,
 21· ·there is a rapid reaction on day one, but then
 22· ·there's some residual continued reaction beyond one
 23· ·day.
 24· · · · · · · ·When analyzing whether that specific
 25· ·information caused a price reaction, one might want

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 60 of 314 PageID #:
                                    11074
                                                                        Page 60

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·to take that into account or would want to take
 ·3· ·that into account.··That's a different question
 ·4· ·than, is there economic evidence of rapid price
 ·5· ·reaction, because even in that particular
 ·6· ·circumstance, if I measure the day one reaction, I
 ·7· ·will see that the event caused a reaction.
 ·8· · · · ·Q.· ··Have you seen any reason -- do you have
 ·9· ·any reason to believe that in connection with
 10· ·Miller Energy's securities, it should take more
 11· ·than a day for the price to react to new news?
 12· · · · ·A.· ··I haven't seen anything that suggests
 13· ·it would take more than a day to initially react,
 14· ·but I did note that plaintiffs have alleged certain
 15· ·disclosures where they're suggesting the price
 16· ·reacted over several days.··But that's not
 17· ·something I've evaluated whether that's the case or
 18· ·not.
 19· · · · ·Q.· ··You talked about complex types of
 20· ·announcements where it might take the market more
 21· ·than a day to figure out what it's about.··Do you
 22· ·remember that?
 23· · · · ·A.· ··Yeah, to fully reflect all the full
 24· ·value of the information.··I'm not suggesting it
 25· ·would take more than a day for an initial reaction

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 61 of 314 PageID #:
                                    11075
                                                                        Page 61

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·to occur, but it might, as I would describe it, for
 ·3· ·the price to sort of settle out or fully reflect
 ·4· ·the information.
 ·5· · · · ·Q.· ··Do you have any reason to believe that
 ·6· ·any of the news in connection with Miller Energy is
 ·7· ·that type of complex news that might take longer to
 ·8· ·absorb?
 ·9· · · · · · · ·MS. POSNER:··Objection.
 10· · · · ·A.· ··I haven't evaluated that specific
 11· ·question.
 12· · · · ·Q.· ··So going back to the question of
 13· ·whether it might take more than a day for a market
 14· ·price to react, it sounds like you would consider
 15· ·that to be a rare instance if it's an efficient
 16· ·market?
 17· · · · · · · ·MS. POSNER:··Objection.
 18· · · · ·A.· ··I just want to be careful the record is
 19· ·clear.··When you say takes more than a day to
 20· ·react, I'm not suggesting an initial reaction would
 21· ·take more than a day.··I'm saying the full price
 22· ·reaction might take over a day.
 23· · · · · · · ·I don't know that I would characterize
 24· ·it as rare.··I've certainly seen examples of it,
 25· ·but I haven't computed how often it occurs or

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 62 of 314 PageID #:
                                    11076
                                                                        Page 62

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·anything like that.··I know there is one study out
 ·3· ·there by NERA that suggests that on average, for
 ·4· ·events at the end of -- I believe their study was
 ·5· ·looking at the end of class periods in class action
 ·6· ·securities cases, but they had evidence that, on
 ·7· ·average, it took somewhat more than a day for the
 ·8· ·full price reaction to take place.··I think -- I
 ·9· ·forget exactly what the average was, but I think it
 10· ·was between one and two days.
 11· · · · ·Q.· ··So would it be fair to say that in the
 12· ·instances where a material announcement -- let me
 13· ·start over.
 14· · · · · · · ·Would it be fair to say that in the
 15· ·instances where in an efficient market a -- I'm
 16· ·going to strike that and start over again.
 17· · · · · · · ·Would it be fair to say that in the
 18· ·instances where an announcement of new news takes
 19· ·more than a day to be absorbed by the market, you
 20· ·would expect at least an initial reaction on the
 21· ·first day of trading after the announcement?
 22· · · · · · · ·MS. POSNER:··Objection.
 23· · · · ·A.· ··In the vast majority of instances where
 24· ·I've seen this, the answer to that is yes.··I can
 25· ·think of a couple of examples I've seen where that

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 63 of 314 PageID #:
                                    11077
                                                                        Page 63

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·is called into question a little bit, but generally
 ·3· ·speaking, when I've seen multiple-day windows
 ·4· ·applied, there is at least evidence of some
 ·5· ·reaction on the first day, yes.
 ·6· · · · ·Q.· ··So it would be really weird in an
 ·7· ·efficient market if material news comes out and
 ·8· ·there's no reaction on the first trading day after
 ·9· ·that, and then there's a statistically significant
 10· ·reaction on the next day?
 11· · · · · · · ·MS. POSNER:··Objection.
 12· · · · ·Q.· ··Is that fair?
 13· · · · ·A.· ··Again, I've seen some weird examples
 14· ·where information comes out in a form that is not
 15· ·widely available and it doesn't come out in a
 16· ·widely available way until a day later.··So that's
 17· ·something that could influence it.
 18· · · · · · · ·I've seen examples where news is
 19· ·reported in a foreign language and it's not
 20· ·republished in English in a widely available source
 21· ·until the next day, and so I've seen examples where
 22· ·sometimes stock prices don't necessarily react to
 23· ·that first foreign disclosure of information.
 24· · · · · · · ·So putting aside those, you know, sort
 25· ·of very unique examples, generally in an efficient

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 64 of 314 PageID #:
                                    11078
                                                                        Page 64

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·market, you expect to see a reaction the first day.
 ·3· · · · ·Q.· ··So the answer is yes?
 ·4· · · · · · · ·MS. POSNER:··Objection.
 ·5· · · · ·Q.· ··It would be really weird?
 ·6· · · · ·A.· ··It would be unusual, in an efficient
 ·7· ·market, for the market not to react at all the
 ·8· ·first day in a multiple-day window.··Not impossible
 ·9· ·but unusual.
 10· · · · ·Q.· ··Looking at your paragraph 17 and 18 in
 11· ·your report, where you're describing some of the
 12· ·general concepts about efficiency, we talked about
 13· ·the sentence where you talk about the securities
 14· ·prices expected to rapidly incorporate new
 15· ·information, and we've also talked about where you
 16· ·describe it as an empirical exercise.
 17· · · · · · · ·So my question now is, was your event
 18· ·study an attempt to obtain empirical evidence about
 19· ·whether the markets for Miller Energy's securities
 20· ·were efficient or not?
 21· · · · · · · ·MS. POSNER:··Objection to form.
 22· · · · ·A.· ··Again, I don't think that is a bright
 23· ·line test that definitively tells you yes or no
 24· ·without looking at other information, but the event
 25· ·study methodology was an attempt to develop

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 65 of 314 PageID #:
                                    11079
                                                                        Page 65

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·economic evidence supportive of market efficiency,
 ·3· ·yes.
 ·4· · · · ·Q.· ··Would you agree that empirical data
 ·5· ·that shows that information is incorporated rapidly
 ·6· ·into the price would tend to show that the market
 ·7· ·is efficient?
 ·8· · · · ·A.· ··Can I have that read back, please.
 ·9· · · · · · · ·(Record read.)
 10· · · · ·A.· ··I think as a general matter, that's
 11· ·true, yes.
 12· · · · ·Q.· ··Would you agree that if empirical data
 13· ·shows that the information is incorporated slowly
 14· ·into the price, that would tend to show the market
 15· ·is inefficient?
 16· · · · ·A.· ··I think I would have to understand what
 17· ·you mean by slowly.··If you're using it as an
 18· ·antonym to rapidly where I'm saying there's
 19· ·evidence that it reacts within a day or a series of
 20· ·days, then I think the answer would probably be
 21· ·yes, but you're going to have to be a little more
 22· ·specific about what you mean by slowly.
 23· · · · ·Q.· ··I'm more interested in what you think
 24· ·than what I think.··You said rapidly and I'm just
 25· ·wondering in what circumstance -- how slow would

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 66 of 314 PageID #:
                                    11080
                                                                        Page 66

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·the markets have to react for you to say this
 ·3· ·market is inefficient?
 ·4· · · · · · · ·MS. POSNER:··Objection.
 ·5· · · · ·A.· ··Again, I think there's a difference
 ·6· ·between, and it's an important difference,
 ·7· ·concluding and reaching a conclusion that the
 ·8· ·evidence is sufficient that the markets can be
 ·9· ·described as efficient in the way in which I'm
 10· ·defining them and in a way that Dr. Fama defined
 11· ·them.
 12· · · · · · · ·There are certainly circumstances where
 13· ·the evidence is insufficient or there's not enough
 14· ·supportive evidence to conclude efficiency where I
 15· ·wouldn't necessarily call the market inefficient,
 16· ·but I would say I don't have sufficient evidence to
 17· ·conclude it is efficient.
 18· · · · · · · ·And then there's, I guess
 19· ·hypothetically, a situation where the market price
 20· ·reactions are sufficiently deviant from what you
 21· ·would expect in an efficient market that you would
 22· ·call it inefficient, but I'm not sure I've ever
 23· ·come across that in a New York Stock Exchange
 24· ·traded security.
 25· · · · ·Q.· ··When is the last time you have found

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 67 of 314 PageID #:
                                    11081
                                                                        Page 67

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·that the market for a particular security was
 ·3· ·inefficient?
 ·4· · · · ·A.· ··I don't know that I've ever come to the
 ·5· ·opinion that it's inefficient.··I've come to the
 ·6· ·opinion on number of different occasions that there
 ·7· ·was insufficient evidence of efficiency for me to
 ·8· ·opine that it was efficient.··That's occurred on a
 ·9· ·number of different occasions.
 10· · · · ·Q.· ··How slowly would the market price have
 11· ·to react to news for you to conclude that there's
 12· ·no evidence -- no sufficient evidence for a finding
 13· ·of efficiency?
 14· · · · ·A.· ··Again, I think you're isolating the
 15· ·analysis to sort of the event study analysis.··So
 16· ·there's a lot of different factors to look at.··I
 17· ·don't know that I have in mind a threshold of
 18· ·how -- I mean, it would sort of depend on how
 19· ·you're developing the evidence that it was reacting
 20· ·slowly.
 21· · · · · · · ·So I'm -- I'm a little confused by your
 22· ·question because if -- let's just take a purely --
 23· ·pure hypothetical where on a consistent basis, the
 24· ·company is releasing obviously new value-relevant
 25· ·news that would change the value of -- that would

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 68 of 314 PageID #:
                                    11082
                                                                        Page 68

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·clearly, in any reasonable investor's mind, change
 ·3· ·the value of a security in a substantial way and
 ·4· ·you consistently saw the price not react to that
 ·5· ·within a couple of days and saw the price reacting
 ·6· ·to it in some consistent way three, four, five
 ·7· ·days, a week later.··That would give me certainly
 ·8· ·pause or would certainly lead me to a conclusion
 ·9· ·that it is not efficient in the way one normally
 10· ·thinks about efficient.
 11· · · · · · · ·It certainly would not be efficient to
 12· ·the degree where I would be comfortable opining
 13· ·that it's efficient.··Whether that means it's
 14· ·inefficient in that it -- I guess by this
 15· ·definition, it would be, so by the definition I'm
 16· ·using, it would be, because it doesn't rapidly
 17· ·reflect the prices, but I have not seen a
 18· ·circumstance where that sort of evidence is
 19· ·available.
 20· · · · ·Q.· ··This methodology that you're proposing
 21· ·here and opining on is intended to be a scientific,
 22· ·reliable methodology; right?
 23· · · · ·A.· ··Absolutely.
 24· · · · ·Q.· ··And you're saying you're examining,
 25· ·testing the question of whether markets are

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 69 of 314 PageID #:
                                    11083
                                                                        Page 69

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·reacting -- market prices are reacting rapidly to
 ·3· ·new information.··Is there some predetermined,
 ·4· ·knowable threshold where an objective observer can
 ·5· ·look and say, okay, here's how I know if this
 ·6· ·expert would find that there's efficiency and
 ·7· ·here's how I know they would not find that, in
 ·8· ·advance, are there some criteria?
 ·9· · · · · · · ·MS. POSNER:··Objection.
 10· · · · ·A.· ··I think the criteria that I'm using to
 11· ·provide scientific evidence is laid out in my
 12· ·report.··It's taking a series of days on which
 13· ·there's news and a series of days on which there's
 14· ·no news and performing a comparison of what I'll
 15· ·call the treatment group, which is days with news,
 16· ·and the placebo group, which is days of no news,
 17· ·and showing that there's a statistically
 18· ·significant difference between those two samples
 19· ·and, therefore, showing scientifically beyond --
 20· ·with confidence beyond the standards that are
 21· ·typically used in my scientific field, that there
 22· ·are -- there is evidence of price reactions within
 23· ·a day.
 24· · · · · · · ·So I don't think I've ever -- I don't
 25· ·think in this case, I ever got to the question of

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 70 of 314 PageID #:
                                    11084
                                                                        Page 70

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·how -- what would happen if that weren't true.
 ·3· · · · · · · ·I mean, that's what the evidence shows,
 ·4· ·so I mean, if the evidence didn't show that, and if
 ·5· ·there was no evidence of stock price reactions
 ·6· ·within a day, then I would have to move to looking
 ·7· ·at the other factors.··I would have to determine
 ·8· ·why was I observing that, you know, is there
 ·9· ·evidence that it's occurring over multiple days or
 10· ·not for several -- you know, initial reaction is
 11· ·not for several days, but I never got to that
 12· ·question because the scientific evidence here is
 13· ·clear that there's a demonstrable cause and effect
 14· ·relationship between new news and the price of the
 15· ·securities I've been asked to look at.
 16· · · · ·Q.· ··You found that in the 17 instances
 17· ·where there were earnings releases, in four
 18· ·instances, there was a statistically significant
 19· ·price movement the next day; right?
 20· · · · ·A.· ··I believe that's right, but let me just
 21· ·double-check.··Yes, I believe there's two more that
 22· ·are significant at the 90 percent level, but there
 23· ·were four that were significant at the 95 percent
 24· ·level.
 25· · · · ·Q.· ··And in each of those instances, you

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 71 of 314 PageID #:
                                    11085
                                                                        Page 71

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·were assuming that those price movements were a
 ·3· ·reaction to the earnings announcement the day
 ·4· ·before as opposed to anything that might have been
 ·5· ·said the day before the earnings announcement;
 ·6· ·correct?
 ·7· · · · ·A.· ··That's the assumption used in the
 ·8· ·analysis, yes.
 ·9· · · · ·Q.· ··But you testified earlier that there
 10· ·could be instances where new news might have an
 11· ·effect on day one and a residual effect on day two
 12· ·as well; right?
 13· · · · ·A.· ··It's plausible in certain
 14· ·circumstances.
 15· · · · ·Q.· ··Is it possible that any or all of those
 16· ·four or six instances where you found a reaction to
 17· ·the earnings announcement might have actually been
 18· ·a reaction to something that happened the day
 19· ·before the earnings announcement?
 20· · · · ·A.· ··I looked carefully enough at these
 21· ·dates that I don't believe, for any of these dates,
 22· ·that's a plausible explanation.··For each earnings
 23· ·announcement, I studied the analysts' reports and
 24· ·the other news surrounding those days, so I'm not
 25· ·aware of a circumstance where in this particular

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 72 of 314 PageID #:
                                    11086
                                                                        Page 72

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·case, for any of these particular dates, where that
 ·3· ·was a real concern.
 ·4· · · · ·Q.· ··Your methodology treated each price
 ·5· ·reaction as a reaction to the news on the day
 ·6· ·before and did not evaluate in any way whether that
 ·7· ·price reaction might be the residual effect of an
 ·8· ·announcement the day before that; correct?
 ·9· · · · · · · ·MS. POSNER:··Objection.
 10· · · · ·A.· ··Well, I want to be a little bit
 11· ·careful.··You're using the term "day before."··Some
 12· ·of these announcements are in the evening of the
 13· ·day before and then I'm testing the next day.··Some
 14· ·of these announcements are the in the morning.
 15· · · · ·Q.· ··I'm pretty sure you know what I mean;
 16· ·right?
 17· · · · ·A.· ··Yes, I know what you mean.··I just want
 18· ·the record to be clear that I'm testing the first
 19· ·trading day where that information could have
 20· ·impacted the market.··And like I said, I don't
 21· ·think I'm just assuming it.··I looked at each of
 22· ·these dates and the news surrounding it, and I
 23· ·don't believe on any of these dates there was clear
 24· ·material news the day before the earnings
 25· ·announcement, but I don't have perfect recall of

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 73 of 314 PageID #:
                                    11087
                                                                        Page 73

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·everything, but I would have looked at that issue.
 ·3· · · · ·Q.· ··This was important to you because those
 ·4· ·are the four of 19 instances that you referred to
 ·5· ·repeatedly through your report and you use it in
 ·6· ·your bar charts and you use it everywhere; right?
 ·7· · · · · · · ·MS. POSNER:··Objection.··Misstates the
 ·8· · · · ·report.
 ·9· · · · ·A.· ··I don't know that I use it everywhere.
 10· ·There's a table that I find four of the 17
 11· ·significant and I state that in the text as well.
 12· · · · ·Q.· ··Did you look at the question carefully?
 13· ·Let me rephrase that.··For the 17 events that you
 14· ·address in your event study for the common stock,
 15· ·did you look carefully to make sure you were
 16· ·getting the right dates?
 17· · · · ·A.· ··Yes.
 18· · · · ·Q.· ··Because that's important to your
 19· ·analysis?
 20· · · · ·A.· ··Yes.
 21· · · · ·Q.· ··I want to ask some questions about the
 22· ·Cammer factors so why don't you turn to page 14 of
 23· ·your report.··The first factor you have listed here
 24· ·is trading volume.··How significant is trading
 25· ·volume as one of the factors?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 74 of 314 PageID #:
                                    11088
                                                                        Page 74

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··I'm not sure exactly what you mean by
 ·3· ·how significant, but I generally think actual
 ·4· ·trading volume is an important and one of the more
 ·5· ·direct tests of market efficiency.··Without actual
 ·6· ·activity on a market, it's hard to conclude it's
 ·7· ·efficient.··So I think it's important.
 ·8· · · · ·Q.· ··And would trading volume, standing
 ·9· ·alone, be enough to be defining efficiency?
 10· · · · ·A.· ··I don't think there's any of the tests
 11· ·that standing alone are bright line tests of
 12· ·efficiency.··I think the combination of stock
 13· ·trading on the NYSE, with high -- reasonably high
 14· ·trading volume, goes a long way towards a stock
 15· ·being efficient because that implicitly means it's
 16· ·meeting a number of the other categories, so -- but
 17· ·standing alone, can you scientifically say that's
 18· ·evidence, determinative evidence of efficiency?
 19· ·No.
 20· · · · ·Q.· ··Let's talk about analyst coverage,
 21· ·Cammer factor number 2.··You have this beginning on
 22· ·page 16.
 23· · · · ·A.· ··Okay.
 24· · · · ·Q.· ··Can you explain why analyst coverage is
 25· ·relevant to your analysis?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 75 of 314 PageID #:
                                    11089
                                                                        Page 75

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Sure.··I mean, in paragraph 33, I quote
 ·3· ·a Cammer decision which I understand is a
 ·4· ·well-recognized decision that laid out a number of
 ·5· ·these factors initially.··And then in paragraph 34,
 ·6· ·I describe why, as an economist, that factor makes
 ·7· ·sense to me as something to look at.
 ·8· · · · · · · ·In paragraph 36, I describe why sort of
 ·9· ·a narrow focus on just analysts is not necessarily
 10· ·the right thing to look at because there are so
 11· ·many different ways that people can get
 12· ·information.··But that looking at analysts' reports
 13· ·is a -- does provide some evidence supportive of
 14· ·efficiency.
 15· · · · ·Q.· ··Does the number of analysts covering a
 16· ·particular security matter?
 17· · · · ·A.· ··Again, the notion of the factor is, is
 18· ·there evidence that there's interest in the company
 19· ·and its securities and that there's an active
 20· ·market for information.··So I don't think the
 21· ·numbers is as important as the --
 22· · · · · · · ·I mean, the essence of the factor is
 23· ·that is there evidence of sufficient interest in
 24· ·the stock, and so the Cammer decision said it would
 25· ·be persuasive to allege a significant number of

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 76 of 314 PageID #:
                                    11090
                                                                        Page 76

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·securities analysts.··It's not suggesting there's a
 ·3· ·big difference between are there 15 analysts or 16
 ·4· ·analysts or three analysts or four analysts.
 ·5· · · · · · · ·It's less of a strict correlation than
 ·6· ·is there just qualitatively evidence that there are
 ·7· ·analysts covering the stock.
 ·8· · · · ·Q.· ··Would you say this factor weighs in
 ·9· ·favor of a finding of efficiency if an
 10· ·insignificant number of analysts are covering a
 11· ·stock?
 12· · · · ·A.· ··I don't know how you would define
 13· ·insignificant.··I certainly think it would not
 14· ·weigh towards efficiency if there weren't any
 15· ·analysts covering a stock or there was just one.
 16· ·What significant means, I'm just not sure.
 17· · · · ·Q.· ··You've quoted this language here that
 18· ·says that it would be persuasive to allege a
 19· ·significant number of securities analysts.··What is
 20· ·your view of what a significant number of
 21· ·securities analysts would be?
 22· · · · ·A.· ··I guess I don't have a specific
 23· ·threshold in mind.··I mean, in this particular
 24· ·case, as I've identified on Exhibit 4, there were
 25· ·15 separate analysts that issued reports on the

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 77 of 314 PageID #:
                                    11091
                                                                        Page 77

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·stock.··At least a half dozen issued more than ten
 ·3· ·reports on the stock, and as I also note, my source
 ·4· ·for analysts' reports certainly doesn't cover all
 ·5· ·of the analyst reports that may have been out
 ·6· ·there, so the evidence in this case was sufficient
 ·7· ·that there was, in my view, a significant number of
 ·8· ·analysts covering the stock and I didn't need to
 ·9· ·think exactly what that threshold was.
 10· · · · ·Q.· ··So you don't have a preset idea in your
 11· ·mind about what would be a significant number in a
 12· ·particular context, but you think that 15 certainly
 13· ·meets the threshold?··Is that what you said?
 14· · · · ·A.· ··I think 15 certainly meets that
 15· ·threshold.··I think as long as there's evidence of
 16· ·significant analyst coverage of a company, that
 17· ·this factor supports market efficiency, and I
 18· ·demonstrate that there was significant analyst
 19· ·coverage during the analysis period.
 20· · · · ·Q.· ··You said if there was only one analyst,
 21· ·that wouldn't be significant, and 15 is
 22· ·significant.··Can you give us any closer idea of
 23· ·where the threshold would be for significance in
 24· ·your mind?··5, 12, 10, 14, 2?
 25· · · · ·A.· ··Again, as I describe within this

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 78 of 314 PageID #:
                                    11092
                                                                        Page 78

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·section, you know, focusing on the specific number
 ·3· ·is not really even what the Cammer factor was
 ·4· ·really getting at.
 ·5· · · · · · · ·The question is -- as an economic
 ·6· ·matter, if you look at the language in the Cammer
 ·7· ·factor, it says, "The existence of such analysts
 ·8· ·would imply, for example, the auditor reports were
 ·9· ·closely reviewed by investment professionals, who
 10· ·would in turn make buy/sell recommendations to
 11· ·client investors."
 12· · · · · · · ·Now there are many different outlets
 13· ·for people to get information about companies and
 14· ·analysis of companies, not just analyst reports.
 15· ·So again, I think the -- there could be an
 16· ·over-focus on just the number of analyst reports,
 17· ·so I don't have in my mind a very specific
 18· ·threshold.
 19· · · · · · · ·And the relevant question is, is there
 20· ·evidence that there was significant analyst
 21· ·coverage of Miller Energy securities during the
 22· ·class period, and I concluded there was.
 23· · · · ·Q.· ··Do you remember my question?
 24· · · · ·A.· ··I think the question was, is there a
 25· ·specific number that I have in mind when thinking

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 79 of 314 PageID #:
                                    11093
                                                                        Page 79

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·about what significant means.
 ·3· · · · ·Q.· ··So is it yes or is it no?
 ·4· · · · · · · ·MS. POSNER:··Objection.··Asked and
 ·5· · · · ·answered.
 ·6· · · · ·Q.· ··I think it's no.
 ·7· · · · ·A.· ··I don't have a specific number in mind.
 ·8· ·Again, I believe I've answered the question in my
 ·9· ·report whether there was evidence of significant
 10· ·analyst coverage during the analysis period.
 11· · · · ·Q.· ··You've said one is not significant, 15
 12· ·is significant, and you can't be any more specific
 13· ·than that?
 14· · · · · · · ·MS. POSNER:··Objection.
 15· · · · · · · ·MR. BALLARD:··This is your chance.
 16· · · · · · · ·MS. POSNER:··Objection.
 17· · · · ·A.· ··I'm not offering a bright line
 18· ·threshold for what is significant and what is not
 19· ·significant.
 20· · · · ·Q.· ··Does quality of the analyst coverage
 21· ·matter?
 22· · · · ·A.· ··Theoretically it could.
 23· · · · ·Q.· ··Not all analysts are equal; right?
 24· · · · ·A.· ··That's correct.
 25· · · · ·Q.· ··So one analyst might work for a massive

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 80 of 314 PageID #:
                                    11094
                                                                        Page 80

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·brokerage and that analyst report might be
 ·3· ·distributed to thousands of people, whereas another
 ·4· ·analyst might work for a tiny shop that has three
 ·5· ·clients and that analyst report might be
 ·6· ·distributed to three people who don't really trade
 ·7· ·much; right?
 ·8· · · · · · · ·MS. POSNER:··Objection.
 ·9· · · · ·Q.· ··So it matters?
 10· · · · · · · ·MS. POSNER:··Objection.
 11· · · · ·A.· ··What you're saying is plausible.
 12· ·There's other analysts who release their reports
 13· ·publicly, and I don't know -- I'll leave my answer
 14· ·there.
 15· · · · ·Q.· ··What is your definition of an analyst
 16· ·for this purpose?
 17· · · · ·A.· ··Well, for this purpose, my methodology
 18· ·was to download reports from Investec, which is a
 19· ·service that provides downloadable analyst reports,
 20· ·so I would have pulled down the reports that are on
 21· ·that service.
 22· · · · ·Q.· ··Do you know all these entities?··I'm
 23· ·looking at Exhibit 4 of your report.
 24· · · · ·A.· ··Some of them I'm familiar with.··Some
 25· ·of them I'm not.

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 81 of 314 PageID #:
                                    11095
                                                                        Page 81

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··Some of them you've never heard of
 ·3· ·before; right?
 ·4· · · · ·A.· ··I don't know that I've never heard of
 ·5· ·them before, but they're not that familiar to me.
 ·6· · · · ·Q.· ··What is SADIF Analytics?
 ·7· · · · ·A.· ··I don't know.
 ·8· · · · ·Q.· ··Do you know the name of the analyst, if
 ·9· ·there actually was one there?
 10· · · · ·A.· ··Not as I sit here, no.··I would have to
 11· ·go back and look at it.
 12· · · · ·Q.· ··Are you confident that there was an
 13· ·actual analyst with a human being behind each of
 14· ·these entities here?
 15· · · · · · · ·MS. POSNER:··Objection.
 16· · · · ·A.· ··If you're asking me if there's an
 17· ·individual analyst that is putting their name on
 18· ·the report, I just don't recall.
 19· · · · ·Q.· ··Do you ever make any effort to
 20· ·distinguish between analyst reports that are
 21· ·created by actual human beings who create analyst
 22· ·reports versus machine generated things that are
 23· ·just spit out by computers?
 24· · · · · · · ·MS. POSNER:··Objection.
 25· · · · ·A.· ··Within the context of this analysis,

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 82 of 314 PageID #:
                                    11096
                                                                        Page 82

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·given the number of reports that were here from
 ·3· ·entities I am familiar with, I didn't make an
 ·4· ·attempt to do that.··In the past, I would say there
 ·5· ·is a qualitative difference between those things.
 ·6· · · · ·Q.· ··Would you typically exclude machine
 ·7· ·generated analyst reports from this kind of
 ·8· ·analysis?
 ·9· · · · ·A.· ··I don't know if I would typically
 10· ·exclude them.
 11· · · · ·Q.· ··Should they be excluded?
 12· · · · ·A.· ··I don't know that they should be
 13· ·excluded.··I think, you know, at an extreme, if
 14· ·that was the only -- if the only evidence of
 15· ·analyst reports were those types of reports, that
 16· ·would -- that would be something I would certainly
 17· ·consider and I would view that as less
 18· ·qualitatively good evidence of analyst coverage.
 19· ·But that wasn't -- I never really got to that
 20· ·question in this case because it's clear there were
 21· ·dozens of high-quality analyst reports issued
 22· ·during this period on Miller Energy.
 23· · · · ·Q.· ··You've never looked at how many of
 24· ·these analysts, these entities you list as
 25· ·analysts, were actually machine generated things?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 83 of 314 PageID #:
                                    11097
                                                                        Page 83

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·MS. POSNER:··Objection.
 ·3· · · · ·A.· ··Well, I don't know that I ever -- I
 ·4· ·don't know that I performed a quantification of
 ·5· ·that, but in looking through the analyst reports in
 ·6· ·this case, I mean, there were certainly I believe
 ·7· ·examples of that, but I think there were lots of
 ·8· ·examples of analyst reports with -- from firms I
 ·9· ·recognize as well.
 10· · · · ·Q.· ··Do you know what Wall Street Transcript
 11· ·is?
 12· · · · ·A.· ··I believe that specific report in this
 13· ·case is the transcript of an interview somebody had
 14· ·with an executive from Miller Energy.··That's my
 15· ·recollection of that.
 16· · · · ·Q.· ··So how is that an analyst report?
 17· · · · ·A.· ··Well, a lot of analysts, important
 18· ·information in a lot of analyst reports is when
 19· ·they have discussions with management.··So an
 20· ·interview by management to me is clearly providing
 21· ·new relevant information to the market, and so I
 22· ·didn't see a problem in treating that as an analyst
 23· ·report.
 24· · · · ·Q.· ··You would treat a word-for-word
 25· ·transcript of an interview with the CEO of Miller

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 84 of 314 PageID #:
                                    11098
                                                                        Page 84

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·Energy as an analyst report?
 ·3· · · · · · · ·MS. POSNER:··Objection.
 ·4· · · · ·A.· ··It's certainly evidence of interest in
 ·5· ·following the company and what the company is
 ·6· ·saying about its business.··It's not what I would
 ·7· ·consider a traditional analyst report in the case
 ·8· ·of, you know, an analyst providing a buy or sell
 ·9· ·recommendation, but it's certainly a report that is
 10· ·providing important information to the market.
 11· · · · ·Q.· ··The Wall Street Transcript shouldn't be
 12· ·on your list here; should it?
 13· · · · ·A.· ··I disagree.
 14· · · · ·Q.· ··It's your expert opinion that the Wall
 15· ·Street Transcript listed on your Exhibit 4 is an
 16· ·analyst report, that's your testimony as an expert
 17· ·sitting here under oath?
 18· · · · ·A.· ··I'm saying -- I think I've said in my
 19· ·prior answer it's not what would be considered a
 20· ·traditional analyst report, but it's certainly a
 21· ·source of information and much of what analysts do
 22· ·is provide information, including results of
 23· ·meetings with management of public companies.··So
 24· ·the transcript of an interview somebody had is
 25· ·providing useful information to the market.

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 85 of 314 PageID #:
                                    11099
                                                                        Page 85

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·I would agree that it's not what is
 ·3· ·traditionally considered an analyst report but I
 ·4· ·think it's relevant to list it on this exhibit.
 ·5· · · · ·Q.· ··Don't companies, when they make
 ·6· ·statements like that, file them in Form 8-Ks
 ·7· ·typically?
 ·8· · · · · · · ·MS. POSNER:··Objection.
 ·9· · · · ·A.· ··Sometimes they do.
 10· · · · ·Q.· ··So why don't you --
 11· · · · ·A.· ··Let me finish my answer.
 12· · · · ·Q.· ··Go ahead.
 13· · · · ·A.· ··There are certainly times they do.
 14· ·There are times that statements and interviews or
 15· ·presentations by companies are not in 8-Ks.
 16· · · · ·Q.· ··When a company makes a public statement
 17· ·and discloses it in an 8-K, why don't you include
 18· ·that as an analyst report?
 19· · · · ·A.· ··Because that's not a third party
 20· ·showing interest in the company.
 21· · · · ·Q.· ··So you would say there's something
 22· ·substantially different between this Wall Street
 23· ·Transcript publication and a company filing a
 24· ·public statement, the same public statement, with
 25· ·the SEC?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 86 of 314 PageID #:
                                    11100
                                                                        Page 86

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Again, it's a third party spending
 ·3· ·economic resources to go out and perform an
 ·4· ·interview and report it to the market.··So that is
 ·5· ·demonstrating interest by a third party in the
 ·6· ·securities of the company and the company, itself.
 ·7· · · · ·Q.· ··Do you know if you have any entities on
 ·8· ·your list here that are double counted?
 ·9· · · · ·A.· ··What do you mean by double counted?
 10· · · · ·Q.· ··When a company changes its name.
 11· · · · ·A.· ··I don't think any of the reports are
 12· ·double counted.
 13· · · · ·Q.· ··You said there are 15 analysts covering
 14· ·this stock.··If one of them is an entity that
 15· ·simply changed its name, it should be 14; right?
 16· · · · ·A.· ··That's possible.··I don't know that I
 17· ·can exclude that possibility, but again, I think
 18· ·the point of this analysis was not to create a
 19· ·perfect list of the analysts and the reports.··It
 20· ·was to evaluate whether there is evidence of
 21· ·significant analyst coverage and I believe I've
 22· ·done that, and I've attempted to quantify, you
 23· ·know, the number of reports and list who the
 24· ·companies were that purportedly issued those
 25· ·reports, and so I think I've done a fair job at

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 87 of 314 PageID #:
                                    11101
                                                                        Page 87

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·showing what data I relied upon to reach the
 ·3· ·conclusion that there was significant analyst
 ·4· ·coverage.
 ·5· · · · ·Q.· ··What was the first date of your
 ·6· ·analysis period?
 ·7· · · · ·A.· ··I believe it's August 29, 2011, but let
 ·8· ·me double-check that.··Yes, August 29, 2011.
 ·9· · · · ·Q.· ··How many analysts were covering the
 10· ·stock on that date?
 11· · · · ·A.· ··I don't know that I specifically know
 12· ·the answer to that.··I know on that date, I
 13· ·believe, or right around that date, there was a
 14· ·conference call where there were -- there was at
 15· ·least one analyst who announced and at least a
 16· ·second one who was asking questions on the call,
 17· ·but I don't know that I have a -- there may have
 18· ·been others.··I just don't know.
 19· · · · ·Q.· ··On August 29, 2011, the beginning of
 20· ·the analysis period, excluding machine generated
 21· ·junk --
 22· · · · · · · ·MS. POSNER:··Objection.
 23· · · · ·Q.· ··-- how many analysts were covering the
 24· ·stock; do you snow?
 25· · · · ·A.· ··I don't know specifically how many were

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 88 of 314 PageID #:
                                    11102
                                                                        Page 88

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·covering the company because again, as I said, to
 ·3· ·conclude that there was significant analyst
 ·4· ·coverage during the analysis period, I pulled down
 ·5· ·the complete list of what is listed in Investec I
 ·6· ·know that is an under-representation of all analyst
 ·7· ·reports so I don't have a specific number.
 ·8· · · · ·Q.· ··If there was only one analyst covering
 ·9· ·the stock for the first, say, full year of the
 10· ·analysis period, that would be an indication that
 11· ·this factor should count against efficiency;
 12· ·correct?
 13· · · · ·A.· ··Can I have that read back, please.
 14· · · · · · · ·(Record read.)
 15· · · · ·A.· ··I think if there were a single analyst
 16· ·covering the stock for some period of the analysis
 17· ·period, it would be fair to say that factor alone
 18· ·doesn't provide supporting evidence.··You would
 19· ·still want to look at all the other factors, so I
 20· ·don't think that counts towards inefficiency.··It's
 21· ·not some indicator of inefficiency, but I think
 22· ·that would be fairly weak evidence in terms of that
 23· ·factor, in isolation, providing economic evidence
 24· ·of efficiency.
 25· · · · ·Q.· ··Did you see any analyst reports

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 89 of 314 PageID #:
                                    11103
                                                                        Page 89

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·dedicating to covering the preferred stocks?
 ·3· · · · ·A.· ··I don't recall seeing any reports
 ·4· ·directly covering the preferred stocks independent
 ·5· ·of the common stock.··I think there were analysts
 ·6· ·that talked about the preferred securities in their
 ·7· ·reports and certainly the information would be
 ·8· ·relevant to investors in those securities, but I
 ·9· ·don't recall any analyst reports focused directly
 10· ·on the preferred stocks as what they were offering
 11· ·recommendations about.
 12· · · · ·Q.· ··You've said the preferred securities
 13· ·are a hybrid between equity and debt; right?
 14· · · · ·A.· ··I think generally I described preferred
 15· ·securities that way and I think -- I think that's a
 16· ·fair characterization, is there are equity-like
 17· ·features of the preferred securities and debt-like
 18· ·features of the preferred securities.
 19· · · · ·Q.· ··So would it be the case that as to the
 20· ·preferred securities of Miller Energy, concepts
 21· ·like credit rating and probability of default, loss
 22· ·rates, recovery rates, those would be relevant
 23· ·factors for investors in those types of securities?
 24· · · · ·A.· ··I think those -- could I have that read
 25· ·back, please.

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 90 of 314 PageID #:
                                    11104
                                                                        Page 90

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·(Record read.)
 ·3· · · · ·A.· ··I think that's true.··I think those
 ·4· ·factors would be important to common stockholders
 ·5· ·as well because to even get value to the common
 ·6· ·stock, you would want to consider those sorts of
 ·7· ·things.
 ·8· · · · ·Q.· ··Did you see any analyst reports
 ·9· ·covering Miller Energy that analyzed those concepts
 10· ·during the analysis period with regard to Miller
 11· ·Energy's preferred stock?
 12· · · · ·A.· ··I don't know that they analyzed issues
 13· ·like that specifically just with regard to the
 14· ·preferred stock, but I think analysts certainly
 15· ·were focused on the company's liquidity issues and
 16· ·what the liquidity issues meant for the company's
 17· ·ability to generate value and go on as a continuing
 18· ·going concern.
 19· · · · · · · ·So I think the issues discussed by the
 20· ·analysts were exactly the issues that would matter
 21· ·to preferred security holders as well.··I don't
 22· ·recall them specifically talking about some of the
 23· ·areas you mentioned.
 24· · · · ·Q.· ··Would it be fair to say that the
 25· ·analysts reports you identified in your report do

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 91 of 314 PageID #:
                                    11105
                                                                        Page 91

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·not cover the debt component, the debt component of
 ·3· ·the preferred securities?
 ·4· · · · ·A.· ··I don't have perfect recall of all the
 ·5· ·analyst reports as I sit here.··I do believe at
 ·6· ·times they discussed the company's ability to
 ·7· ·continue paying the preferred dividends, which is a
 ·8· ·debt-like feature, like a coupon on a bond,
 ·9· ·although it obviously had different features in
 10· ·that it's not mandatory to pay at a particular
 11· ·time, but I do believe the analysts were certainly
 12· ·discussing the company's liquidity and ability to
 13· ·continue paying those dividends.··That's my
 14· ·recollection.
 15· · · · ·Q.· ··I know you said earlier you evaluated
 16· ·the common stock and Series C and Series D
 17· ·independently.··As to the analyst coverage element,
 18· ·however, you lumped them together; right?
 19· · · · ·A.· ··Well, I didn't -- well, I mean, the
 20· ·same analysis applies to all three so in that
 21· ·sense, I lumped them together, but I thought about
 22· ·it independently for each.
 23· · · · ·Q.· ··Well, I meant you literally lumped them
 24· ·together in Exhibit 1, because you combined the
 25· ·columns for the three securities and you put one

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 92 of 314 PageID #:
                                    11106
                                                                        Page 92

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·entry there.
 ·3· · · · ·A.· ··Well, yeah.··As I just said, I used the
 ·4· ·same evidence as supporting evidence, but I did,
 ·5· ·and I believe it's reflected in my report, but I
 ·6· ·believe I had some footnotes that talked about how
 ·7· ·those analyst reports also pertained to what
 ·8· ·investors in the preferred securities would care
 ·9· ·about.
 10· · · · ·Q.· ··If I pull out one of these analyst
 11· ·reports, would you expect it to have like a price
 12· ·target for the common stock?
 13· · · · ·A.· ··Many of them do, not all of them.
 14· · · · ·Q.· ··Do any of them have price targets for
 15· ·the preferred?
 16· · · · ·A.· ··I don't believe so, no.··I don't recall
 17· ·seeing that.
 18· · · · ·Q.· ··In your report at paragraph 36, you
 19· ·indicate that there has been a significant increase
 20· ·in alternative methods by which publicly available
 21· ·information about publicly-traded securities is
 22· ·disseminated to investors.··And then you refer to
 23· ·several things, the Internet, 24-hour cable news
 24· ·networks, e-mail, RSS feeds, and other media.
 25· · · · · · · ·Do you see that?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 93 of 314 PageID #:
                                    11107
                                                                        Page 93

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Yes.
 ·3· · · · ·Q.· ··Were those important to consider and if
 ·4· ·so, why?
 ·5· · · · ·A.· ··Well, I think it's important to
 ·6· ·consider that since the Cammer decision, there's
 ·7· ·less reliance on analysts to get information.··So
 ·8· ·again, when you read the text of the Cammer
 ·9· ·decision that I quoted there, it's talking about
 10· ·how people could review the auditor reports and the
 11· ·financials.
 12· · · · · · · ·I mean, now, you can go on the SEC's
 13· ·website and download all the SEC filings yourself
 14· ·at no cost, almost instantaneously, so back when I
 15· ·started doing this work and even in 1995, you would
 16· ·have to contact a third-party service and get
 17· ·information faxed to you.
 18· · · · · · · ·So, I mean, there's just been an
 19· ·explosion in the ways people can get information
 20· ·about companies and do their own evaluation and
 21· ·work without relying on analyst reports to get that
 22· ·information.
 23· · · · ·Q.· ··On the SEC website, how long has that
 24· ·system been in place where you can go on and get
 25· ·access to SEC filings?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 94 of 314 PageID #:
                                    11108
                                                                        Page 94

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··I don't recall.··I know it has been
 ·3· ·improved over time too, but I don't know exactly
 ·4· ·how long that has been in place.
 ·5· · · · ·Q.· ··Was it available through the analysis
 ·6· ·period?
 ·7· · · · ·A.· ··Yes.
 ·8· · · · ·Q.· ··So in your event study, you had this
 ·9· ·process where you looked at days where there was an
 10· ·earnings announcement.··You compared those with no
 11· ·news days; right?
 12· · · · ·A.· ··That's part of what I did.··I think for
 13· ·preferred securities, I looked at dates other than
 14· ·earnings announcements, but yes, I was looking at
 15· ·news days versus non-news days as a general matter.
 16· · · · ·Q.· ··So part of what you did is you figured
 17· ·out, okay, what are the days when there was no news
 18· ·related to Miller Energy; right?
 19· · · · ·A.· ··Yes.
 20· · · · ·Q.· ··So for the common stock, for example,
 21· ·there was 300 and something of those no news days;
 22· ·right?
 23· · · · ·A.· ··I believe it's 194, is the specific
 24· ·number that I'm looking at.
 25· · · · ·Q.· ··I think you're looking at the

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 95 of 314 PageID #:
                                    11109
                                                                        Page 95

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·preferred.
 ·3· · · · ·A.· ··I'm looking at the preferred, you're
 ·4· ·right.··Yes, 318 days, and again, it's not to
 ·5· ·suggest there wasn't some news article out there
 ·6· ·that just used the word Miller Energy or something
 ·7· ·like that.··We looked at primary sources and
 ·8· ·whether there were SEC filings or evidence of
 ·9· ·analyst reports, so that's how we defined what a no
 10· ·news date is, but yes.
 11· · · · ·Q.· ··So if there was an SEC filing, then it
 12· ·was not a no news day; right?
 13· · · · ·A.· ··I believe we -- again, there are lots
 14· ·of different types of SEC filings, I think we
 15· ·looked at 10-Ks, 10-Qs, 8-Ks, I forget the exact
 16· ·list, but correct, there was not what would
 17· ·normally be considered an SEC filing with
 18· ·information investors would focus on.
 19· · · · ·Q.· ··If there was an analyst report, that
 20· ·was not a no news day?
 21· · · · ·A.· ··Correct.
 22· · · · ·Q.· ··If there was a news article about
 23· ·Miller Energy, that was not a no news day?
 24· · · · ·A.· ··Based on the news search criteria we
 25· ·performed, that's correct.

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 96 of 314 PageID #:
                                    11110
                                                                        Page 96

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··Did you use the Factiva database to
 ·3· ·identify what days were news days versus no news
 ·4· ·days?
 ·5· · · · ·A.· ··That was part of it, yes.
 ·6· · · · ·Q.· ··What else did you use?
 ·7· · · · ·A.· ··The EDGAR website and the Investec
 ·8· ·search that I described.
 ·9· · · · ·Q.· ··Going back to your report at paragraph
 10· ·36, where you talk about all these other new forms
 11· ·of media like the Internet, and 24-hour cable news,
 12· ·and RSS feeds, and e-mail and other media, did you
 13· ·do anything to figure out whether there was new
 14· ·news on any of these sources on any days to
 15· ·determine whether they were news or no news days?
 16· · · · ·A.· ··I didn't specifically look beyond what
 17· ·I just described.··I mean, to the extent that there
 18· ·was a news day that we missed a story for some
 19· ·reason or something that investors were interested
 20· ·in, that would tend to bias against the finding of
 21· ·market efficiency because it would be biasing
 22· ·upward the chance of observing a stock price
 23· ·movement in the no news sample or the placebo
 24· ·sample.
 25· · · · · · · ·So while it's plausible that the

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 97 of 314 PageID #:
                                    11111
                                                                        Page 97

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·construction of that sample isn't perfect, to the
 ·3· ·extent what you're describing occurred, it would
 ·4· ·bias against my finding.
 ·5· · · · ·Q.· ··Well, I'm not asking about bias.··I'm
 ·6· ·asking about methodology.··In paragraph 36, you
 ·7· ·seem to be saying that there are new means of
 ·8· ·communicating that are important; right?··And
 ·9· ·you've listed them.
 10· · · · · · · ·And if they're important, why aren't
 11· ·they all considered in your analysis when you go
 12· ·about trying to figure out what days are days with
 13· ·no news?
 14· · · · ·A.· ··I think we're talking about -- a little
 15· ·bit, talking about two different things, which is,
 16· ·I'm saying in paragraph 36 there's a multitude of
 17· ·ways by which people could get information about
 18· ·companies, not necessarily that there would be new
 19· ·news.
 20· · · · · · · ·So when I'm referring to the Internet,
 21· ·for example, I'm referring to the fact that you can
 22· ·go to the SEC website or other websites, finance
 23· ·websites, and get information about a company
 24· ·without having to wait or rely on an analyst
 25· ·report.

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 98 of 314 PageID #:
                                    11112
                                                                        Page 98

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·Certainly, when I'm referring to
 ·3· ·24-hour cable news networks, that reflects there
 ·4· ·can sometimes be interviews or news about a company
 ·5· ·that way.··You're right, my methodology doesn't
 ·6· ·search that out unless there was -- unless whatever
 ·7· ·that was was newsworthy enough to generate news
 ·8· ·articles or analyst reports following on that news.
 ·9· · · · · · · ·You know, RSS feeds are generally used
 10· ·to download news, so to the extent there was a
 11· ·meaningful news story published, my method would
 12· ·probably pick that up.··To the extent people are
 13· ·getting information via e-mail from investment
 14· ·advisors, et cetera, that may not relate to new
 15· ·news.
 16· · · · · · · ·So I'm really talking about two
 17· ·different concepts here.··In paragraph 36, I'm
 18· ·talking about how investors access information, not
 19· ·necessarily new news.
 20· · · · ·Q.· ··Well, in fairness, in paragraph 36, you
 21· ·write, "There has been a significant increase in
 22· ·alternative methods by which publicly available
 23· ·information about publicly-traded securities is
 24· ·disseminated to investors," and then you give those
 25· ·examples; correct?

                    REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 99 of 314 PageID #:
                                    11113
                                                                      Page 99

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Yes.··So I'm including in that somebody
 ·3· ·going to the SEC website and downloading
 ·4· ·information about a company.··So information -- in
 ·5· ·that case, information is being disseminated in a
 ·6· ·way that doesn't rely on an analyst report and
 ·7· ·that's a way that is new since 1989, so that's all
 ·8· ·I'm saying, is that people can get information from
 ·9· ·a lot of different sources.
 10· · · · ·Q.· ··In paragraph 37, you write that "The
 11· ·ability to trade online is available almost
 12· ·instantaneously via the Internet for anyone with an
 13· ·online brokerage account."
 14· · · · · · · ·Was that true with respect to the
 15· ·securities at issue in this case?
 16· · · · ·A.· ··I didn't perform any tests of that in
 17· ·this particular case, but I see no reason why it
 18· ·wasn't true for the securities in this particular
 19· ·case that are NYSE-traded securities.
 20· · · · · · · ·I'm familiar with the fact that you can
 21· ·go online and purchase NYSE-traded securities
 22· ·through a brokerage account online and get current
 23· ·bid-ask market prices, et cetera, instantaneously,
 24· ·so I have no reason to think it wasn't.
 25· · · · ·Q.· ··So it's your expectation that if

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 100 of 314 PageID
                                  #: 11114
                                                                     Page 100

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·someone wanted, during the analysis period, to buy
 ·3· ·Miller Energy common stock, they could go into
 ·4· ·their Charles Schwab brokerage account and buy it;
 ·5· ·right?
 ·6· · · · ·A.· ··Yes.
 ·7· · · · ·Q.· ··And the same would be true for the
 ·8· ·Series C and Series D preferred?
 ·9· · · · ·A.· ··I believe that's true.
 10· · · · ·Q.· ··Do you know how the online brokerages
 11· ·fill orders?
 12· · · · ·A.· ··I'm not familiar with all the ways they
 13· ·do it.··In my experience, if you place, at least
 14· ·with the securities I've dealt with, if you place a
 15· ·market order on an online brokerage, it tends to
 16· ·get filled very quickly.
 17· · · · · · · ·I have some understanding that they
 18· ·have some electronic exchanges where things get
 19· ·filled, but whether they also rely on specialists
 20· ·to a certain degree, I just don't know.··I don't
 21· ·know the mechanics of all the things they do.
 22· · · · ·Q.· ··So they could get the shares with some
 23· ·online platform with the New York Stock Exchange or
 24· ·some specialist or from their own inventory or
 25· ·through a third party, you just don't know?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 101 of 314 PageID
                                  #: 11115
                                                                     Page 101

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Yeah, and there's multiple exchanges
 ·3· ·too that you can transact on, so there's a whole
 ·4· ·host of ways that type of order can get filled.
 ·5· ·And I don't know the -- all the underlying
 ·6· ·mechanics for different types of brokerage houses.
 ·7· · · · ·Q.· ··In the middle of paragraph 37 of your
 ·8· ·report, you indicate that there are numerous SEC
 ·9· ·filings available online in the SEC EDGAR database
 10· ·at no cost.··Do you see that?
 11· · · · ·A.· ··Yes.
 12· · · · ·Q.· ··That's the database you were referring
 13· ·to earlier where folks can go on and have access to
 14· ·SEC filings from public companies; right?
 15· · · · ·A.· ··Yes.
 16· · · · ·Q.· ··That was available through the entire
 17· ·analysis period?
 18· · · · ·A.· ··As far as I know, yes, I believe it
 19· ·was.
 20· · · · ·Q.· ··And if the market was efficient, would
 21· ·you expect information filed publicly on the SEC
 22· ·EDGAR database to be rapidly incorporated into the
 23· ·price of the security?
 24· · · · ·A.· ··Generally speaking, yes.··I think you
 25· ·can posit examples where it might not be immediate

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 102 of 314 PageID
                                  #: 11116
                                                                     Page 102

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·or within one day.··For example, if there's some
 ·3· ·key piece of information buried deep in a filing
 ·4· ·that no one really points out until a day or two
 ·5· ·later, there can be some time that evolves, but I
 ·6· ·think generally speaking, things on EDGAR are
 ·7· ·considered publicly available and widely available
 ·8· ·and you would expect the market to react to it
 ·9· ·relatively quickly or rapidly.
 10· · · · ·Q.· ··Can you turn to page 19 of your report,
 11· ·please.··We're going to turn to the Cammer factor
 12· ·number 3 for market makers.··Do you have that?
 13· · · · ·A.· ··Yes.
 14· · · · ·Q.· ··Can you just explain generally how do
 15· ·market makers work?
 16· · · · ·A.· ··Are you asking that specific to on the
 17· ·NYSE or an over-the-counter market or just more
 18· ·generally?
 19· · · · ·Q.· ··We can say NYSE.
 20· · · · ·A.· ··Okay.··I mean, my understanding is that
 21· ·on an NYSE-traded security, there are designated
 22· ·specialists who make markets, meaning that they
 23· ·stand ready to buy or sell the security at a given
 24· ·bid-ask price.··There can also be other market
 25· ·makers that are participating by posting quotes

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 103 of 314 PageID
                                  #: 11117
                                                                     Page 103

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·either on the NYSE or other exchanges throughout
 ·3· ·the country where the security can trade.
 ·4· · · · · · · ·So to me it refers to third parties who
 ·5· ·are essentially making a market by offering quotes
 ·6· ·in the market.
 ·7· · · · ·Q.· ··Do you know who the market makers were
 ·8· ·for Miller Energy's securities?
 ·9· · · · ·A.· ··Not as I sit here, I don't know the
 10· ·particular firms or names of who the market makers
 11· ·were, no.
 12· · · · ·Q.· ··Do you know how many there were?
 13· · · · ·A.· ··I think there's a function within
 14· ·Bloomberg that you can ask how many market makers
 15· ·there were for common stocks, so for the common
 16· ·stock, I believe there were 73 different market
 17· ·makers listed for the class period, for the
 18· ·analysis period.··I cite that in Footnote 41.··And
 19· ·I'm sorry, let me take a step back.
 20· · · · · · · ·The data for that, that's why I had 41
 21· ·is -- the data for that was only available starting
 22· ·January 1st, 2014.··But by -- as I describe
 23· ·throughout this factor, by virtue of trading on the
 24· ·NYSE, there's essentially a guarantee by the
 25· ·exchange that there's a specialist who is serving

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 104 of 314 PageID
                                  #: 11118
                                                                     Page 104

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·as a market maker at all times.
 ·3· · · · ·Q.· ··Aside from the designated market maker
 ·4· ·that every New York Stock Exchange stock has, do
 ·5· ·you know at this point the identity of any other
 ·6· ·market makers for Miller Energy's preferred stock?
 ·7· · · · ·A.· ··No.
 ·8· · · · ·Q.· ··Do you know if there were any market
 ·9· ·makers for Miller Energy's preferred stock?
 10· · · · ·A.· ··I don't know that for certain.··Again,
 11· ·I think it's critical to understand that the Cammer
 12· ·factor, itself, talks about counting market makers
 13· ·as a relevant thing to do in over-the-counter
 14· ·markets without volume reporting.
 15· · · · · · · ·That's certainly not the case for
 16· ·Miller Energy securities.··They did trade on the
 17· ·exchange and I showed, in fact, for one, there was
 18· ·substantial volume so there was a lot of market
 19· ·making activity going on in all three securities.
 20· ·But I don't specifically know the identity or
 21· ·number of market makers for the preferred
 22· ·securities.
 23· · · · · · · ·MR. BALLARD:··Let take a short break.
 24· · · · · · · ·THE VIDEO TECHNICIAN:··We're going off
 25· · · · ·the record.··The time is 11:07 a.m.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 105 of 314 PageID
                                  #: 11119
                                                                     Page 105

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·(Recess taken.)
 ·3· · · · · · · ·THE VIDEO TECHNICIAN:··This begins
 ·4· · · · ·Media Unit No. 2.··The time is 11:20 a.m.
 ·5· · · · ·We're back on the record.
 ·6· · · · ·Q.· ··Mr. Coffman, do you still have Exhibit
 ·7· ·25 in your hands?
 ·8· · · · ·A.· ··I do.
 ·9· · · · ·Q.· ··Turning to page 21, you have a section
 10· ·here on Cammer factor 4, SEC Form S-3 eligibility;
 11· ·right?
 12· · · · ·A.· ··Yes.
 13· · · · ·Q.· ··And toward the end of paragraph 45, you
 14· ·indicate that "Eligibility to file a Form S-3 is
 15· ·confirmatory evidence of efficiency, not a
 16· ·requirement.··Interpreted in this way, the standard
 17· ·makes sense as an indicator of efficiency."
 18· · · · · · · ·What did you mean by that?
 19· · · · ·A.· ··I guess I mean that looking at whether
 20· ·a firm is Form S-3 eligible is a fairly indirect
 21· ·measure and is essentially, based on the logic in
 22· ·the Cammer factor and as I describe here, it's a
 23· ·proxy for the quantity of publicly available
 24· ·information about a company that is outstanding.
 25· · · · · · · ·So again, if a company is not S-3

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 106 of 314 PageID
                                  #: 11120
                                                                     Page 106

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·eligible, that certainly doesn't scream
 ·3· ·inefficiency simply because it's a fairly indirect
 ·4· ·measure, but when they are eligible, again, it's I
 ·5· ·think a confirmatory factor, but certainly not a
 ·6· ·bright line test for efficiency.
 ·7· · · · ·Q.· ··So in your opinion as an economist,
 ·8· ·it's a factor that is at least indirectly relevant
 ·9· ·and so you do look at it to determine whether it
 10· ·supports or doesn't support efficiency?
 11· · · · ·A.· ··I think that's fair, yes.
 12· · · · ·Q.· ··At the beginning of the analysis
 13· ·period, Miller Energy was not eligible to use Form
 14· ·S-3; correct?
 15· · · · ·A.· ··That's my understanding, correct.
 16· · · · ·Q.· ··For how long, at the beginning of the
 17· ·analysis period, was Miller Energy ineligible to
 18· ·use Form S-3?··Do you need some help?
 19· · · · ·A.· ··Give me just a second.··I mean, I don't
 20· ·know for certain off the top of my head what the
 21· ·date was.··I believe it was after they filed their
 22· ·2011 10-K, but I just don't recall specifically.··I
 23· ·don't know what the date of that was or if that was
 24· ·the precise date that they became S-3 eligible.
 25· · · · · · · ·I know for certain they did issue S-3s

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 107 of 314 PageID
                                  #: 11121
                                                                     Page 107

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·during the class period so certainly by the time
 ·3· ·they did that, they were S-3 eligible.
 ·4· · · · ·Q.· ··Maybe I can help you.··You do say in
 ·5· ·paragraph 45 that among the requirements to be
 ·6· ·eligible is the requirement that the company had
 ·7· ·filed all documents in a timely manner for the past
 ·8· ·12 months.
 ·9· · · · ·A.· ··I see that.
 10· · · · ·Q.· ··So does that help you determine how
 11· ·long they were ineligible at the beginning of the
 12· ·proposed class period or the analysis period?
 13· · · · ·A.· ··I haven't determined precisely when
 14· ·they met that requirement.··It was certainly by
 15· ·September 6, 2012, because they filed an S-3 at
 16· ·that time, but precisely which date they became S-3
 17· ·eligible, I don't recall.
 18· · · · ·Q.· ··Was it not important to you for how
 19· ·long they were ineligible?
 20· · · · ·A.· ··Again, given that the essence of this
 21· ·factor is, is there sufficient information
 22· ·available about the company, I mean, I acknowledge
 23· ·in my description that they weren't eligible for
 24· ·certain portions.··So obviously during those
 25· ·portions, I wouldn't point at this factor for those

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 108 of 314 PageID
                                  #: 11122
                                                                     Page 108

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·particular periods as providing independent support
 ·3· ·for efficiency, but certainly during the analysis
 ·4· ·period, for most of it, they were S-3 eligible.
 ·5· · · · ·Q.· ··So would you say that this factor
 ·6· ·supports your finding of efficiency for the
 ·7· ·portions of the analysis period when the company
 ·8· ·was S-3 eligible only?
 ·9· · · · · · · ·It's not a trick question.
 10· · · · ·A.· ··I understand.··I think it would be hard
 11· ·to say, during the periods that it was ineligible,
 12· ·that you would look at this factor independently as
 13· ·providing evidence of efficiency.
 14· · · · · · · ·Over most of the analysis period, it's
 15· ·clear they were eligible and it does provide that
 16· ·support, but when they were ineligible, technically
 17· ·this factor doesn't support that.
 18· · · · ·Q.· ··You can confirm that Miller Energy was
 19· ·ineligible for the first full year of the class
 20· ·period; correct?
 21· · · · ·A.· ··I don't know that I could conclude
 22· ·that, no.
 23· · · · ·Q.· ··In paragraph 45, you indicate that one
 24· ·requirement is that the company had filed all
 25· ·documents in a timely manner for the past 12

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 109 of 314 PageID
                                  #: 11123
                                                                     Page 109

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·months; right?
 ·3· · · · ·A.· ··Yes.
 ·4· · · · ·Q.· ··Do you know what started the class
 ·5· ·period in this case, the proposed class period?
 ·6· ·Are you aware that the class period began with the
 ·7· ·filing of the Form 10-K, the second amended version
 ·8· ·of the Form 10-K?
 ·9· · · · ·A.· ··That does ring a bell now.··I recall
 10· ·there being an earnings announcement.··I wasn't --
 11· ·yes, I believe -- now that I'm thinking about it,
 12· ·yes, that does make sense.
 13· · · · ·Q.· ··So now you can confirm that, in fact,
 14· ·the company was ineligible to use Form S-3 for the
 15· ·first full year of the class period, correct,
 16· ·proposed class period?
 17· · · · ·A.· ··I believe that's probably correct, yes.
 18· · · · · · · ·(Exhibit 26, Second Amended Form 10-K
 19· · · · ·for Miller Energy for the period ending April
 20· · · · ·30, 2011, marked for identification, as of
 21· · · · ·this date.)
 22· · · · · · · ·MR. BALLARD:··Let's mark this also as
 23· · · · ·27.
 24· · · · · · · ·(Exhibit 27, detail printed from the
 25· · · · ·EDGAR website for Second Amended Form 10-K

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 110 of 314 PageID
                                  #: 11124
                                                                     Page 110

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·for Miller Energy for the period ending April
 ·3· · · · ·30, 2011, with filing date of August 29,
 ·4· · · · ·2011, marked for identification, as of this
 ·5· · · · ·date.)
 ·6· · · · ·Q.· ··We've handed you Exhibit 26 and 27.··Do
 ·7· ·you recognize Exhibit 26 as the second amended Form
 ·8· ·10-K for Miller Energy for the period ending April
 ·9· ·30, 2011?
 10· · · · ·A.· ··I certainly recognize it as the 10-K
 11· ·covering the fiscal period April 30, 2011.··Maybe
 12· ·you could help me find the date that this was filed
 13· ·on here.··It looks familiar, but I'd like to
 14· ·confirm.
 15· · · · ·Q.· ··I anticipated you might have that
 16· ·question so we've handed you Exhibit 27, which is
 17· ·the detail printed from the EDGAR website for this
 18· ·filing and if you look at the top left, do you see
 19· ·a filing date of August 29, 2011, accepted in the
 20· ·morning at 7:46 a.m.?
 21· · · · ·A.· ··Yes, that appears to indicate that's
 22· ·when it was filed.
 23· · · · ·Q.· ··So turn, if you will, in Exhibit 26, to
 24· ·the page number 22.
 25· · · · ·A.· ··Okay.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 111 of 314 PageID
                                  #: 11125
                                                                     Page 111

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··At the top of the page, there's a
 ·3· ·heading, "The staff of the SEC has determined that
 ·4· ·certain of our Forms 8-K related to acquisitions
 ·5· ·were made in fiscal year 2010 and our Form 10-K for
 ·6· ·fiscal year 2011 are materially deficient which
 ·7· ·will adversely impact our ability to raise
 ·8· ·additional capital."
 ·9· · · · · · · ·Do you see that?
 10· · · · ·A.· ··I do.
 11· · · · ·Q.· ··If you look three lines down, there's a
 12· ·sentence, "Until such time as we file audited
 13· ·financial statements, the staff has advised us it
 14· ·considers these Forms 8-K to be materially
 15· ·deficient and that it will not waive the financial
 16· ·statement requirements.··As a result, we are unable
 17· ·to utilize Short Form Registration Statement on SEC
 18· ·Form S-3."
 19· · · · · · · ·Do you see that?
 20· · · · ·A.· ··Yes.
 21· · · · ·Q.· ··So this would confirm that at the
 22· ·beginning of the analysis period, the company was
 23· ·not eligible to use Form S-3; correct?
 24· · · · ·A.· ··Yes.
 25· · · · · · · ·MR. BALLARD:··You can set that aside.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 112 of 314 PageID
                                  #: 11126
                                                                     Page 112

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Mark this, please.
 ·3· · · · · · · ·(Exhibit 28, Form 10-K for Miller
 ·4· · · · ·Energy for the period ended April 30, 2012,
 ·5· · · · ·marked for identification, as of this date.)
 ·6· · · · · · · ·(Exhibit 29, detail printed from the
 ·7· · · · ·EDGAR website for Form 10-K for Miller Energy
 ·8· · · · ·for the period ended April 30, 2012, showing
 ·9· · · · ·filing date of July 16, 2012 at 5:17 p.m.,
 10· · · · ·marked for identification, as of this date.)
 11· · · · ·Q.· ··I'm going to hand you what we have now
 12· ·marked as Exhibit 28.··Does this look to be the
 13· ·Form 10-K for Miller Energy for the period ended
 14· ·April 30, 2012?
 15· · · · ·A.· ··Yes.
 16· · · · ·Q.· ··And for the filing date, let me hand
 17· ·you Exhibit 29.··From Exhibit 29 can you determine
 18· ·when Exhibit 28 was filed and accepted by the SEC?
 19· · · · ·A.· ··It appears it was filed on July 16,
 20· ·2012.··It appears to be after market hours on that
 21· ·date.
 22· · · · ·Q.· ··At 5:17 p.m.; right?
 23· · · · ·A.· ··Yes.
 24· · · · ·Q.· ··And is it your understanding that
 25· ·that's when this was filed and available on the

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 113 of 314 PageID
                                  #: 11127
                                                                     Page 113

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·EDGAR system?
 ·3· · · · ·A.· ··That's my general understanding.··I
 ·4· ·don't know all the precise mechanics of when it
 ·5· ·becomes available, but my understanding is that
 ·6· ·that reflects essentially the time it was filed
 ·7· ·with the SEC.
 ·8· · · · ·Q.· ··Can you turn to page 19, please.··The
 ·9· ·page numbers are a little hard to find but 19 is at
 10· ·the top of the page on the left-hand side.··Yours
 11· ·is single-sided and mine is double-sided so it
 12· ·won't --
 13· · · · · · · ·MS. POSNER:··Is it the page that starts
 14· · · · ·in bold "CIE Operations"?
 15· · · · · · · ·MR. BALLARD:··I have a page before that
 16· · · · ·that looks like that.
 17· · · · · · · ·MS. POSNER:··So you want that little --
 18· · · · · · · ·MR. BALLARD:··That's the carryover
 19· · · · ·page.
 20· · · · ·A.· ··I think I've found the beginning of
 21· ·page 19.··There's a bullet point starting "Merge or
 22· ·Consolidate"?
 23· · · · ·Q.· ··I think we are probably in the same
 24· ·place.
 25· · · · ·A.· ··I'm on what I believe is 19.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 114 of 314 PageID
                                  #: 11128
                                                                     Page 114

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··That's it.··Okay.··So page 19, do you
 ·3· ·see a heading, "Our business and stock price could
 ·4· ·be adversely affected"?
 ·5· · · · ·A.· ··Yes.
 ·6· · · · ·Q.· ··It goes on, "if we're not successful in
 ·7· ·enhancing our management systems, accounting,
 ·8· ·controls and reporting performance."··Right?
 ·9· · · · ·A.· ··I see that.
 10· · · · ·Q.· ··Two paragraphs down, there's a
 11· ·statement, "The staff of the SEC has determined
 12· ·that certain of our Forms 8-K related to
 13· ·acquisitions we made in fiscal year 2010 are
 14· ·materially deficient which will adversely impact
 15· ·our ability to raise additional capital."
 16· · · · · · · ·Do you see that?
 17· · · · ·A.· ··I do.
 18· · · · ·Q.· ··And then in the next paragraph, four
 19· ·lines down, there's a statement, "As a result, we
 20· ·are unable to utilize the Short Form Registration
 21· ·Statement on SEC Form S-3."··Do you see that?
 22· · · · ·A.· ··I see that, yes.
 23· · · · ·Q.· ··So does this confirm that as of July
 24· ·16, 2012, Miller Energy was still unable to utilize
 25· ·Form S-3?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 115 of 314 PageID
                                  #: 11129
                                                                     Page 115

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··It seems to indicate that, yes.
 ·3· · · · ·Q.· ··You can set that aside.··Now at some
 ·4· ·point in time Miller Energy regained its ability to
 ·5· ·file on Form S-3; right?
 ·6· · · · ·A.· ··Yes.
 ·7· · · · ·Q.· ··But then at some point, the company
 ·8· ·lost the ability again; right?
 ·9· · · · ·A.· ··I believe that's the case, yes.
 10· · · · ·Q.· ··Do you know when Miller Energy once
 11· ·again lost the ability to use Form S-3?
 12· · · · ·A.· ··I believe at some point late in the
 13· ·analysis period, they disclosed to the market that
 14· ·they couldn't file one of their filings on a timely
 15· ·basis, so my understanding is that probably
 16· ·triggers the ineligibility to file S-3, but I don't
 17· ·recall the specific date as I sit here.··I mean, I
 18· ·can try to look for it in my report.··I don't know
 19· ·if it's there.
 20· · · · ·Q.· ··You're aware that eligibility to file
 21· ·on Form S-3 requires that a company maintain a
 22· ·certain float, right, excluding stockholders who
 23· ·are affiliated?
 24· · · · ·A.· ··That's my general understanding, is
 25· ·there are some requirements for public float or

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 116 of 314 PageID
                                  #: 11130
                                                                     Page 116

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·market cap, yes.
 ·3· · · · ·Q.· ··If the affiliated float drops below $75
 ·4· ·million, the company loses its eligibility;
 ·5· ·correct?
 ·6· · · · ·A.· ··As I sit here, I don't recall the exact
 ·7· ·numbers, but I believe there are those types of
 ·8· ·conditions.
 ·9· · · · ·Q.· ··Do you know when Miller Energy's
 10· ·non-affiliated float dropped below $75 million?
 11· · · · ·A.· ··I mean, I could try to figure that out,
 12· ·but I don't know precisely as I sit here.
 13· · · · ·Q.· ··Do you have a rough estimate of when
 14· ·that occurred, even if you just narrow it down to a
 15· ·year?
 16· · · · ·A.· ··As I sit here right now, I can't
 17· ·because I don't remember if the criteria is
 18· ·specific to just the common stock or includes the
 19· ·non-affiliated float of all their publicly-traded
 20· ·securities.
 21· · · · ·Q.· ··Okay, but as you think about it now,
 22· ·has it become clear to you that at some point
 23· ·Miller Energy became ineligible again to file on
 24· ·Form S-3 because its market cap dropped below the
 25· ·threshold?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 117 of 314 PageID
                                  #: 11131
                                                                     Page 117

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··That is certainly plausible, yes.
 ·3· · · · ·Q.· ··And from that point forward, through
 ·4· ·the end of the analysis period, the company
 ·5· ·remained ineligible to use Form S-3; correct?
 ·6· · · · ·A.· ··I don't know if the prices went back up
 ·7· ·for some period of time where they would have
 ·8· ·become eligible, but certainly at some point that's
 ·9· ·true.
 10· · · · ·Q.· ··Do you know for how much of the
 11· ·analysis period Miller Energy was ineligible?
 12· · · · ·A.· ··I think for the first year, and then
 13· ·for some period towards the end of the analysis
 14· ·period, it was not.··Based on looking at my Exhibit
 15· ·13, I believe they would have been eligible at
 16· ·least, based on the market cap limit, up through
 17· ·sometime during the fourth quarter of 2014.
 18· · · · ·Q.· ··Let me stop --
 19· · · · ·A.· ··But beyond that, I don't know
 20· ·precisely.
 21· · · · ·Q.· ··Now we may have used this 2014 -- when
 22· ·you said fourth quarter 2014, are you talking about
 23· ·through April 30, 2014?
 24· · · · ·A.· ··No.··I'm talking about the calendar
 25· ·quarter of fourth quarter 2014.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 118 of 314 PageID
                                  #: 11132
                                                                     Page 118

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··I just want to be clear because earlier
 ·3· ·we talked about the years and how we're defining
 ·4· ·them.··So in this instance, you're talking about
 ·5· ·fourth quarter of calendar year 2014?
 ·6· · · · ·A.· ··Correct.
 ·7· · · · ·Q.· ··You're looking around October, is that
 ·8· ·correct, when the market cap dropped significantly?
 ·9· · · · ·A.· ··Yeah.··What I'm saying is the market
 10· ·cap is clearly over $100 million, really over $150
 11· ·million, prior to sometime in it appears to be
 12· ·around November 2014.
 13· · · · ·Q.· ··So we've got a chunk at the beginning
 14· ·and a chunk at the end where the company is
 15· ·ineligible.
 16· · · · ·A.· ··That's my understanding, yes.··That's
 17· ·consistent with what I said in my report.
 18· · · · ·Q.· ··Well, in your report, if you look at
 19· ·paragraph 46, the last sentence, you wrote, "Miller
 20· ·Energy meets this Cammer efficiency factor, which
 21· ·supports the conclusion that Miller Energy
 22· ·securities traded in efficient markets"; right?
 23· ·That's what you wrote?
 24· · · · ·A.· ··I think I acknowledged in Footnote 44
 25· ·there were portions of the class period that they

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 119 of 314 PageID
                                  #: 11133
                                                                     Page 119

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·were not eligible to file S-3.
 ·3· · · · ·Q.· ··My quibble is in this sentence you're
 ·4· ·treating it as a binary question, yes or no, it
 ·5· ·either supports or doesn't support efficiency.
 ·6· ·That's what that sentence reads to me.··Is that not
 ·7· ·what you intended?
 ·8· · · · ·A.· ··I think it's fair to say that over a
 ·9· ·substantial portion of the analysis period, they
 10· ·met this Cammer factor and it supports the
 11· ·conclusion that they traded in efficient markets.
 12· · · · · · · ·I agree with you at a technical level
 13· ·over periods where they weren't S-3 eligible, if
 14· ·you were sort of tallying up the factors that
 15· ·support efficiency, I wouldn't necessarily put this
 16· ·factor in that column.
 17· · · · ·Q.· ··So, for example, for the first year of
 18· ·the proposed class period or the analysis period,
 19· ·this factor does not support a finding of
 20· ·efficiency; correct?
 21· · · · ·A.· ··I don't think it provides any evidence
 22· ·of inefficiency, but I would not say that it
 23· ·provides affirmative support of efficiency.
 24· · · · ·Q.· ··So maybe in paragraph 46, we should
 25· ·read this to have a qualifier at the end, during

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 120 of 314 PageID
                                  #: 11134
                                                                     Page 120

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·certain portions of the analysis period; correct?
 ·3· · · · ·A.· ··I think read together with Footnote 44,
 ·4· ·it's clear that I'm saying that this was true over
 ·5· ·a large portion of the class period, analysis
 ·6· ·period, but it's not true during some portions,
 ·7· ·that's correct.
 ·8· · · · ·Q.· ··Let's move on and talk a little bit
 ·9· ·about the preferred stock again.··Do you know if
 10· ·Miller Energy offered any preferred stock using
 11· ·Form S-3?
 12· · · · ·A.· ··As I sit here right now, I don't recall
 13· ·if they used S-3 as support for that offering.
 14· · · · ·Q.· ··Are you aware that there are
 15· ·eligibility requirements for Form S-3 that relate
 16· ·both to the company, the registrant, as well as the
 17· ·security, itself?
 18· · · · · · · ·MS. POSNER:··Objection.
 19· · · · ·Q.· ··So there are market cap requirements
 20· ·for the company and there are market cap
 21· ·requirements for the actual security for purposes
 22· ·of S-3; right?
 23· · · · ·A.· ··As I sit here right now, I don't recall
 24· ·that level of detail.
 25· · · · ·Q.· ··Let's talk about Cammer factor number

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 121 of 314 PageID
                                  #: 11135
                                                                     Page 121

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·5, and you call this price reaction to new
 ·3· ·information; right?
 ·4· · · · ·A.· ··Yes.··I think I also refer to it as
 ·5· ·cause and effect in other places.
 ·6· · · · ·Q.· ··All right.··And in paragraph 47 of your
 ·7· ·report you write "The fifth Cammer Factor relates
 ·8· ·to how the price of the security reacts to new
 ·9· ·company-specific information and states," and then
 10· ·you have a quote here.··That quote is from economic
 11· ·literature; right?
 12· · · · ·A.· ··No.··That's from the Cammer decisions.
 13· · · · ·Q.· ··That's from Cammer.··Okay.··So in 47,
 14· ·you quote Cammer for the proposition that "One of
 15· ·the most convincing ways to demonstrate market
 16· ·efficiency would be to illustrate, over time, a
 17· ·cause and effect relationship between company
 18· ·disclosures and resulting movement in stock price."
 19· · · · · · · ·Did I read that right?
 20· · · · ·A.· ··Yes.
 21· · · · ·Q.· ··Do you agree that this is one of the
 22· ·most convincing ways to demonstrate market
 23· ·efficiency?
 24· · · · ·A.· ··I think it's one of the most direct
 25· ·methods of showing it, so yes.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 122 of 314 PageID
                                  #: 11136
                                                                     Page 122

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··So among all the Cammer factors, this
 ·3· ·is one that is more, as opposed to less, direct?
 ·4· · · · · · · ·MS. POSNER:··Objection.
 ·5· · · · ·A.· ··Yeah.··I would never say it's the only
 ·6· ·factor or that it's determinative by itself, but I
 ·7· ·would say it is one of the most -- it is the most
 ·8· ·direct test, yes.
 ·9· · · · ·Q.· ··In paragraph 48, you refer to something
 10· ·called an event study and then in 49, you talk a
 11· ·little bit about what an event study is; right?
 12· · · · ·A.· ··Yes.
 13· · · · ·Q.· ··And in paragraph 49 you write "An event
 14· ·study is a technique used to measure the effect of
 15· ·new information on the market prices of a company's
 16· ·publicly traded securities."
 17· · · · · · · ·Why new information?
 18· · · · ·A.· ··Because to the extent information that
 19· ·is being reported is not new or unexpected in some
 20· ·way, you wouldn't expect it to change investors'
 21· ·valuation of the company.
 22· · · · ·Q.· ··If it's old information that came out a
 23· ·month ago, it should already be incorporated into
 24· ·the price; right?
 25· · · · ·A.· ··Yes.··You have to be careful sometimes

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 123 of 314 PageID
                                  #: 11137
                                                                     Page 123

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·about context, so just as a hypothetical, a company
 ·3· ·announces that it has a billion dollars in cash,
 ·4· ·and then the next period, based on what had
 ·5· ·transpired, the market would have expected it to
 ·6· ·grow in some substantial way and they come out and
 ·7· ·say again that our cash is a billion dollars.
 ·8· · · · · · · ·Technically, those are the same pieces
 ·9· ·of information but it really does provide new
 10· ·information in terms of context.··You have to be a
 11· ·little careful about how you talk about old
 12· ·information, but generally, if the information
 13· ·isn't really introducing anything new and value
 14· ·relevant to investors you wouldn't expect it to
 15· ·move the stock price.
 16· · · · ·Q.· ··You refer to specifying a model with
 17· ·expected price movements, conditioned on outside
 18· ·market factors, and then you explain in the
 19· ·subsequent paragraphs of your report.··Right?
 20· · · · ·A.· ··I explain that in the section, yes.
 21· · · · ·Q.· ··Can you just explain generally how you
 22· ·go about testing whether there's a deviation from
 23· ·expected price movements and whether it's
 24· ·sufficiently large to exclude randomness.
 25· · · · ·A.· ··Are you talking about an individual day

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 124 of 314 PageID
                                  #: 11138
                                                                     Page 124

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·coming from an event study?
 ·3· · · · ·Q.· ··As a general matter.
 ·4· · · · ·A.· ··Sure.··Well, because there's multiple
 ·5· ·different tests that are relevant in what I'm
 ·6· ·doing, so if you're testing the statistical
 ·7· ·significance of a given day, you estimate what you
 ·8· ·expect the stock price movement to be based on the
 ·9· ·movement of the independent factors you're
 10· ·controlling for.
 11· · · · · · · ·You then observe what you -- what the
 12· ·actual stock price movement was, and then you
 13· ·compare those two to create what is called an
 14· ·abnormal return, which is the unexpected portion of
 15· ·the price movement given the control factors, and
 16· ·then based on the empirical data of how volatile
 17· ·the stock is, those abnormal returns are over the
 18· ·estimation window, you can evaluate whether what
 19· ·you're observing on a given day is sufficiently far
 20· ·from zero that you would not expect to observe that
 21· ·by random forces alone.
 22· · · · · · · ·And then if you observe that it falls
 23· ·outside the 95 percent confidence interval of what
 24· ·you would expect by randomness alone, you draw an
 25· ·inference that the new information that was

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 125 of 314 PageID
                                  #: 11139
                                                                     Page 125

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·revealed caused the price movement.
 ·3· · · · ·Q.· ··The independent factors you controlled
 ·4· ·for here were movements in the S&P 500 and oil
 ·5· ·prices; right?
 ·6· · · · ·A.· ··A measure of oil futures, yes.
 ·7· · · · ·Q.· ··In paragraph 50, you talk about your
 ·8· ·cause and effect analysis and you mention you
 ·9· ·performed an event study, and then you say you
 10· ·evaluated whether Miller Energy's common stock
 11· ·reacted to earnings announcements in a manner
 12· ·significantly different from how the stock moved on
 13· ·days when no Miller Energy-related news came out.
 14· ·Right?
 15· · · · ·A.· ··Right.··So now, just to complete my
 16· ·previous answer, the other statistical test I
 17· ·performed, beyond just looking at statistical
 18· ·significance on individual dates, is whether the
 19· ·results on earnings dates are statistically
 20· ·significantly different than the results on no news
 21· ·dates.··So that's a separate statistical test
 22· ·that's part of the event study methodology I
 23· ·performed.
 24· · · · ·Q.· ··I'm sorry.··What was the first
 25· ·statistical test?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 126 of 314 PageID
                                  #: 11140
                                                                     Page 126

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Testing whether an individual day
 ·3· ·was -- how you determine whether an individual day
 ·4· ·is statistically significant, and then there's a
 ·5· ·separate statistical test of are the news days that
 ·6· ·I'm identifying different than the no news days I'm
 ·7· ·identifying.
 ·8· · · · ·Q.· ··But the first statistical test you
 ·9· ·referred to, testing whether an individual day was
 10· ·statistically significant, that alone doesn't tell
 11· ·you anything about market efficiency, right, in the
 12· ·absence of the second test?
 13· · · · ·A.· ··I don't know that it tells you nothing.
 14· ·I think in the -- certainly in the past, that's how
 15· ·many experts looked at market efficiency, was to
 16· ·identify days where there was news and evaluate
 17· ·whether there was a statistically significant stock
 18· ·price movement and use that as evidence for market
 19· ·efficiency.
 20· · · · · · · ·Certainly when you observe that, it's
 21· ·consistent with market efficiency, so I don't know
 22· ·whether I would say it's no evidence.··I'm saying
 23· ·my methodology is to go beyond that and say let's
 24· ·look at a sample of days with news and days with no
 25· ·news.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 127 of 314 PageID
                                  #: 11141
                                                                     Page 127

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··In this case, as you say, you looked at
 ·3· ·earnings days versus no news days and that was an
 ·4· ·important part of your analysis; right?
 ·5· · · · ·A.· ··Yes, that's an important part of my
 ·6· ·analysis.··I'm just saying the first part isn't
 ·7· ·devoid of information.
 ·8· · · · ·Q.· ··Let me ask you this.··If you hadn't
 ·9· ·done the earnings days versus no news days
 10· ·analysis, and you had none of that available to
 11· ·you, would you have been able to reach a conclusion
 12· ·on cause and effect?
 13· · · · ·A.· ··Possibly.··I mean, I haven't really
 14· ·considered how precisely I would have done that
 15· ·without that type of test, but one could have
 16· ·looked at other days to see if there was market
 17· ·price reaction.··I mean, I'm not saying there
 18· ·aren't alternative ways to look at it, but what
 19· ·you're describing is an important part of what I'm
 20· ·doing.
 21· · · · ·Q.· ··So the way you did it here was to
 22· ·compare earnings days with no news days?
 23· · · · ·A.· ··Yes.
 24· · · · ·Q.· ··There might be another way to do it,
 25· ·but that's how you did it here and that's how you

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 128 of 314 PageID
                                  #: 11142
                                                                     Page 128

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·got to a conclusion; right?
 ·3· · · · ·A.· ··That's the evidence that I'm using to
 ·4· ·support my conclusion, yes.
 ·5· · · · ·Q.· ··So Exhibit 7, for example, on the
 ·6· ·common stock, that contains the essence of your
 ·7· ·analysis on the cause and effect relationship in
 ·8· ·this case for the common stock?
 ·9· · · · ·A.· ··I think it's really Exhibit 7 and --
 10· · · · ·Q.· ··And 8?
 11· · · · ·A.· ··-- and 8, but that's not to say there
 12· ·isn't other relevant evidence you could draw from
 13· ·the event study I performed, but that's the test
 14· ·I'm performing that I'm relying on that supports my
 15· ·conclusion at this time, yes.
 16· · · · ·Q.· ··Exhibit 7 and 8 contain the actual test
 17· ·and analysis you used to draw your conclusion.
 18· ·You're not excluding the possibility that if you
 19· ·looked at something else, you might have found
 20· ·something else to look at, but that's what you used
 21· ·in this case?
 22· · · · ·A.· ··In terms of analyzing cause and effect,
 23· ·yes.
 24· · · · ·Q.· ··On that comparison between earnings
 25· ·announcement days versus no news days, how did you

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 129 of 314 PageID
                                  #: 11143
                                                                     Page 129

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·select or why did you select earnings announcement
 ·3· ·days for that comparison?
 ·4· · · · ·A.· ··Because that's something that there's
 ·5· ·an abundance of academic literature that studies
 ·6· ·how earnings announcements can and often provide
 ·7· ·important firm-specific information relevant to
 ·8· ·investors in valuing stocks, so there's a -- and
 ·9· ·it's an objective set of dates to test.
 10· · · · · · · ·Every company has to issue earnings
 11· ·announcements on a quarterly basis, so it provides
 12· ·a regular objective set of dates to test.
 13· · · · ·Q.· ··Have you ever used any other set of
 14· ·dates, like 10-Ks, or all news dates, or some other
 15· ·measure?
 16· · · · ·A.· ··Well, yeah.··I mean, in this case, for
 17· ·the preferred securities, I look at other types of
 18· ·dates, and there have been other cases where I've
 19· ·looked at certain other types of dates.
 20· · · · · · · ·For example, in certain cases involving
 21· ·biotech companies where the company is really
 22· ·pre-revenue or pre at least significant revenue,
 23· ·and the company is valued much more on how it's
 24· ·proceeding through the clinical trials and the
 25· ·regulatory process, then, you know, the public

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 130 of 314 PageID
                                  #: 11144
                                                                     Page 130

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·statements about their progression through that
 ·3· ·process actually provide a lot more information
 ·4· ·about value than earnings event dates.
 ·5· · · · · · · ·So there are certain times and certain
 ·6· ·cases where I've looked beyond earnings
 ·7· ·announcements.··It's not to suggest earnings
 ·8· ·announcements are the only thing you can look at.
 ·9· ·It just provides an objective set of data that
 10· ·makes sense to look at.
 11· · · · ·Q.· ··Don't companies sometimes give guidance
 12· ·such that analysts can have a pretty good idea of
 13· ·where earnings are going to be before the earnings
 14· ·are announced?
 15· · · · ·A.· ··Well, I think sometimes they provide
 16· ·guidance well ahead of earnings announcements.··So
 17· ·there are a lot of times that companies will have
 18· ·earnings that are consistent with prior
 19· ·expectations and, therefore, the stock price
 20· ·wouldn't necessarily be expected to react
 21· ·significantly, but it's still providing important
 22· ·firm-specific information.
 23· · · · · · · ·And, you know, sometimes they offer
 24· ·pre-announcement, pre-announce earnings, you know,
 25· ·before the official earnings announcements, and

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 131 of 314 PageID
                                  #: 11145
                                                                     Page 131

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·those would be important dates to look at too or
 ·3· ·could be important dates to look at.
 ·4· · · · · · · ·So I'm not saying earnings
 ·5· ·announcements are the only dates you could look at,
 ·6· ·but it provides an objective set of dates where
 ·7· ·there's often firm-specific information being
 ·8· ·provided.
 ·9· · · · ·Q.· ··If you have a stock with a bunch of
 10· ·analysts covering the stock and they have got
 11· ·analyst reports out in the market all the time and
 12· ·they have their models and they're predicting what
 13· ·earnings will be, can't you have a situation where
 14· ·the markets are very well aware of what the
 15· ·expected earnings release will be before it comes
 16· ·out?
 17· · · · ·A.· ··Well, yeah, but just because there are
 18· ·expectations, and you're right, there often are
 19· ·expectations out in the market as to what the
 20· ·earnings will be, that doesn't mean the earnings
 21· ·will necessarily be what those expectations are,
 22· ·nor does it mean that there can't -- even if the
 23· ·earnings are around what was expected for the
 24· ·current quarter, that the company can't provide
 25· ·either updated guidance on other qualitative

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 132 of 314 PageID
                                  #: 11146
                                                                     Page 132

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·information or other information about the company
 ·3· ·that affects the market's perception of the value
 ·4· ·of the company.
 ·5· · · · · · · ·So it's not even just about the
 ·6· ·earnings.··There's lots of information that is
 ·7· ·potentially revealed on earnings announcement
 ·8· ·dates.··And you actually see it fairly often that
 ·9· ·the market isn't surprised by anything in the
 10· ·earnings announcements and, therefore, it doesn't
 11· ·react in a statistically significant way.··That
 12· ·happens all the time.
 13· · · · ·Q.· ··Are you saying that you would expect
 14· ·the markets to be more likely to react on earnings
 15· ·release days than on no news days, even though in
 16· ·many instances there should be no reaction because
 17· ·there's no real new news?
 18· · · · · · · ·MS. POSNER:··Objection.
 19· · · · ·A.· ··Again, I think it would be odd for
 20· ·there to be no real new news.··I mean, even when a
 21· ·company meets expectations, they're providing
 22· ·clearly relevant information on how the company is
 23· ·performing, and they could be providing other
 24· ·information beyond the earnings numbers that is
 25· ·relevant to investors.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 133 of 314 PageID
                                  #: 11147
                                                                     Page 133

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·Again, it doesn't necessarily mean that
 ·3· ·all that information would necessarily cause an
 ·4· ·expected statistically significant stock price
 ·5· ·movement, but certainly much more often than a no
 ·6· ·news day, yes, because it's a day on which the
 ·7· ·company is regularly providing material new
 ·8· ·firm-specific information.
 ·9· · · · ·Q.· ··In paragraph 54, you talk about your
 10· ·regression model for the company stock and you
 11· ·indicate that you used a window of 120 trading
 12· ·days.··Do you see that?
 13· · · · ·A.· ··I do.
 14· · · · ·Q.· ··Can you explain that?
 15· · · · ·A.· ··Sure.··So this is a methodology I often
 16· ·use in this context.··When you're doing a event
 17· ·study, there is some subjectivity in choosing what
 18· ·period over which you're estimating the expected
 19· ·price movements.
 20· · · · · · · ·I cite to some particular literature
 21· ·that suggests for an event, a daily event study,
 22· ·the market model parameters could be estimated over
 23· ·the 120 days prior to the event.··That is
 24· ·essentially a six-month time period, which means
 25· ·you're using data that is fairly close to the event

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 134 of 314 PageID
                                  #: 11148
                                                                     Page 134

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·of interest and not going so far back that the
 ·3· ·circumstances would be expected to change in a --
 ·4· ·as if you were using a five-year period, but at the
 ·5· ·same time gives you enough data to be -- provide a
 ·6· ·powerful sample of data from which to draw a
 ·7· ·conclusion.
 ·8· · · · · · · ·So it's a -- I generally adopted this
 ·9· ·approach consistently across cases where it makes
 10· ·sense.
 11· · · · ·Q.· ··And you came to the conclusion it made
 12· ·sense here?
 13· · · · ·A.· ··For the common stock, it did.··For
 14· ·reasons described later in the preferred section, I
 15· ·don't believe it made sense for the preferred
 16· ·securities, but for the common stock, yes, it did.
 17· · · · ·Q.· ··I want to back up for a second to
 18· ·paragraph 43 where you talk about the oil price
 19· ·index.
 20· · · · ·A.· ··Yes.
 21· · · · ·Q.· ··And then you indicate that you chose
 22· ·that rather than using a group of peer firms, but
 23· ·then there's a footnote where you say you did a
 24· ·sensitivity analysis of some sort to see if it made
 25· ·a difference; right?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 135 of 314 PageID
                                  #: 11149
                                                                     Page 135

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Yes.
 ·3· · · · ·Q.· ··And I think you concluded that it did
 ·4· ·not materially alter the results when you did the
 ·5· ·test to see if you used the peer firms?
 ·6· · · · ·A.· ··Right.··Certainly over -- in terms of
 ·7· ·the overall conclusions, it did not affect
 ·8· ·anything.··Obviously, on any given day, it may have
 ·9· ·affected something to a certain extent, but the
 10· ·overall conclusions of the report were no
 11· ·different.
 12· · · · ·Q.· ··Do you remember any of the details of
 13· ·that analysis?
 14· · · · ·A.· ··I remember looking at it, but I don't
 15· ·remember specific numbers from it.
 16· · · · ·Q.· ··Did you perform like a similar kind of
 17· ·an event study with respect to peers -- what did
 18· ·you perform in that analysis?
 19· · · · ·A.· ··Yeah.··I performed essentially the same
 20· ·analysis that is described here, as I say in
 21· ·Footnote 52, once using the industry index as a
 22· ·replacement for the oil price index and once using
 23· ·the industry index in addition to the oil price
 24· ·index.
 25· · · · ·Q.· ··Did you include any of those analyses

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 136 of 314 PageID
                                  #: 11150
                                                                     Page 136

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·or data or findings in your report or exhibits?
 ·3· · · · ·A.· ··I don't believe I reported the
 ·4· ·specifics of those results in the report, no.
 ·5· · · · ·Q.· ··Do you still have them?
 ·6· · · · ·A.· ··I believe so.
 ·7· ·REQ· · · · ·MR. BALLARD:··Can I have them?
 ·8· · · · · · · ·MS. POSNER:··We're happy to take your
 ·9· · · · ·request under advisement, to the extent it
 10· · · · ·wasn't included in the materials we provided.
 11· ·REQ· · · · ·MR. BALLARD:··It would be good to have
 12· · · · ·it.··It's cited in the report so I would like
 13· · · · ·to have the backup for that.
 14· · · · · · · ·MS. POSNER:··Why don't you make a
 15· · · · ·request and we will take it under advisement.
 16· · · · · · · ·MR. BALLARD:··I just did.
 17· · · · ·Q.· ··In paragraph 55, you indicate that
 18· ·"There is a positive correlation between Miller
 19· ·Energy common stock and the control variables.··In
 20· ·other words, the movement of the market index and
 21· ·oil price index helps explain the price movements
 22· ·in Miller Energy common stock."
 23· · · · ·A.· ··Yes.
 24· · · · ·Q.· ··So the common stock at least was
 25· ·sensitive to changes in the price of oil; is that

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 137 of 314 PageID
                                  #: 11151
                                                                     Page 137

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·right?
 ·3· · · · ·A.· ··That's correct, yes, overall.··I think
 ·4· ·it varied in importance over time, but my
 ·5· ·understanding is the common stock was influenced by
 ·6· ·the price of oil, yes.
 ·7· · · · ·Q.· ··And the preferred stocks were also
 ·8· ·sensitive to the price of oil as well, right,
 ·9· ·particularly toward the end of the period?
 10· · · · ·A.· ··Certainly toward the end of the period.
 11· ·I think early in the period, for reasons described
 12· ·in my report, it was likely not sensitive to oil
 13· ·prices in a -- on a day-by-day basis because when
 14· ·the preferred's were trading as if -- where there
 15· ·weren't huge liquidity concerns about the company,
 16· ·and the value of the preferred's is based primarily
 17· ·on the payment of the dividend, you wouldn't expect
 18· ·that to necessarily be sensitive to the price of
 19· ·oil.
 20· · · · ·Q.· ··Whereas on the common stock, you
 21· ·concluded that there was a consistently positive
 22· ·relationship between the general market of the oil
 23· ·price index and the price of Miller Energy common
 24· ·stock; right?
 25· · · · ·A.· ··Yes.··I think if you look at Exhibit 5,

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 138 of 314 PageID
                                  #: 11152
                                                                     Page 138

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·there was one very tiny portion early in the
 ·3· ·analysis period where the coefficient was negative,
 ·4· ·but generally speaking, over the class period, it
 ·5· ·was positive and it was more sensitive toward the
 ·6· ·end.
 ·7· · · · ·Q.· ··You're talking about Exhibit 5 to your
 ·8· ·report; right?
 ·9· · · · ·A.· ··Correct, yes.
 10· · · · ·Q.· ··And you're just seeing this anomaly
 11· ·where it drops below zero for a short period of
 12· ·time at the beginning?
 13· · · · ·A.· ··Yes.
 14· · · · ·Q.· ··But otherwise, the price of Miller
 15· ·Energy's common stock was very much dependent on
 16· ·the price of oil?
 17· · · · · · · ·MS. POSNER:··Objection.
 18· · · · ·A.· ··I don't know what you mean by "very
 19· ·much," but it makes sense, as a matter of economics
 20· ·and the results I see, that the common stock price
 21· ·would be sensitive to the price of oil.
 22· · · · ·Q.· ··Tell me just generally, what is Exhibit
 23· ·5 intended to show?
 24· · · · ·A.· ··It shows over time the results of the
 25· ·rolling regression model I describe in my report,

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 139 of 314 PageID
                                  #: 11153
                                                                     Page 139

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·what the sensitivity is of the common stock price
 ·3· ·to the independent control that is being used.
 ·4· · · · · · · ·So it shows -- the blue line reflects
 ·5· ·the coefficient for the S&P 500 Total Return index
 ·6· ·and the purple line reflects that for what I'm
 ·7· ·using as the oil price index.
 ·8· · · · ·Q.· ··So why don't you give us an example.
 ·9· ·So if -- what does it mean to say that the
 10· ·coefficient for one of those variables is, say,
 11· ·1.6?
 12· · · · ·A.· ··Sure.··So at that point in time, that
 13· ·is suggesting that over the previous 120 days, the
 14· ·model is telling you that for every 1 percent
 15· ·change in the price of the S&P 500, you would
 16· ·expect a 1.6 percent change in the price of the
 17· ·common stock.
 18· · · · ·Q.· ··And the same applies for the oil index,
 19· ·you're just looking at the other line on here?
 20· · · · ·A.· ··Yes.
 21· · · · ·Q.· ··Thank you.··Earlier you mentioned the
 22· ·95 percent confidence level.··Can you explain what
 23· ·that is?
 24· · · · ·A.· ··Sure.··I mean, generally in the field
 25· ·of statistics, it's if you're performing a

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 140 of 314 PageID
                                  #: 11154
                                                                     Page 140

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·statistical test and have an assumption about the
 ·3· ·distribution of what you're measuring, it's asking
 ·4· ·whether your observed data falls outside the range
 ·5· ·of what you would expect by range of chance with 95
 ·6· ·percent confidence.
 ·7· · · · ·Q.· ··Is the 95 percent confidence level
 ·8· ·routinely used in this type of case?
 ·9· · · · ·A.· ··Yes.··There are other levels that I've
 10· ·seen used both in securities litigation and also in
 11· ·the relevant economic literature, but 95 percent is
 12· ·often used, yes.
 13· · · · ·Q.· ··Is that what you used typically?
 14· · · · ·A.· ··I think it, as a matter of financial
 15· ·economics, makes sense to point out and it's
 16· ·reliable to draw inferences even at the 90 percent
 17· ·level, but I use 95 percent as the threshold that
 18· ·I'm describing in this report.
 19· · · · · · · ·I mean, I show where results are
 20· ·significant at the 90 and 95 percent level, but my
 21· ·opinion is that, you know, my -- the results
 22· ·suggest that there's a cause and effect
 23· ·relationship well above the 95 percent confidence
 24· ·level.
 25· · · · ·Q.· ··So your opinion in this case is based

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 141 of 314 PageID
                                  #: 11155
                                                                     Page 141

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·on the results you show at the 95 percent
 ·3· ·confidence level?
 ·4· · · · ·A.· ··Again, I'm concluding market efficiency
 ·5· ·in part based on cause and effect analyses that
 ·6· ·have statistical significance over 95 percent.··I'm
 ·7· ·not suggesting that if it were over 90 percent,
 ·8· ·that that doesn't provide important scientific
 ·9· ·evidence, but in this particular case, I'm saying
 10· ·that the results are significant at well over the
 11· ·95 percent level.
 12· · · · ·Q.· ··Is the 95 percent confidence level what
 13· ·you typically see in the academic literature?
 14· · · · ·A.· ··I think you see both.··I think when
 15· ·somebody -- I think it's clear when somebody is
 16· ·talking about statistical significance and not
 17· ·specifying a particular level, they're usually
 18· ·referring to a 95 percent level, but if you look at
 19· ·the academic literature in the area of financial
 20· ·economics, there are inferences drawn at the 90
 21· ·percent level all the time.
 22· · · · ·Q.· ··So in paragraph 59, you say you
 23· ·analyzed cause and effect and you examined the
 24· ·price response of Miller Energy common stock to the
 25· ·17 earnings announcements that occurred during the

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 142 of 314 PageID
                                  #: 11156
                                                                     Page 142

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·analysis period, which you describe as an objective
 ·3· ·set of dates.
 ·4· · · · · · · ·Do you see that?
 ·5· · · · ·A.· ··Yes.
 ·6· · · · ·Q.· ··And again, I think you said that this
 ·7· ·was the heart of your analysis at least on the
 ·8· ·cause and effect factor?
 ·9· · · · ·A.· ··For the common stock.
 10· · · · ·Q.· ··For the common stock, yes, and then for
 11· ·the preferred, we would have to look at different
 12· ·exhibits where you did a different analysis?
 13· · · · ·A.· ··Yes.··The selection of the dates was
 14· ·different on the preferred for reasons described in
 15· ·my report as to why the preferred wouldn't
 16· ·necessarily be sensitive to earnings -- the
 17· ·earnings announcements.
 18· · · · · · · ·MS. POSNER:··Just for clarity, you said
 19· · · · ·Exhibit 7 and 8 when you were testifying
 20· · · · ·earlier about this.
 21· · · · · · · ·MR. BALLARD:··Good point, 7 and 8.
 22· · · · ·A.· ··Yeah, and there's also obviously detail
 23· ·in the text and charts in the text related to that.
 24· · · · ·Q.· ··And I understand there's extensive, you
 25· ·know, backup data you've produced with the

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 143 of 314 PageID
                                  #: 11157
                                                                     Page 143

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·underlying data, but I'm just talking about if you
 ·3· ·want to direct someone to the essence of your
 ·4· ·analysis and conclusions with respect to whether
 ·5· ·there's a cause and effect relationship for the
 ·6· ·common stock, Exhibits 7 and 8 are the best places
 ·7· ·to look; right?
 ·8· · · · ·A.· ··I think that provides a fair
 ·9· ·representation or summary of what I -- of the
 10· ·results I obtained and what I'm basing my opinion
 11· ·on, but again, it's discussed in more detail in the
 12· ·text and I provide other graphical ways of
 13· ·depicting that data in the text.
 14· · · · ·Q.· ··In paragraph 60 of your report, you
 15· ·give an example here.··You write, "Considering the
 16· ·fifth earnings release listed in Exhibit 7 as an
 17· ·example, the company announced negative fourth
 18· ·quarter results for the fiscal year 2012 due to
 19· ·high operating loss.··In response, the market price
 20· ·of Miller Energy common stock decreased 7.13
 21· ·percent compared to the predicted return of 1.35
 22· ·percent and had an abnormal return on July 17,
 23· ·2012, of -8.48 percent.··With a t-statistic of
 24· ·-2.54, this abnormal price movement is
 25· ·statistically significant and I therefore have

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 144 of 314 PageID
                                  #: 11158
                                                                     Page 144

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·scientific evidence that Miller Energy common stock
 ·3· ·reacted rapidly to this new information."
 ·4· · · · · · · ·Did I read that correctly?
 ·5· · · · ·A.· ··Yes.
 ·6· · · · ·Q.· ··So in your opinion, is this strong
 ·7· ·evidence that the price of Miller Energy's common
 ·8· ·stock declined in a statistically significant way
 ·9· ·in response to the disclosure of the company's Q4
 10· ·and year-end results for the fiscal year 2012?
 11· · · · ·A.· ··I think that's certainly part of what
 12· ·it was reacting to.··The test would incorporate any
 13· ·firm-specific information that was available
 14· ·included in the filing or any other firm-specific
 15· ·information that was released on that day.
 16· · · · · · · ·So, for example, there could have been
 17· ·qualitative disclosures as well, so I wouldn't read
 18· ·this to be saying that it's specific necessarily to
 19· ·the fourth quarter results as much as the mix of
 20· ·information that was released as part of that
 21· ·earnings announcement.
 22· · · · · · · ·In other words, I'm not disaggregating
 23· ·whether it was the fourth quarter results or some
 24· ·other information as part of that earnings release
 25· ·as part of this analysis.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 145 of 314 PageID
                                  #: 11159
                                                                     Page 145

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··It could have been the year-end
 ·3· ·results, it could have been the fourth quarter
 ·4· ·results, it could have been some commentary
 ·5· ·included in the release, it could have been
 ·6· ·anything, but you are saying it was a statistically
 ·7· ·significant reaction to whatever came out that day;
 ·8· ·right?
 ·9· · · · ·A.· ··Yes.··I don't know that I would
 10· ·distinguish between the full year and the fourth
 11· ·quarter because the full year is just incorporating
 12· ·things that already had been released, but aside
 13· ·from that, yes.
 14· · · · ·Q.· ··So when you're talking about the fourth
 15· ·quarter earnings release, you're really talking
 16· ·about a release that included both the fourth
 17· ·quarter as well as the full year results?
 18· · · · ·A.· ··It included that.··I'm just saying that
 19· ·the results for the first three quarters wouldn't
 20· ·be new news at that point.
 21· · · · ·Q.· ··In Footnote 59 on this page, you
 22· ·indicate "It is not unusual to have occasional
 23· ·earnings announcements that are not statistically
 24· ·significant."
 25· · · · · · · ·What did you mean by that?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 146 of 314 PageID
                                  #: 11160
                                                                     Page 146

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··I think that reflects what I was
 ·3· ·describing in one of my prior answers, which is
 ·4· ·that to the extent the earnings announcement is
 ·5· ·consistent with market expectations or that there's
 ·6· ·a mix of positive and negative information, it's
 ·7· ·not unusual at all to see earnings announcements
 ·8· ·where there is not a statistically significant
 ·9· ·stock price movement because there is not a
 10· ·sufficient change in the mix of value-relevant
 11· ·information in order to generate a significant
 12· ·change in the price.
 13· · · · ·Q.· ··Just to be clear, are you saying it is
 14· ·not unusual to have occasional earnings
 15· ·announcements that are not statistically
 16· ·significant even for a security that trades in an
 17· ·efficient market?
 18· · · · ·A.· ··Yes.
 19· · · · ·Q.· ··What do you mean by occasional in that
 20· ·context?
 21· · · · ·A.· ··I don't -- I wasn't trying to convey
 22· ·any particular quantification there.··In fact, it's
 23· ·probably not a great word to use because it's
 24· ·actually more than occasional.··It happens quite
 25· ·often.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 147 of 314 PageID
                                  #: 11161
                                                                     Page 147

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··The overwhelming majority of Miller
 ·3· ·Energy's earnings releases didn't result in a
 ·4· ·statistically significant reaction; correct?
 ·5· · · · · · · ·MS. POSNER:··Objection.
 ·6· · · · ·A.· ··That's true, yes.··And I see that in a
 ·7· ·number of different cases and I think there are
 ·8· ·specific reasons why that -- in the context of this
 ·9· ·case, why that's not surprising.
 10· · · · ·Q.· ··In this case, 13 of 17 earnings
 11· ·announcements did not result, by your analysis, in
 12· ·a statistically significant change in the price of
 13· ·Miller Energy's common stock; is that right?
 14· · · · ·A.· ··That's correct, and as I just said, I
 15· ·think there's a lot of important reasons why that
 16· ·is not a surprising result even in an efficient
 17· ·market.
 18· · · · ·Q.· ··What are those reasons?
 19· · · · ·A.· ··Number one, as I've explained in prior
 20· ·answers, just theoretically, there's nothing
 21· ·suggesting that all earnings announcements should
 22· ·be statistically significant, especially if the
 23· ·earnings are within the bounds of what was expected
 24· ·or there's a mix of positive and negative
 25· ·information.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 148 of 314 PageID
                                  #: 11162
                                                                     Page 148

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·Second, in this -- for this particular
 ·3· ·company, early in the class period or analysis
 ·4· ·period, the nature of this company is that its
 ·5· ·value, at least perceived market value, is based on
 ·6· ·the amount of oil in the ground that it expects to
 ·7· ·extract, and very early in the analysis period, the
 ·8· ·company is just preparing to extract it and putting
 ·9· ·capital expenditures in place to be able to do
 10· ·that.
 11· · · · · · · ·And so the specific earnings numbers
 12· ·that are given early in the analysis period may not
 13· ·move the needle very much in terms of how people
 14· ·would value an oil company whose primary assets are
 15· ·the oil still in the ground.··And then towards the
 16· ·end of the analysis period, when the stock price is
 17· ·trading at a very low value, even analysts are
 18· ·talking about the stock price is really an
 19· ·indicator of the option value that the company is
 20· ·going to survive.
 21· · · · · · · ·And so immediate short-term earnings
 22· ·are less important than the general liquidity
 23· ·issues that the company was facing and so you
 24· ·wouldn't necessarily expect the stock price to be
 25· ·overly sensitive or highly sensitive to earnings.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 149 of 314 PageID
                                  #: 11163
                                                                     Page 149

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·So there are specific case-specific
 ·3· ·reasons why that result is not all that surprising,
 ·4· ·as well as the initial reason I gave, which is just
 ·5· ·as a theoretical matter, every earnings
 ·6· ·announcement wouldn't be expected to be
 ·7· ·statistically significant.
 ·8· · · · · · · ·The relevant point is, and that is the
 ·9· ·purpose of the analysis, is to say even given those
 10· ·things, is it clear that there's evidence of cause
 11· ·and effect for the earnings announcements relative
 12· ·to the no news dates, and there clearly is.
 13· · · · ·Q.· ··Going back to the broad approach that
 14· ·you're using, you're comparing earnings
 15· ·announcement days with no news days.··And I thought
 16· ·you said the rationale for that is, well, you would
 17· ·typically expect earnings announcements that
 18· ·contain material information might move the price,
 19· ·whereas you would expect the price not to typically
 20· ·move where there's no news.
 21· · · · ·A.· ··Right.··I think "might" is the
 22· ·important word in that sentence.··It's that on
 23· ·earnings announcement days, it's much more likely
 24· ·that firm-specific information is reaching the
 25· ·market that might cause a statistically significant

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 150 of 314 PageID
                                  #: 11164
                                                                     Page 150

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·stock price movement, but it doesn't mean that it
 ·3· ·is always receiving information that would move the
 ·4· ·stock price movement.
 ·5· · · · · · · ·I think generally speaking, there is
 ·6· ·material information released on earnings
 ·7· ·announcement dates, but that information, as some
 ·8· ·of your questions have suggested, might be
 ·9· ·reaffirming for the market what is expected and
 10· ·therefore might not move the stock price.
 11· · · · · · · ·And again, even though in this case we
 12· ·see a substantial proportion of the earnings dates
 13· ·not being significant, we see a much greater than
 14· ·you would expect by randomness alone are
 15· ·statistically significant.
 16· · · · ·Q.· ··14 out of 17 were not statistically
 17· ·significant here, by your analysis.
 18· · · · · · · ·MS. POSNER:··Objection.
 19· · · · ·Q.· ··Right?
 20· · · · ·A.· ··14 of the -- I'm sorry.··13 of the --
 21· · · · ·Q.· ··13 of the 17 were not statistically
 22· ·significant according to your analysis.··It just
 23· ·doesn't sound occasional to me.
 24· · · · ·A.· ··Again, I agree with you that 13 out of
 25· ·17 is a substantial proportion, but that that's not

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 151 of 314 PageID
                                  #: 11165
                                                                     Page 151

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·the relevant -- that's not the relevant statistic
 ·3· ·to focus on when evaluating whether this is
 ·4· ·providing scientific evidence of market efficiency,
 ·5· ·because there are all sorts of reasons you wouldn't
 ·6· ·expect every single earnings announcement to yield
 ·7· ·a statistically significant stock price movement.
 ·8· · · · · · · ·And as I previously testified, my use
 ·9· ·of the word "occasional" doesn't really have a
 10· ·quantitative number attached to it, and I provided
 11· ·a number of case-specific reasons why I'm not
 12· ·surprised at all that a substantial number of the
 13· ·earnings announcements in this case weren't
 14· ·statistically significant.
 15· · · · ·Q.· ··I'd like to direct your attention to
 16· ·paragraph 62 of your report.
 17· · · · ·A.· ··Okay.
 18· · · · ·Q.· ··In paragraph 62 of your report you
 19· ·refer to the 318 days during the analysis period
 20· ·where there was no Miller Energy-related news,
 21· ·analyst reports published or SEC filings issued.
 22· · · · · · · ·So in your analysis, there were 318
 23· ·days where there was no news during the analysis
 24· ·period; right?
 25· · · · ·A.· ··Based on the searches we conducted,

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 152 of 314 PageID
                                  #: 11166
                                                                     Page 152

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·that's correct, yes.
 ·3· · · · ·Q.· ··And that was over how many total days
 ·4· ·in the analysis period?
 ·5· · · · ·A.· ··I can't give you a precise number, but
 ·6· ·eyeballing, if that's just under five years, on
 ·7· ·average, there's about 240 to 250 trading days a
 ·8· ·year, so somewhere over 1,000, maybe 1,100,
 ·9· ·something like that.··I don't know.··It's obviously
 10· ·ascertainable from my backup material but roughly
 11· ·speaking, it's probably in that range.
 12· · · · ·Q.· ··So to find the number, all I have to do
 13· ·is look at the analysis period and figure out how
 14· ·many trading days there were in there?
 15· · · · ·A.· ··Yes.
 16· · · · ·Q.· ··You're not counting Saturdays or
 17· ·Sundays or days when the market is closed?
 18· · · · ·A.· ··Correct.
 19· · · · ·Q.· ··For each of those days when you were
 20· ·determining whether there was a reaction in the
 21· ·price of the common stock, you looked at the next
 22· ·trading day; right?
 23· · · · ·A.· ··Well, or whatever the next trading
 24· ·period would be.··So if the news was issued in the
 25· ·evening after market hours, I would look at the

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 153 of 314 PageID
                                  #: 11167
                                                                     Page 153

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·next day.··If it was during market hours, I would
 ·3· ·look at the same day.
 ·4· · · · ·Q.· ··And if it was before market hours, you
 ·5· ·would look at the same day?
 ·6· · · · ·A.· ··Same day, yes.
 ·7· · · · ·Q.· ··And that's the same methodology you
 ·8· ·used for the earnings announcements when you looked
 ·9· ·at whether they led to a reaction on the stock
 10· ·price?
 11· · · · ·A.· ··Yes.··Well, in this case, there's no
 12· ·news so we're essentially saying there was no news
 13· ·over the period where that day would have been the
 14· ·relevant day to consider.
 15· · · · ·Q.· ··I see.··So if I take, I don't know,
 16· ·take January 5 as a date, for that to be a no news
 17· ·day, there would have to have been no news coming
 18· ·out on January 4th or before the market opened on
 19· ·January 5?
 20· · · · ·A.· ··Well, after the market on January 4th,
 21· ·or January 5 before market or during market hours.
 22· · · · ·Q.· ··Got it.··So in your report, at
 23· ·paragraph 62, you indicate that during the analysis
 24· ·period, you found a statistically significant price
 25· ·reaction at the 95 percent confidence level on

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 154 of 314 PageID
                                  #: 11168
                                                                     Page 154

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·23.53 percent of the earnings announcements
 ·3· ·compared to 4.4 percent of the no news days; right?
 ·4· · · · ·A.· ··That's correct, yes.
 ·5· · · · ·Q.· ··So that's the key comparison for your
 ·6· ·analysis of the common stock; right?
 ·7· · · · · · · ·MS. POSNER:··Objection.
 ·8· · · · ·A.· ··That is one of the key comparisons.··I
 ·9· ·also compare not just the proportion of days that
 10· ·are significant, but also the size of the stock
 11· ·price movements and the volume on those days as
 12· ·well, but for comparing the proportion of
 13· ·statistically significant days, that's the key
 14· ·comparison, yes.
 15· · · · ·Q.· ··And in Footnote 61, you indicate the
 16· ·difference between 23.53 percent and 4.4 percent --
 17· ·let me start over.
 18· · · · · · · ·You indicate in Footnote 61 that the
 19· ·difference between 23.53 percent and 4.4 percent is
 20· ·itself statistically significant at the 95 percent
 21· ·confidence level; right?
 22· · · · ·A.· ··Yes.
 23· · · · ·Q.· ··Can you explain that?
 24· · · · ·A.· ··Sure.··So that's -- so I performed a
 25· ·statistical test asking the question of, if these

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 155 of 314 PageID
                                  #: 11169
                                                                     Page 155

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·two samples really were identical, and then you
 ·3· ·expect -- and that there was no impact of news on
 ·4· ·the stock price, you would expect that proportion
 ·5· ·to be the same.
 ·6· · · · · · · ·And so I'm asking are these proportions
 ·7· ·sufficiently different that you can reject random
 ·8· ·just noise in the data as the cause?··And the
 ·9· ·answer to that is yes, you can reject that random
 10· ·noise as the cause, and so there is scientific
 11· ·evidence that the earnings announcements have a
 12· ·greater propensity than the no news days to have
 13· ·statistically significant stock price reactions.
 14· · · · ·Q.· ··The 23.53 percent is basically 4
 15· ·divided by 17?
 16· · · · ·A.· ··Yes.
 17· · · · ·Q.· ··So if there had been three earnings
 18· ·announcements that led to a statistically
 19· ·significant price movement, that would have been 3
 20· ·divided by 17 or 17.65 percent; right?
 21· · · · · · · ·MS. POSNER:··Objection.
 22· · · · ·A.· ··I would have to use a calculator to get
 23· ·your answer, but it would be 3 divided by 17.
 24· · · · ·Q.· ··And if it was 2 out of 17, you would
 25· ·use the same procedure, it would be 2 divided by 17

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 156 of 314 PageID
                                  #: 11170
                                                                     Page 156

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·and the percent would be 11.76 percent?··That's the
 ·3· ·idea?
 ·4· · · · · · · ·MS. POSNER:··Objection.
 ·5· · · · ·A.· ··That's the idea, yes.
 ·6· · · · ·Q.· ··Of how you calculated it anyway?
 ·7· · · · ·A.· ··That's the idea of how you calculate
 ·8· ·the proportion, itself.··There's more that goes
 ·9· ·into how you statistically compare the difference,
 10· ·but that's how you calculate the proportion, yes.
 11· · · · ·Q.· ··You can't just eyeball it to see if
 12· ·it's statistically significant, you have to
 13· ·actually test it?
 14· · · · ·A.· ··Yes.
 15· · · · ·Q.· ··If I want to go find the days that you
 16· ·have identified as the 318 no news days, where do I
 17· ·go to find that?
 18· · · · ·A.· ··It's in our backup material, in my
 19· ·backup material.
 20· · · · ·Q.· ··I'm going to hand you what we
 21· ·previously marked as Defendant's Exhibit 3 which is
 22· ·a copy of the Second Amended Complaint in this
 23· ·case.··Have you read this?
 24· · · · ·A.· ··Yes.
 25· · · · ·Q.· ··You're aware that this is the current

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 157 of 314 PageID
                                  #: 11171
                                                                     Page 157

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·complaint in this case; right?
 ·3· · · · ·A.· ··That's my understanding, yes.
 ·4· · · · ·Q.· ··Would you turn to page 74.··Do you see
 ·5· ·paragraph 200 on that page?
 ·6· · · · ·A.· ··Yes.
 ·7· · · · ·Q.· ··In paragraph 200, plaintiffs allege
 ·8· ·that "On December 24, 2013, a report entitled
 ·9· ·'Miller Energy:··Digging Itself Into Another Deep
 10· ·Hole' was published by TheStreetSweeper."
 11· · · · · · · ·Do you see that?
 12· · · · ·A.· ··I see that.
 13· · · · ·Q.· ··Was December 24, 2013, a news day or a
 14· ·no news day in your analysis?
 15· · · · ·A.· ··I would have to look at my backup
 16· ·material to determine that.
 17· · · · ·Q.· ··Sitting here today, you don't know?
 18· · · · ·A.· ··I don't know.
 19· · · · ·Q.· ··Do you have anything with you today
 20· ·that would allow you to check that?
 21· · · · ·A.· ··No.
 22· · · · ·Q.· ··You didn't bring a laptop or anything
 23· ·with the date on it?
 24· · · · ·A.· ··No.
 25· · · · ·Q.· ··Should December 24, 2013 have been

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 158 of 314 PageID
                                  #: 11172
                                                                     Page 158

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·treated as a no news day?
 ·3· · · · ·A.· ··I don't know.··It may depend on when
 ·4· ·this particular report was issued to the market.··I
 ·5· ·know December 24th is Christmas Eve.··Some years
 ·6· ·Christmas Eve, I believe, is a non-trading day.
 ·7· ·Sometimes it closes the -- the market closes early
 ·8· ·on that day, so to know for sure, I would have to
 ·9· ·do a more detailed analysis of when this report
 10· ·came out.
 11· · · · ·Q.· ··Look at paragraph 205, please.··There
 12· ·are allegations here about the price of the common
 13· ·stock falling from the period December 23 to the
 14· ·date December 26.··Do you see that?
 15· · · · ·A.· ··I see that.
 16· · · · ·Q.· ··Does that help you determine whether
 17· ·December 24 should be a news or a no news day?
 18· · · · ·A.· ··I don't know because I can't read from
 19· ·this whether December 24 is a trading day or not.
 20· · · · ·Q.· ··If December 24 was a trading day,
 21· ·should it have been treated in your analysis as a
 22· ·news day or a no news day?
 23· · · · ·A.· ··I would have to investigate further if
 24· ·there was a way to tell what the timing of the
 25· ·issuance of that report was.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 159 of 314 PageID
                                  #: 11173
                                                                     Page 159

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··Do you know if -- let me back up.··You
 ·3· ·said that you relied on certain sources to
 ·4· ·determine what days were news days and what days
 ·5· ·were no news days.··I think you said Factiva, SEC
 ·6· ·filings, and something else.
 ·7· · · · ·A.· ··Analysts reports.
 ·8· · · · ·Q.· ··Anything else?
 ·9· · · · ·A.· ··As I sit here, not that I can recall.
 10· ·To be absolutely sure, I would want to look at my
 11· ·backup, but I don't believe so.
 12· · · · ·Q.· ··So if the December 24, 2013 report
 13· ·published by TheStreetSweeper didn't turn up in the
 14· ·Factiva database and didn't turn up in the list of
 15· ·analyst reports and didn't turn up in the SEC
 16· ·filing, your methodology would not have captured it
 17· ·and included that as a news day; correct?
 18· · · · ·A.· ··That's possible.··Whether we took into
 19· ·account this particular report is something that I
 20· ·would have to go back and look at my backup to
 21· ·determine.
 22· · · · ·Q.· ··If you go back and look at your backup
 23· ·and you determine that December 24 was treated as a
 24· ·no news day, would you say that's a mistake?
 25· · · · ·A.· ··Not necessarily.··It would depend on

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 160 of 314 PageID
                                  #: 11174
                                                                     Page 160

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·the timing of when that report was issued.
 ·3· · · · ·Q.· ··If the report came out during the
 ·4· ·business day, would you say it's a mistake?
 ·5· · · · ·A.· ··By business day, do you mean during
 ·6· ·market hours when the market was open?
 ·7· · · · ·Q.· ··Trading day.··Yes.
 ·8· · · · ·A.· ··I mean, it's possible.··Again, given
 ·9· ·that the denominator in my calculations is 318,
 10· ·changing one day wouldn't be expected to change
 11· ·anything material, but, you know, based on
 12· ·additional information, it may be that one day
 13· ·would be better treated as a news day rather than a
 14· ·non-news day.··Without investigating it
 15· ·specifically I just don't know.
 16· · · · ·Q.· ··Well, I'm not really asking about
 17· ·whether changing one day would affect the results.
 18· ·I'm asking about your methodology, and it seems
 19· ·like your methodology took into account certain
 20· ·things like Factiva, but it didn't necessarily take
 21· ·into account things like what the complaint in this
 22· ·case was alleging.
 23· · · · · · · ·MS. POSNER:··Objection.
 24· · · · ·Q.· ··So I'm wondering whether your
 25· ·methodology night need a little bit of refinement.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 161 of 314 PageID
                                  #: 11175
                                                                     Page 161

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Again, determining whether this
 ·3· ·particular report should have been treated as news
 ·4· ·on that particular day is something I would have to
 ·5· ·investigate.
 ·6· · · · ·Q.· ··With a securities fraud case based on
 ·7· ·allegations about stuff being said to the market or
 ·8· ·not being said to the market, I mean, wouldn't the
 ·9· ·complaint be a pretty important thing to consult on
 10· ·what would be a news day versus a no news day?
 11· · · · ·A.· ··I don't normally rely on the complaint
 12· ·as a fact about when certain things were disclosed.
 13· ·I usually verify that myself, so -- but like I
 14· ·said, whether this report was part of what was
 15· ·considered or wasn't considered, I just don't know
 16· ·as I sit here.
 17· · · · ·Q.· ··If you, in your analysis, missed a news
 18· ·day that was identified in the complaint in this
 19· ·case as a news day, what does that say about your
 20· ·methodology?
 21· · · · ·A.· ··I think that suggests possibly that
 22· ·it's not absolutely perfect.··Again, I wouldn't
 23· ·expect something like that to -- an individual day
 24· ·to impact the overall conclusion, and I believe the
 25· ·methodology I've used to identify news days is

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 162 of 314 PageID
                                  #: 11176
                                                                     Page 162

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·generally reliable.
 ·3· · · · · · · ·Also, to the extent a news day was
 ·4· ·treated as a no news day, again, that would tend to
 ·5· ·bias towards -- against finding the conclusion of
 ·6· ·efficiency, because it would include dates in the
 ·7· ·no news that were more likely to have price
 ·8· ·movements.
 ·9· · · · ·Q.· ··You do want the data to be right;
 10· ·right?
 11· · · · ·A.· ··That's absolutely the intent, and I've
 12· ·designed a methodology that I think is generally
 13· ·reliable for classifying news days and no news
 14· ·days.··That methodology, which relies on certain
 15· ·sets of information, may not in every single
 16· ·circumstance be perfect.
 17· · · · · · · ·When you get to a natural breaking
 18· ·point, I wouldn't mind taking a break, but if you
 19· ·have a couple of more questions in this section,
 20· ·I'm happy to continue on.
 21· · · · · · · ·MR. BALLARD:··That's fine.··Take a
 22· · · · ·break now.
 23· · · · · · · ·THE VIDEO TECHNICIAN:··We're going off
 24· · · · ·the record.··The time is 12:40 p.m.
 25· · · · · · · ·(Luncheon recess:··12:40 p.m.)

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 163 of 314 PageID
                                  #: 11177
                                                                     Page 163

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·
 ·3· ·
 ·4· ·
 ·5· ·
 ·6· ·
 ·7· ·
 ·8· ·
 ·9· ·
 10· ·
 11· ·
 12· ·
 13· ·
 14· ·
 15· ·
 16· ·
 17· ·
 18· ·
 19· ·
 20· ·
 21· ·
 22· ·
 23· ·
 24· ·
 25· ·

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 164 of 314 PageID
                                  #: 11178
                                                                     Page 164

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · ·A F T E R N O O N· ·S E S S I O N
 ·3· · · · · · · · · · · · ·1:15 p.m.
 ·4· ·C H A D· ·C O F F M A N, resumed the stand and
 ·5· · · · ·testified further as follows:
 ·6· · · · · · · ·THE VIDEO TECHNICIAN:··This begins
 ·7· · · · ·Media Unit No. 3.··The time is 1:15 p.m.
 ·8· · · · ·We're back on the record.
 ·9· ·BY MR. BALLARD:
 10· · · · ·Q.· ··So Mr. Coffman, we talked a little bit
 11· ·about Cammer factor number 5, the price reaction to
 12· ·new information.··I believe it spans pages 32 to 39
 13· ·of your report.··Is that right?
 14· · · · ·A.· ··Yes, that's correct, and the exhibits
 15· ·that are mentioned.
 16· · · · ·Q.· ··And the exhibits, of course.··So is
 17· ·this a significant portion of your report?··And I
 18· ·think you already testified that it was one of the
 19· ·more direct factors from among the Cammer factors;
 20· ·right?
 21· · · · ·A.· ··Both of those things are true.
 22· · · · ·Q.· ··And now I have a question:··If you were
 23· ·to remove that factor and its analysis entirely
 24· ·from your report, so you had been able to do none
 25· ·of the analysis on that particular factor one way

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 165 of 314 PageID
                                  #: 11179
                                                                     Page 165

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·or the other, if you just removed it and had none
 ·3· ·of that, would you still have an opinion on market
 ·4· ·efficiency in this case?
 ·5· · · · ·A.· ··I don't know.··That's not something I
 ·6· ·really considered.··I mean, there is certainly a
 ·7· ·lot of evidence in support of market efficiency but
 ·8· ·that's not something I specifically considered, and
 ·9· ·frankly, I don't quite understand it, because given
 10· ·that the prices and news were available, I would
 11· ·see no reason to do that.··But that's just not
 12· ·something I considered.
 13· · · · ·Q.· ··Well, let me ask a different question.
 14· ·This is hypothetical.··You're okay with that,
 15· ·right?
 16· · · · ·A.· ··Sure.
 17· · · · ·Q.· ··So here's the hypothetical.··You're
 18· ·able to do an analysis of Cammer factor number 5 on
 19· ·price reaction to new information, but you are
 20· ·unable to find any evidence of a cause and effect
 21· ·relationship.··That's the hypothetical.
 22· · · · · · · ·Would you still have an opinion on
 23· ·market efficiency in this case?
 24· · · · ·A.· ··Possibly.··I just don't know.··That's
 25· ·not something that I had to consider and haven't

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 166 of 314 PageID
                                  #: 11180
                                                                     Page 166

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·considered.··As I said, there are a number of other
 ·3· ·factors that are highly supportive of market
 ·4· ·efficiency.
 ·5· · · · · · · ·It would depend on why I had reached
 ·6· ·that finding, if it were true that there just
 ·7· ·weren't any specific news events that would have
 ·8· ·been expected to move the stock price, you just
 ·9· ·didn't see any stock price movements during the
 10· ·analysis period, not because there was some
 11· ·suggestion of inefficiency but actually because of
 12· ·the facts of the case, so you know, it's hard to
 13· ·deal with that in hypothetical terms.
 14· · · · ·Q.· ··Please turn to Exhibit 7 of your
 15· ·report.
 16· · · · ·A.· ··Okay.
 17· · · · ·Q.· ··What is Exhibit 7 intended to show?
 18· · · · ·A.· ··It summarizes the result of the event
 19· ·study for the 17 earnings announcement dates I
 20· ·tested.
 21· · · · ·Q.· ··For the common stock?
 22· · · · ·A.· ··For the common stock, yes, thank you.
 23· · · · ·Q.· ··You have a number of column headings on
 24· ·this chart.··The first one is number, the second
 25· ·one is date.··That's the date of the event; right?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 167 of 314 PageID
                                  #: 11181
                                                                     Page 167

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··That's correct.
 ·3· · · · ·Q.· ··And then the time of the event is the
 ·4· ·time during the day obviously; right?
 ·5· · · · ·A.· ··Yes.
 ·6· · · · ·Q.· ··Market date is the date -- the trading
 ·7· ·date you looked at; right?
 ·8· · · · ·A.· ··Correct.
 ·9· · · · ·Q.· ··So just by way of example, in the first
 10· ·item, you have a time of 4:22 p.m. after the
 11· ·markets closed, so you looked at the next day as
 12· ·the market date; right?
 13· · · · ·A.· ··That's correct.
 14· · · · ·Q.· ··Whereas, I don't know, look at number
 15· ·6.··The event date is September 10, but it was 8:15
 16· ·in the morning during the trading day, or before
 17· ·the trading day started, and so you looked at that
 18· ·day, September 10, as the market date; right?
 19· · · · ·A.· ··That's correct.
 20· · · · ·Q.· ··So we have your methodology down here.
 21· ·Then you have the event and the headline.··That
 22· ·describes the event you're looking at; right?
 23· · · · ·A.· ··It doesn't really describe the
 24· ·information, the totality of the information
 25· ·provided.··It is just meant as a reference as to

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 168 of 314 PageID
                                  #: 11182
                                                                     Page 168

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·what the main period was and what the name of the
 ·3· ·headline of the press release was.
 ·4· · · · ·Q.· ··I didn't phrase that well.··It
 ·5· ·identifies what the event is.··It doesn't describe
 ·6· ·the content otherwise; right?
 ·7· · · · ·A.· ··Not in any level of detail.
 ·8· · · · ·Q.· ··The closing price would be the closing
 ·9· ·price of the common stock on the market date;
 10· ·right?
 11· · · · ·A.· ··That's correct, yes.
 12· · · · ·Q.· ··What does the raw return column
 13· ·indicate?
 14· · · · ·A.· ··The percentage change in the stock
 15· ·price from the prior trading day.
 16· · · · ·Q.· ··Without controlling for the independent
 17· ·variables?
 18· · · · ·A.· ··Correct.
 19· · · · ·Q.· ··So then the volume is just the volume
 20· ·of trading on that day?
 21· · · · ·A.· ··Yes.
 22· · · · ·Q.· ··What is abnormal return?
 23· · · · ·A.· ··The abnormal return is the return after
 24· ·factoring out the market indices described in my
 25· ·report.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 169 of 314 PageID
                                  #: 11183
                                                                     Page 169

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··The market indices in this case being
 ·3· ·the S&P 500 index and the oil and gas futures
 ·4· ·index?
 ·5· · · · ·A.· ··I don't think it's oil and gas.··It's
 ·6· ·the WTI light sweet crude oil futures.
 ·7· · · · ·Q.· ··Just the oil index?
 ·8· · · · ·A.· ··Yes.
 ·9· · · · ·Q.· ··The next column you have on Exhibit 7
 10· ·of your report is abnormal dollar change.··What is
 11· ·that?
 12· · · · ·A.· ··That's just the percentage return in
 13· ·the prior column converted to a dollar per share
 14· ·figure.
 15· · · · ·Q.· ··What is the t-stat column?
 16· · · · ·A.· ··That reflects the results of the
 17· ·statistical test.··What it measures is the number
 18· ·of standard deviations away from zero the abnormal
 19· ·return is.
 20· · · · ·Q.· ··What is sig level?
 21· · · · ·A.· ··That's just an indicator as to whether
 22· ·the abnormal return that is observed on that date
 23· ·is statistically significant at the 90, 95 or 99
 24· ·percent level.··So if there's one star, it's
 25· ·significant at the 90 percent level.··Two stars is

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 170 of 314 PageID
                                  #: 11184
                                                                     Page 170

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·significant at the 95 percent level, and three
 ·3· ·stars is significant at the 99 percent level.
 ·4· · · · · · · ·I note that Footnote 2 inadvertently
 ·5· ·left off the description of one star as denoting
 ·6· ·the 90 percent level, but that's what it means.
 ·7· · · · ·Q.· ··If there is nothing in the sig level
 ·8· ·column, what does that indicate?
 ·9· · · · ·A.· ··That indicates that it's not
 10· ·significant at the 90 percent or higher level.
 11· · · · ·Q.· ··So going back to the market date again,
 12· ·we've talked a little bit about this, but I want to
 13· ·make sure we have a full understanding of this.
 14· ·You looked at the next trading day after the event
 15· ·in question because you were seeking to determine
 16· ·whether the market reacted rapidly to potentially
 17· ·new information.··Is that right?
 18· · · · ·A.· ··That's correct.··The first -- I think
 19· ·the way I would phrase it is the first trading
 20· ·session after or during which the release of
 21· ·information occurred.
 22· · · · ·Q.· ··So if you find that the market reacted
 23· ·in the first trading day, then you might have
 24· ·evidence of efficiency and that's what you're
 25· ·looking for?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 171 of 314 PageID
                                  #: 11185
                                                                     Page 171

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·MS. POSNER:··Objection.
 ·3· · · · ·A.· ··Well, when you say might have evidence
 ·4· ·of efficiency, I don't think you can -- I'm not
 ·5· ·doing anything to conclude efficiency or not with
 ·6· ·respect to any one individual day.··I'm looking at
 ·7· ·them as a set.
 ·8· · · · ·Q.· ··Let me ask it this way:··If you find
 ·9· ·that the market reacted in a statistically
 10· ·significant way within one day, that might support
 11· ·a conclusion that the market was efficient, whereas
 12· ·if you were to find that the market reacted slowly,
 13· ·say in three days, that might undermine such a
 14· ·conclusion.··Is that fair?
 15· · · · ·A.· ··But that's -- that test isn't being
 16· ·performed here of whether it's one day or three
 17· ·days.
 18· · · · ·Q.· ··Understood.··I'm just trying to get an
 19· ·explanation as to why you chose the one-day window.
 20· · · · ·A.· ··To evaluate whether there was evidence
 21· ·of the stock price reacting rapidly.
 22· · · · ·Q.· ··And you didn't look at whether it took
 23· ·two days for any event to result in a statistically
 24· ·significant price change?
 25· · · · ·A.· ··Not for the purposes of evaluating

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 172 of 314 PageID
                                  #: 11186
                                                                     Page 172

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·cause and effect.··Again, if I were to be asked a
 ·3· ·question about analyzing the price impact of a
 ·4· ·particular event, I might look at different
 ·5· ·particular event window, but for the purposes of
 ·6· ·analyzing cause and effect and rapid price
 ·7· ·movements generally during the analysis period, I
 ·8· ·looked only at one-day windows.··That's correct.
 ·9· · · · ·Q.· ··Could you have looked at a two-day
 10· ·window to see if an event had an effect on the
 11· ·price of the stock?
 12· · · · ·A.· ··That's something you could do.··You
 13· ·could look at two-day windows after each event.
 14· · · · ·Q.· ··But you didn't in this case?
 15· · · · ·A.· ··No.
 16· · · · ·Q.· ··Why not?
 17· · · · ·A.· ··Because for the -- for testing the
 18· ·general proposition of market efficiency, I think a
 19· ·one-day period is more appropriate.
 20· · · · ·Q.· ··So this Exhibit No. 7 to your report
 21· ·indicates that you found a statistically
 22· ·significant price movement in the common stock in
 23· ·reaction to 4 of the 17 earnings releases at the 95
 24· ·percent confidence level?
 25· · · · ·A.· ··At the 95 percent confidential level, I

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 173 of 314 PageID
                                  #: 11187
                                                                     Page 173

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·found 4.··At the 90 percent confidential level, I
 ·3· ·found 6, yes.
 ·4· · · · ·Q.· ··And you're relying on the findings at
 ·5· ·the 95 percent level for your opinion in this case?
 ·6· · · · ·A.· ··That's what I used in Exhibit 8 to
 ·7· ·perform the statistical task.··You could look at
 ·8· ·the 90 percent level as well, but then you would
 ·9· ·want to look at the 90 percent level for the no
 10· ·news days as well, so you just have to be
 11· ·consistent.
 12· · · · · · · ·But in preparing Exhibit 8, I looked at
 13· ·the 95 percent confidence level.
 14· · · · ·Q.· ··So if the Court wants to know what your
 15· ·opinion is based on here, it's based on the 95
 16· ·percent confidential level; right?
 17· · · · ·A.· ··Right.
 18· · · · ·Q.· ··I would like you to look at Footnote 1
 19· ·of Exhibit 7, and here you refer to the rolling
 20· ·regression of the previous 120 trading days.
 21· · · · · · · ·Do you see that?
 22· · · · ·A.· ··Yes.
 23· · · · ·Q.· ··That's what you explained earlier,
 24· ·right?
 25· · · · ·A.· ··I mean, I explained that concept

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 174 of 314 PageID
                                  #: 11188
                                                                     Page 174

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·earlier, yes.
 ·3· · · · ·Q.· ··And here you say the regression model
 ·4· ·controls for a broad market index, the S&P 500, and
 ·5· ·then you refer to the NYMEX WTI light sweet crude
 ·6· ·oil futures index.
 ·7· · · · ·A.· ··Yes.
 ·8· · · · ·Q.· ··And then you have a sentence that says
 ·9· ·"Earnings announcements on the alleged corrective
 10· ·disclosure dates and two other outlier dates have
 11· ·been removed from estimation."
 12· · · · · · · ·Do you see that?
 13· · · · ·A.· ··Yes.
 14· · · · ·Q.· ··Start with the alleged corrective
 15· ·disclosure dates.··What were the corrected
 16· ·disclosure dates and how did you identify them
 17· ·here?
 18· · · · ·A.· ··I identified them using the complaint
 19· ·and what dates were described in the complaint.
 20· · · · ·Q.· ··Do you remember how many there were?
 21· · · · ·A.· ··Not off the top of my head, no.
 22· · · · ·Q.· ··We can find them in your backup?
 23· · · · ·A.· ··Yes.
 24· · · · ·Q.· ··Why did you remove those days?
 25· · · · ·A.· ··Because the purpose of the estimation

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 175 of 314 PageID
                                  #: 11189
                                                                     Page 175

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·procedure is to evaluate the relationship between
 ·3· ·the -- the relationship between the stock and the
 ·4· ·independent variables, and to come up with a
 ·5· ·measure of volatility that is generally in the
 ·6· ·absence of news, and so those days clearly, whether
 ·7· ·they're corrective or not, had firm-specific news
 ·8· ·associated with them or at least allegedly did, so
 ·9· ·those dates were removed from the estimation
 10· ·window.··And just to be clear, they're removed from
 11· ·the estimation window; they're not removed from the
 12· ·dates that are necessarily being considered.
 13· · · · ·Q.· ··Have you evaluated whether there was a
 14· ·statistically significant price movement on any of
 15· ·the corrective disclosure dates?
 16· · · · ·A.· ··Well, I think from our backup you could
 17· ·determine that.··I don't think I make specific
 18· ·reference to it in the reports except to the extent
 19· ·any of the earnings announcements are corrective
 20· ·disclosure dates, or for the Series C and D
 21· ·preferred, I think some of the dates I analyzed are
 22· ·coincident with alleged corrective disclosures.
 23· · · · · · · ·But I didn't make an effort to
 24· ·enumerate in the report, because it's not relevant
 25· ·to my opinions, whether the corrective disclosures

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 176 of 314 PageID
                                  #: 11190
                                                                     Page 176

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·were statistically significant or not.
 ·3· · · · ·Q.· ··Have you expressed an opinion in your
 ·4· ·report about whether there was a statistically
 ·5· ·significant price movement on any of the corrective
 ·6· ·disclosure dates?
 ·7· · · · ·A.· ··Again, I think based on the model I've
 ·8· ·run, one can look up in our -- in my backup
 ·9· ·material whether or not the event study I've
 10· ·performed suggests whether a one-day price movement
 11· ·is statistically significant on those days.
 12· · · · · · · ·MR. BALLARD:··You didn't answer my
 13· · · · ·question.··I'll have it read back.
 14· · · · · · · ·THE WITNESS:··Okay.
 15· · · · · · · ·(Record read.)
 16· · · · ·A.· ··I think I answered that.··I said
 17· ·that -- I mean, to be I guess more direct, I
 18· ·haven't, in the text of my report, offered an
 19· ·opinion about the statistical significance of the
 20· ·corrective disclosure dates, but by virtue of
 21· ·having run a daily event study from my materials,
 22· ·one can see whether a one-day price return around
 23· ·the times of the corrective disclosures is or is
 24· ·not significant.
 25· · · · · · · ·So one can see that from my backup

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 177 of 314 PageID
                                  #: 11191
                                                                     Page 177

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·material, but I'm not expressing any opinion about
 ·3· ·whether the corrective information is either, A,
 ·4· ·corrective or, B, whether that's the particular
 ·5· ·information that was moving the price on that day.
 ·6· · · · · · · ·But I do provide information in my
 ·7· ·materials that answers the question of whether
 ·8· ·there are statistically significant movements on
 ·9· ·individual days that plaintiffs are alleging are
 10· ·corrective.
 11· · · · ·Q.· ··So my question was a pretty
 12· ·straightforward yes or no question, and with all
 13· ·due respect, that was a lot of words you just
 14· ·spoke.··To be clear, the Federal Rules, I'm sure
 15· ·you are aware, require that your report contain a
 16· ·complete statement of all opinions you will express
 17· ·in this case.
 18· · · · · · · ·You're aware of that; right?
 19· · · · ·A.· ··Yes.
 20· · · · ·Q.· ··Does your report contain an opinion on
 21· ·whether there was a statistically significant price
 22· ·movement on any of the corrective disclosure dates
 23· ·in this case?
 24· · · · · · · ·MS. POSNER:··Objection.
 25· · · · ·Q.· ··Yes or no?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 178 of 314 PageID
                                  #: 11192
                                                                     Page 178

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·MS. POSNER:··Objection.··You can
 ·3· · · · ·answer.
 ·4· · · · ·A.· ··I was not asked to form an opinion
 ·5· ·about that question in the preparation of my
 ·6· ·report, but as part of doing -- you know, my report
 ·7· ·lays out my opinions on the questions I was asked,
 ·8· ·and as part of that, it also provides all the data
 ·9· ·and bases, and I provided backup material that
 10· ·supports those opinions, and I'm saying if you --
 11· ·if you were to look at my backup material, there is
 12· ·information there that would allow one to answer
 13· ·that question.
 14· · · · · · · ·So I have not expressed in the text of
 15· ·the report an opinion about the statistical
 16· ·significance of the price reaction to any
 17· ·individual corrective disclosure, but one could
 18· ·read from my material whether there was or was not
 19· ·in the model I've run.
 20· · · · ·Q.· ··Well, do you have opinions that you
 21· ·formulated in this case that you've chosen to keep
 22· ·out of your report that are in your backup that you
 23· ·expect to express at some later date?
 24· · · · · · · ·MS. POSNER:··Objection.
 25· · · · · · · ·MR. BALLARD:··I just want to know if

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 179 of 314 PageID
                                  #: 11193
                                                                     Page 179

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·we're being sandbagged with opinions that are
 ·3· · · · ·out there that are buried in the backup but
 ·4· · · · ·haven't been put in the report.
 ·5· · · · · · · ·MS. POSNER:··I don't think he's saying
 ·6· · · · ·that.··I think all he's saying is that there
 ·7· · · · ·is information in his backup that can lead
 ·8· · · · ·one to answer the question you asked.··He
 ·9· · · · ·said very clearly he's not giving an opinion
 10· · · · ·as to damages or the statistical significance
 11· · · · ·of the corrective disclosures in his report.
 12· · · · ·Is that accurate?
 13· · · · · · · ·THE WITNESS:··The purpose of my report
 14· · · · ·is to offer the opinions that are summarized
 15· · · · ·in paragraph 7 of my report.
 16· · · · · · · ·MR. BALLARD:··At least you can't get a
 17· · · · ·yes or no answer either.
 18· · · · ·A.· ··I mean, hypothetically, if you said
 19· ·there's an alleged corrective disclosure on X date,
 20· ·and then you asked me do I have the opinion that
 21· ·there was a statistically significant stock price
 22· ·movement on that date or on the date after,
 23· ·depending on the timing of the announcement, I've
 24· ·done sufficient work and there's material in my
 25· ·backup that I could answer that question yes or no.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 180 of 314 PageID
                                  #: 11194
                                                                     Page 180

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·I'm not being asked to offer an expert
 ·3· ·opinion about what relevance that may or may not
 ·4· ·have for the case or what it says about damages or
 ·5· ·loss causation or anything of that sort, but if
 ·6· ·you're asking could I give an opinion about whether
 ·7· ·a certain date is statistically significant under
 ·8· ·my current model of the stock price movements on
 ·9· ·any given day, I could answer that question.
 10· · · · · · · ·And I'm relying on that information to
 11· ·draw scientific conclusions so I think the material
 12· ·is there and speaks for itself.··So I think I would
 13· ·be misleading to just say no.
 14· · · · ·Q.· ··In Footnote 1 of your Exhibit 7, in the
 15· ·sentence we looked at a while ago, you refer to two
 16· ·outlier dates.
 17· · · · ·A.· ··Yes.
 18· · · · ·Q.· ··What was the first outlier date?··Isn't
 19· ·it listed there?
 20· · · · ·A.· ··It is, yes.··I'm sorry, I was just
 21· ·looking at something else.··It's the August 29th,
 22· ·2011 filing of the 10-K.
 23· · · · ·Q.· ··And you indicated that you excluded
 24· ·that date as an outlier.··Why did you exclude that
 25· ·date?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 181 of 314 PageID
                                  #: 11195
                                                                     Page 181

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Because there was obvious firm-specific
 ·3· ·information and associated large stock price
 ·4· ·movement on that date.
 ·5· · · · ·Q.· ··You indicated that on that date or it
 ·6· ·appears to indicate that on or around that date,
 ·7· ·there was a market reaction to Miller Energy
 ·8· ·correcting a misstatement in a 10-K filing after a
 ·9· ·review performed by an audit committee.
 10· · · · · · · ·What do you know about that?
 11· · · · ·A.· ··I just recall there being a revised
 12· ·10-K being issued and that as part of it, it was
 13· ·correcting a mistake after a review by the audit
 14· ·committee.
 15· · · · ·Q.· ··So which day -- was it August 29 that
 16· ·was excluded or August 30 or what?
 17· · · · ·A.· ··I believe it was August 29.
 18· · · · ·Q.· ··And the other outlier date you list is
 19· ·July 14, 2015; is that right?
 20· · · · ·A.· ··It's July 15th, 2015, because there
 21· ·appeared to be large continued volatility after the
 22· ·going concern warning that was released on the
 23· ·14th.
 24· · · · ·Q.· ··I see, and that warning came out on the
 25· ·14th after trading hours?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 182 of 314 PageID
                                  #: 11196
                                                                     Page 182

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Yes, I believe that's right, but
 ·3· ·that's -- oh, I'm sorry.··Actually, I'm not certain
 ·4· ·about that.··It may be that I excluded the -- what
 ·5· ·is causing me confusion is the use of the words
 ·6· ·"continued volatility," so I don't know if
 ·7· ·that's -- I would have to review the details of
 ·8· ·that, but there was a -- July 15th was the day
 ·9· ·excluded.
 10· · · · ·Q.· ··I think you've already explained
 11· ·Footnote 2 and that we're to read that to include
 12· ·also that one asterisk would denote significance at
 13· ·a 90 percent level; right?
 14· · · · ·A.· ··Yes.··That was a typo of some kind to
 15· ·exclude that.
 16· · · · ·Q.· ··In this instance on this chart anyway,
 17· ·Exhibit 7, there were no instances where you found
 18· ·statistical significance at the 99 percent
 19· ·confidence level; correct?
 20· · · · ·A.· ··That's correct.
 21· · · · ·Q.· ··So I want to focus for a minute on the
 22· ·first event on your Exhibit 7.
 23· · · · ·A.· ··Okay.
 24· · · · ·Q.· ··So this relates to the Q4 2011 and
 25· ·year-end results for the fiscal year ended April

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 183 of 314 PageID
                                  #: 11197
                                                                     Page 183

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·30, 2011; right?
 ·3· · · · ·A.· ··That's my understanding, yes.
 ·4· · · · ·Q.· ··And you were evaluating whether the
 ·5· ·market reacted quickly to this new information; is
 ·6· ·that right?
 ·7· · · · ·A.· ··I was evaluating whether there was an
 ·8· ·abnormal return -- what the abnormal return was on
 ·9· ·that date and whether it was statistically
 10· ·significant, and I also analyzed what the volume
 11· ·was on that date and the magnitude of the abnormal
 12· ·stock price movement.··All those things entered my
 13· ·analysis.
 14· · · · ·Q.· ··The new information that you were
 15· ·evaluating was the Q4 and year-end results for the
 16· ·fiscal year ended April --
 17· · · · ·A.· ··That's the reason the date was chosen.
 18· ·That's not to say there couldn't have been other
 19· ·information as well that day, but that's the reason
 20· ·the date was chosen.
 21· · · · ·Q.· ··The earnings release came out at 4:22
 22· ·p.m. on August 30, 2011; is that right?
 23· · · · ·A.· ··Yes.
 24· · · · ·Q.· ··So the concept is new information came
 25· ·out, as you said earlier, after the market closed

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 184 of 314 PageID
                                  #: 11198
                                                                     Page 184

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·on August 30, and so you looked to see if there was
 ·3· ·a statistically significant price movement on the
 ·4· ·next trading day, August 31; is that right?
 ·5· · · · ·A.· ··Yes.··And like I said, I analyzed other
 ·6· ·things as well, but that's one of the things I
 ·7· ·analyzed.
 ·8· · · · ·Q.· ··Did you find that there was a
 ·9· ·statistically significant price movement in
 10· ·response to the Q4 and year-end results for the
 11· ·year ended April 30, 2011?
 12· · · · ·A.· ··No.
 13· · · · ·Q.· ··There was, in fact, no statistically
 14· ·significant price movement; correct?
 15· · · · ·A.· ··That's correct.
 16· · · · ·Q.· ··Let's look at event number 5.
 17· · · · ·A.· ··Okay.
 18· · · · ·Q.· ··In this instance, you were looking at
 19· ·an event that was the Q4 and year-end results for
 20· ·the period ending April 30, 2012.··Is that right?
 21· · · · ·A.· ··Yes.
 22· · · · ·Q.· ··And again, you were looking to see if
 23· ·there was a reaction in terms of price or volume or
 24· ·whatever to the new information; correct?
 25· · · · ·A.· ··That's correct.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 185 of 314 PageID
                                  #: 11199
                                                                     Page 185

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··That earnings release came out at 6:30
 ·3· ·p.m. on July 16, 2012, and so you looked at the
 ·4· ·market date of July 17, 2012; right?
 ·5· · · · ·A.· ··Yes.
 ·6· · · · ·Q.· ··Did you find that there was a
 ·7· ·statistically significant price reaction at the 95
 ·8· ·percent confidence level in response to the Q4 and
 ·9· ·year-end results for the year-ended April 30, 2012?
 10· · · · ·A.· ··Yes.
 11· · · · ·Q.· ··And that was a statistically
 12· ·significant decline in value, not an increase;
 13· ·correct?
 14· · · · ·A.· ··Correct.
 15· · · · ·Q.· ··Would you explain the abnormal return
 16· ·figure you have here of -8.48 percent?
 17· · · · ·A.· ··Sure.··That's the percentage change in
 18· ·the stock price after factoring out market and --
 19· ·the effects of the market index and the oil index.
 20· · · · ·Q.· ··So the price of the common stock went
 21· ·down by some amount and you're trying to isolate
 22· ·the amount that was abnormal; is that right?
 23· · · · ·A.· ··Abnormal in the sense that it is
 24· ·attributable to firm-specific information because
 25· ·the idea of the controls is to remove the effects

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 186 of 314 PageID
                                  #: 11200
                                                                     Page 186

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·of market-wide or industry effects, so the idea is
 ·3· ·to get a measure of what -- the best estimate of
 ·4· ·what the firm-specific price movement was.
 ·5· · · · ·Q.· ··What does the abnormal dollar change of
 ·6· ·-37 cents mean?
 ·7· · · · ·A.· ··That means that after taking account of
 ·8· ·the control factors, the stock price fell 37 cents
 ·9· ·per share.
 10· · · · ·Q.· ··So the negative numbers here signify
 11· ·that the price of the common stock moved down, not
 12· ·up, in a statistically significant way in response
 13· ·to the disclosure of the year-end and fourth
 14· ·quarter results for the period ended April 30,
 15· ·2012; is that right?
 16· · · · ·A.· ··Or other information released on that
 17· ·same day, yes.
 18· · · · ·Q.· ··Okay.··Let's turn to event 13, please.
 19· ·Event 13 relates to the Q4 and year-end results for
 20· ·the period ended April 30, 2014; correct?
 21· · · · ·A.· ··That's my understanding, yes.
 22· · · · ·Q.· ··And the new information -- I'm sorry.
 23· ·Strike that.··The earnings release that you're
 24· ·examining here came out on July 14, 2014, at 5:33
 25· ·p.m.; right?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 187 of 314 PageID
                                  #: 11201
                                                                     Page 187

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··That's correct.
 ·3· · · · ·Q.· ··So again, after the market is closed,
 ·4· ·so your market date is the next day, July 15, 2014;
 ·5· ·right?
 ·6· · · · ·A.· ··That's correct, yes.
 ·7· · · · ·Q.· ··And again, the concept is new
 ·8· ·information came out after the market closed on the
 ·9· ·14th, so you looked to see if there were
 10· ·significant changes in price or volume on the next
 11· ·trading day, July 15; right?
 12· · · · ·A.· ··Well, looked at significant changes in
 13· ·the price and the price level and the volume, not
 14· ·necessarily a significant change in the volume is
 15· ·the way you phrased it.··That's really not what
 16· ·we're looking for.
 17· · · · ·Q.· ··So you're looking at the volume, but
 18· ·you're not looking for whether it's statistically
 19· ·significant, the change from the prior day?
 20· · · · ·A.· ··Correct.
 21· · · · ·Q.· ··For event number 13, you found that
 22· ·there was a price movement that was significant
 23· ·only at the 90 percent confidence level, though;
 24· ·right?
 25· · · · ·A.· ··Yes.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 188 of 314 PageID
                                  #: 11202
                                                                     Page 188

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··That's for the Q4 and year-end results
 ·3· ·the year ended April 30, 2014; right?
 ·4· · · · ·A.· ··Or other information released on that
 ·5· ·day, yes.
 ·6· · · · ·Q.· ··That was a decline in value, not an
 ·7· ·increase, right?
 ·8· · · · ·A.· ··Yes.
 ·9· · · · ·Q.· ··Could you explain the abnormal return
 10· ·of -5.9 percent for event number 13?
 11· · · · ·A.· ··Sure.··The -5.9 percent reflects that
 12· ·the stock price declined 5.9 percent after
 13· ·factoring out market and oil-related price
 14· ·movements.
 15· · · · ·Q.· ··Can you explain the abnormal dollar
 16· ·change of -34 cents for event number 13?
 17· · · · ·A.· ··Yes.··That indicates that after
 18· ·factoring out market and industry effects, that the
 19· ·stock price fell by 34 cents a share.
 20· · · · ·Q.· ··So again, the negative numbers here
 21· ·signify that the price of the common stock moved
 22· ·down, not up, in a statistically significant way in
 23· ·response to a the disclosure of the year-end
 24· ·results for the year ended April 30, 2014; correct?
 25· · · · ·A.· ··Significant at the 90 percent level,

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 189 of 314 PageID
                                  #: 11203
                                                                     Page 189

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·yes.
 ·3· · · · ·Q.· ··Let's go back to event number 9.··For
 ·4· ·event number 9, the new information you were
 ·5· ·evaluating was -- for event number 9, the new
 ·6· ·information you were evaluating was the Q4 and
 ·7· ·year-end results for the period ended April 30,
 ·8· ·2013; is that correct?
 ·9· · · · ·A.· ··Yes, or that's why I chose -- the
 10· ·release of that news is why I chose that day, but
 11· ·there could have been other information in addition
 12· ·to that as well.
 13· · · · ·Q.· ··And you were attempting to evaluate
 14· ·whether the market reacted quickly to whatever
 15· ·information came out that day; is that right?
 16· · · · ·A.· ··Well, I'm attempting to evaluate the
 17· ·degree to which the market moved within one day.
 18· ·That test alone doesn't tell you whether it
 19· ·reacted -- you can't draw a conclusion about
 20· ·whether the market reacted -- well, the purpose of
 21· ·testing that date isn't just to look at whether it
 22· ·reacted quickly on just that date.
 23· · · · · · · ·It's to evaluate what the event tells
 24· ·us about how the stock price moved within one
 25· ·trading day, and to use that then to help evaluate

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 190 of 314 PageID
                                  #: 11204
                                                                     Page 190

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·whether the stock price reacted quickly to earnings
 ·3· ·announcements more than it reacted to no news days.
 ·4· · · · ·Q.· ··Well, the point of looking at a one-day
 ·5· ·window is to determine whether the prices are
 ·6· ·reacting quickly to news; right?
 ·7· · · · ·A.· ··Generally, yes.··Yes.
 ·8· · · · ·Q.· ··It wouldn't work if you picked a
 ·9· ·five-day window; right?
 10· · · · ·A.· ··You would be looking at something
 11· ·different if you were looking at a five-day window.
 12· ·I guess what I'm saying is that I'm not using any
 13· ·individual date to draw a conclusion about whether
 14· ·the market reacts quickly in a general sense.
 15· · · · · · · ·I'm looking at it to measure the
 16· ·abnormal return and whether or not that date was
 17· ·statistically significant and the level of volume
 18· ·that occurred.
 19· · · · ·Q.· ··So for this event, event number 9, you
 20· ·had a date of July 16, 2013, at 10:22 p.m., so you
 21· ·looked at a market date of July 17, 2013; right?
 22· · · · ·A.· ··That's correct.
 23· · · · ·Q.· ··Because the 10:22 p.m. was after
 24· ·trading hours on the 16th; right?
 25· · · · ·A.· ··Correct.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 191 of 314 PageID
                                  #: 11205
                                                                     Page 191

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··And did you find that there was a
 ·3· ·statistically significant price movement at the 95
 ·4· ·percent confidence level on July 17, 2013 in
 ·5· ·response to the Q4 and year-end results for the
 ·6· ·year ended April 30, 2014?
 ·7· · · · ·A.· ··I found a statistically significant
 ·8· ·result that day, yes.··I haven't isolated whether
 ·9· ·it was due to that particular news or there could
 10· ·have been other news on that date, but I chose that
 11· ·date because of the earnings announcement, yes.
 12· · · · ·Q.· ··We have now looked at four events on
 13· ·Exhibit 7.··Each of them was a fourth quarter and
 14· ·year-end announcement, right, 1, 5, 9 and 13?
 15· · · · ·A.· ··Yes.
 16· · · · ·Q.· ··Those were earnings releases for the
 17· ·four years ended April 30, 2011, 2012, 2013 and
 18· ·2014; right?
 19· · · · ·A.· ··Yes.
 20· · · · ·Q.· ··And the earnings release for 2013 is
 21· ·the only one where you found a statistically
 22· ·significant increase in the price of the common
 23· ·stock; is that correct?
 24· · · · ·A.· ··Yes.
 25· · · · ·Q.· ··I'm going to hand you what we

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 192 of 314 PageID
                                  #: 11206
                                                                     Page 192

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·previously marked as Exhibit 14 in this case.··Do
 ·3· ·you know what Exhibit 14 is?
 ·4· · · · ·A.· ··It appears to be the 10-K for the
 ·5· ·period ended April 30, 2013.
 ·6· · · · ·Q.· ··This would be the annual results
 ·7· ·contained -- the annual report on Form 10-K
 ·8· ·containing the results for the year ended April 30,
 ·9· ·2013; right?
 10· · · · ·A.· ··Yes.
 11· · · · ·Q.· ··When was this filed?
 12· · · · ·A.· ··I don't know that I can tell from this
 13· ·document precisely when it was filed.
 14· · · · · · · ·MR. BALLARD:··Mark this, please.
 15· · · · · · · ·(Exhibit 30, document indicating filing
 16· · · · ·date of July 15, 2013, 5:18 p.m., for April
 17· · · · ·30, 2013 Form 10-K, marked for
 18· · · · ·identification, as of this date.)
 19· · · · ·Q.· ··I'm going to hand you what we just
 20· ·marked as Exhibit 30 in this case.··From Exhibit
 21· ·30, can you determine when the Form 10-K for the
 22· ·period ended April 30, 2013, was filed?
 23· · · · ·A.· ··It appears to be July 15, 2013.
 24· · · · ·Q.· ··At what time?
 25· · · · ·A.· ··This suggests 5:18 p.m.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 193 of 314 PageID
                                  #: 11207
                                                                     Page 193

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··The Form 10-K for the year ended April
 ·3· ·30, 2013, which was filed on July 15, 2013, at 5:17
 ·4· ·p.m., contained the year-end results and quarter
 ·5· ·results for the period ended April 30, 2013;
 ·6· ·correct?
 ·7· · · · ·A.· ··I believe that's accurate, yes.
 ·8· · · · ·Q.· ··The earnings release you cite in your
 ·9· ·Exhibit 7, at event number 9, was dated July 16,
 10· ·2013, after hours, but the information had already
 11· ·been publicly disclosed on July 15th after hours;
 12· ·correct?
 13· · · · ·A.· ··That's what this would seem to suggest,
 14· ·yes.
 15· · · · ·Q.· ··So for event number 9 on your Exhibit
 16· ·7, you should have looked at July 16, 2013 as the
 17· ·market date; correct?
 18· · · · ·A.· ··I guess that's possible.··I would need
 19· ·to know whether 7/16 was a trading date.
 20· · · · ·Q.· ··That would be in your backup; right?
 21· · · · ·A.· ··Yes.
 22· · · · ·Q.· ··So if July 16 was a trading date, then
 23· ·July 16 should have been the market date you
 24· ·examined for event 9; correct?
 25· · · · ·A.· ··I would have to think about that and

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 194 of 314 PageID
                                  #: 11208
                                                                     Page 194

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·understand what was disclosed and what wasn't
 ·3· ·disclosed on each date, and whether there was new
 ·4· ·information on both dates, but that's something I
 ·5· ·would want to investigate.
 ·6· · · · · · · ·MR. BALLARD:··Mark this, please.
 ·7· · · · · · · ·(Exhibit 31, July 16, 2013 8-K, marked
 ·8· · · · ·for identification, as of this date.)
 ·9· · · · · · · ·(Exhibit 32, document indicating filing
 10· · · · ·date of 8:13 a.m., on July 16, 2013, for July
 11· · · · ·16, 2013, 8-K, marked for identification, as
 12· · · · ·of this date.)
 13· · · · ·Q.· ··I'm handing you Exhibit 31 and Exhibit
 14· ·32.··First of all, take a look at Exhibit 31.··Do
 15· ·you see the date is July 16, 2013?
 16· · · · ·A.· ··I see that.
 17· · · · ·Q.· ··And it's an 8-K; right?
 18· · · · ·A.· ··That's what it appears to be, yes.
 19· · · · ·Q.· ··If you look at the attachments, there
 20· ·is a press release dated July 16, 2013; do you see
 21· ·that?
 22· · · · ·A.· ··Okay, I see that.
 23· · · · ·Q.· ··You will see that it's -- I'll tell you
 24· ·what.··Why don't you look at Exhibit 32.··From
 25· ·Exhibit 32, can you determine when Exhibit 31 was

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 195 of 314 PageID
                                  #: 11209
                                                                     Page 195

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·filed publicly with the SEC?
 ·3· · · · ·A.· ··It appears to say approximately 8:13
 ·4· ·a.m., on July 16, 2013.
 ·5· · · · ·Q.· ··From looking at this, can you now
 ·6· ·confirm that the Q4 and year-end results that you
 ·7· ·examined in event number 9 were disclosed prior to
 ·8· ·the market opening on July 16, 2013?
 ·9· · · · ·A.· ··That's what this seems to suggest.
 10· · · · ·Q.· ··So now can you confirm that you should
 11· ·have looked at a market date of July 16, 2013,
 12· ·instead of July 17, 2013?
 13· · · · ·A.· ··It's possible.··One thing I would like
 14· ·to do is review my backup to see if -- just to
 15· ·confirm that these dates, as listed, weren't a typo
 16· ·of some kind, but this seems to indicate the
 17· ·information was out at the beginning of market on
 18· ·July 16th, 2013.
 19· · · · · · · ·(Exhibit 33, printout of some the
 20· · · · ·backup material used in Chad Coffman's expert
 21· · · · ·report, marked for identification, as of this
 22· · · · ·date.)
 23· · · · ·Q.· ··I'm going to hand you what we've marked
 24· ·as Exhibit 33.··It's a printout of some of the
 25· ·backup material that you provided to us, and the

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 196 of 314 PageID
                                  #: 11210
                                                                     Page 196

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·backup material was voluminous, but there's a
 ·3· ·regression tab related to the common stock.··Do you
 ·4· ·know what I'm talking about?
 ·5· · · · ·A.· ··Yes.
 ·6· · · · ·Q.· ··Do you recognize this as the data from
 ·7· ·that tab?
 ·8· · · · · · · ·MS. POSNER:··Just to be clear, I
 ·9· · · · ·believe we produced all of the Excel
 10· · · · ·spreadsheets, both Bates stamped and in
 11· · · · ·native format so you can manipulate them.
 12· · · · ·I'm going to assume you're representing that
 13· · · · ·this is as originally produced as opposed to
 14· · · · ·with any changes by you.
 15· · · · · · · ·MR. BALLARD:··I don't think I've seen
 16· · · · ·one with Bates numbers on it.··We got Excel
 17· · · · ·files.
 18· · · · · · · ·MS. POSNER:··You should have gotten
 19· · · · ·both.··We Bates stamped one and kept it so it
 20· · · · ·was a static version and then one in native
 21· · · · ·so you can manipulate it.··It's irrelevant.
 22· · · · · · · ·My only purpose for asking is, this is
 23· · · · ·as produced, there have been no changes to
 24· · · · ·this.
 25· · · · · · · ·MR. BALLARD:··This has been formatted

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 197 of 314 PageID
                                  #: 11211
                                                                     Page 197

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·for printing so it can be printed on a large
 ·3· · · · ·piece of paper.··No one went and changed any
 ·4· · · · ·numbers in here.··I have my laptop here and I
 ·5· · · · ·have the actual data files on here if anyone
 ·6· · · · ·needs to look at those.
 ·7· · · · · · · ·MS. POSNER:··I just wanted the record
 ·8· · · · ·to be clear.
 ·9· · · · · · · ·MR. BALLARD:··We did not change any of
 10· · · · ·the numbers.
 11· · · · · · · ·THE WITNESS:··I'm sorry, what was your
 12· · · · ·question?
 13· · · · ·Q.· ··I think we were talking about whether
 14· ·you can confirm that you should have used July
 15· ·16th, 2013, instead of July 17th, 2013 as the
 16· ·market date for event number 9, and you indicated
 17· ·that you might need to check some of your data.
 18· ·Now this is some of your data.
 19· · · · · · · ·Looking at this now, can you now
 20· ·confirm that, in fact, you should have used July
 21· ·16, 2013 as the market date?
 22· · · · ·A.· ··That is certainly possible.··Given that
 23· ·you're pointing out what looks to be a mistake,
 24· ·before I say on the record definitively, this is
 25· ·something I would want to consult.··I would want to

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 198 of 314 PageID
                                  #: 11212
                                                                     Page 198

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·study carefully before giving a final view on this
 ·3· ·on the record, but based on what you've shown me,
 ·4· ·unless there's something that contradicts it, it
 ·5· ·appears July 16, 2013 would be the appropriate
 ·6· ·market date.
 ·7· · · · ·Q.· ··And did you find a statistically
 ·8· ·significant price movement on July 16th, 2013?
 ·9· · · · ·A.· ··No.
 10· · · · ·Q.· ··Looking at your Exhibit 7, at event
 11· ·number --
 12· · · · ·A.· ··What is giving me pause, just to be
 13· ·clear, is the specific time that is listed on
 14· ·Exhibit 7 is raising a question in my mind of why
 15· ·I'm citing 10:22 specifically, so I understand
 16· ·necessarily the reason for that.··So you've pointed
 17· ·out something that concerns me.··I just want to --
 18· ·until I fully analyze this, I don't know what the
 19· ·changes may be.
 20· · · · · · · ·MR. BALLARD:··Maybe I can help you with
 21· · · · ·that too.
 22· · · · · · · ·THE WITNESS:··Okay.
 23· · · · · · · ·MR. BALLARD:··I'll ask the court
 24· · · · ·reporter to mark this with our next exhibit
 25· · · · ·number.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 199 of 314 PageID
                                  #: 11213
                                                                     Page 199

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·(Exhibit 34, printout from Marketwired,
 ·3· · · · ·marked for identification, as of this date.)
 ·4· · · · ·Q.· ··Do you have Exhibit 34 in your hands?
 ·5· · · · ·A.· ··I do.
 ·6· · · · ·Q.· ··This is a printout from Marketwired.
 ·7· ·Do you know what Marketwired is?
 ·8· · · · ·A.· ··Generally.··I don't have detailed
 ·9· ·knowledge of exactly -- it looks like a wire
 10· ·report.··I don't know that I've studied
 11· ·Marketwired.··It looks like a wire service.··I
 12· ·don't know that I know that one specifically.
 13· · · · ·Q.· ··It contains the information from the
 14· ·earnings release that you included in the event 9
 15· ·of your Exhibit 7.
 16· · · · ·A.· ··Okay.
 17· · · · ·Q.· ··Do you see the date at the top of this
 18· ·and the timestamp?
 19· · · · ·A.· ··It appears to be 8:00 a.m. on July 16.
 20· · · · ·Q.· ··So again, now can you confirm that the
 21· ·information certainly was in the market and picked
 22· ·up by the market press before trading began on July
 23· ·16?
 24· · · · ·A.· ··I see that.··It suggests the
 25· ·information came out before the market on July 16,

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 200 of 314 PageID
                                  #: 11214
                                                                     Page 200

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·2013.
 ·3· · · · ·Q.· ··Now is there any doubt in your mind
 ·4· ·that you should have used July 16, 2013, as the
 ·5· ·market date for event 9?
 ·6· · · · ·A.· ··Based on what you're showing me, it
 ·7· ·appears that's the case, but again, before I give a
 ·8· ·final view on that, I would need to go back and
 ·9· ·review how that occurred.
 10· · · · · · · ·MR. BALLARD:··Maybe I can help you with
 11· · · · ·that too.··Mark this, please.
 12· · · · · · · ·(Exhibit 35, Dow Jones press release,
 13· · · · ·marked for identification, as of this date.)
 14· · · · ·Q.· ··I'm handing you Exhibit 35.··Does
 15· ·reviewing Exhibit 35 help you clear up what
 16· ·happened here?
 17· · · · ·A.· ··Possibly.
 18· · · · ·Q.· ··The Factiva database picked up the
 19· ·correction on the newswire, but not the actual
 20· ·original release, and so it showed a timestamp of
 21· ·10:22 p.m. on July 16, 2016, even though the
 22· ·information had come out the day before; right?
 23· · · · · · · ·MS. POSNER:··Objection.
 24· · · · ·A.· ··I think it's -- I don't think your
 25· ·question was quite right.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 201 of 314 PageID
                                  #: 11215
                                                                     Page 201

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··Do you have any idea how you came up
 ·3· ·with 10:22 p.m. as the time and July 16, 2013 as
 ·4· ·the date for event number 9 on your Exhibit 7?
 ·5· · · · ·A.· ··It's possible that it was this Dow
 ·6· ·Jones press release that was relied upon.
 ·7· · · · ·Q.· ··This Dow Jones press release is not
 ·8· ·what you were intending to study in number 9; is
 ·9· ·it?
 10· · · · ·A.· ··If the information was released prior
 11· ·to the market on the 16th, then it would have been
 12· ·appropriate to analyze July 16, 2013.
 13· · · · ·Q.· ··And Exhibit 35, this Dow Jones newswire
 14· ·item, relates to a correction of three numbers in
 15· ·the previously released data; correct?··Three
 16· ·numbers that had been converted incorrectly; right?
 17· · · · ·A.· ··I guess I don't know where -- exactly
 18· ·where you're seeing that.
 19· · · · ·Q.· ··The first paragraph.
 20· · · · ·A.· ··Oh, I'm sorry.··Okay, I see that.
 21· · · · ·Q.· ··In event number 9, you weren't trying
 22· ·to test whether the release of the correction of
 23· ·these three incorrectly converted numbers had an
 24· ·effect on the market; were you?··You were trying to
 25· ·test whether the earnings release, itself, had an

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 202 of 314 PageID
                                  #: 11216
                                                                     Page 202

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·effect; right?
 ·3· · · · ·A.· ··That's correct.
 ·4· · · · ·Q.· ··Now can you confirm with certainty that
 ·5· ·you should have used July 16, 2013 as the market
 ·6· ·date for event number 9 on your Exhibit 7?
 ·7· · · · ·A.· ··That seems to be the appropriate
 ·8· ·conclusion.··Again, to give a final answer, I would
 ·9· ·want to discuss with my staff and see if there's
 10· ·anything else that I'm missing here, but based on
 11· ·what you've shown me, that appears to be correct.
 12· · · · ·Q.· ··So sitting here right now, based on
 13· ·everything you've seen, if you had to do this
 14· ·analysis right now, what market date would you use,
 15· ·July 16 or July 17?
 16· · · · ·A.· ··Based on what I'm seeing here, July 16.
 17· · · · ·Q.· ··So if that's your best understanding
 18· ·right now, I want to ask you some questions about
 19· ·what the items in that row should have in them.
 20· ·Should item 9, in the first column, under date,
 21· ·have July 15, 2013 instead of July 16, 2013?
 22· · · · ·A.· ··Based on what you've shown me, I
 23· ·believe that's correct, yes.
 24· · · · ·Q.· ··And the time in column 2 should change
 25· ·to something else too as well; right?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 203 of 314 PageID
                                  #: 11217
                                                                     Page 203

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Yes.
 ·3· · · · ·Q.· ··The closing price should be $4.09, not
 ·4· ·$4.34; correct?
 ·5· · · · ·A.· ··That's correct.
 ·6· · · · ·Q.· ··The raw return should be 1.49 percent,
 ·7· ·not 6.11 percent; correct?
 ·8· · · · ·A.· ··That's correct.
 ·9· · · · ·Q.· ··The volume should be .3, not .5;
 10· ·correct?
 11· · · · ·A.· ··Correct.
 12· · · · ·Q.· ··The abnormal return should be 1.67
 13· ·percent, not 5.56 percent; correct?
 14· · · · ·A.· ··I'm sorry.··Can you repeat that?
 15· · · · ·Q.· ··The abnormal return should be 1.67
 16· ·percent, not 5.56 percent; correct?
 17· · · · ·A.· ··That's correct.
 18· · · · ·Q.· ··The abnormal dollar change should be 7
 19· ·cents, not 23 cents; correct?
 20· · · · ·A.· ··That's correct.
 21· · · · ·Q.· ··The t-stat should be .7, not 2.32;
 22· ·correct?
 23· · · · ·A.· ··.70, that's correct.
 24· · · · ·Q.· ··The sig level should not have any
 25· ·asterisk; correct?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 204 of 314 PageID
                                  #: 11218
                                                                     Page 204

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··That's correct.
 ·3· · · · ·Q.· ··There shouldn't be two, there shouldn't
 ·4· ·be even one, there should be no asterisk at all for
 ·5· ·event 9, it was not statistically significant;
 ·6· ·correct?
 ·7· · · · ·A.· ··That's correct.
 ·8· · · · ·Q.· ··Now would you say that it was only 3,
 ·9· ·not 4, of the 17 events on Exhibit 7 of your report
 10· ·that had statistically significant price movements
 11· ·at the 95 confidence level?
 12· · · · ·A.· ··If what you've shown me is correct,
 13· ·then that's the case, yes.
 14· · · · ·Q.· ··Can we turn to Exhibit 8 of your
 15· ·report, please.··On Exhibit 8 of your report, under
 16· ·the earnings announcement column, where it says 4,
 17· ·that should be a 3; right?
 18· · · · ·A.· ··If what you're showing me is correct,
 19· ·yes.
 20· · · · ·Q.· ··For the number or the percentage of
 21· ·significant days at 95 confidence level, where you
 22· ·have 23.53 percent, that should be what?
 23· · · · ·A.· ··I would need a calculator to give you
 24· ·the precise number.
 25· · · · ·Q.· ··If I tell you that 3 divided by 17

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 205 of 314 PageID
                                  #: 11219
                                                                     Page 205

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·would give you 17.65 percent, does that help?
 ·3· · · · ·A.· ··That would be the appropriate number
 ·4· ·then, that's correct.
 ·5· · · · ·Q.· ··And then you have an average absolute
 ·6· ·abnormal return of 4.37 percent on this chart.··On
 ·7· ·Exhibit 8 of your report, under the earnings
 ·8· ·announcements column, for the average absolute
 ·9· ·abnormal return, you have 4.37 percent.··That
 10· ·should change to something else; right?
 11· · · · ·A.· ··Yes.
 12· · · · ·Q.· ··And the volume figure of .7 should
 13· ·change as well; right?
 14· · · · ·A.· ··Yes.··Both those numbers would go down,
 15· ·I believe by a relatively small amount, but they
 16· ·would be different, yes.
 17· · · · ·Q.· ··So let's look at your report at page
 18· ·30.··There's a bar chart on page 30 of your report.
 19· ·Do you see that?
 20· · · · ·A.· ··Yes.
 21· · · · ·Q.· ··So that should change as well; right?
 22· · · · ·A.· ··If what you're showing me is correct,
 23· ·then yes.
 24· · · · ·Q.· ··So the first bar that is somewhere
 25· ·above 20 percent is going to drop down to something

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 206 of 314 PageID
                                  #: 11220
                                                                     Page 206

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·lower; right?
 ·3· · · · ·A.· ··Roughly 17 percent plus.
 ·4· · · · ·Q.· ··And on page 31, you have a bar chart on
 ·5· ·the average absolute return.··Do you have that?
 ·6· · · · ·A.· ··Yes.
 ·7· · · · ·Q.· ··That would change a little bit too;
 ·8· ·right?
 ·9· · · · ·A.· ··Yeah.··I don't think that would change
 10· ·substantially, but it would come down a little bit,
 11· ·yes.
 12· · · · ·Q.· ··On page 32, there's another chart on
 13· ·average daily trading volume.··Certainly the data
 14· ·underlying, that would change a bit as well; right?
 15· · · · ·A.· ··A bit, yes.··I don't think it would
 16· ·change substantially, but yes, it would be lower.
 17· · · · ·Q.· ··Let's turn to page 29 of your report.
 18· ·Paragraph 62, there's the reference to the 23.53
 19· ·percent.··Do you see that?
 20· · · · ·A.· ··Yes.
 21· · · · ·Q.· ··That's wrong; right?
 22· · · · ·A.· ··If what you're showing me is correct,
 23· ·yes.
 24· · · · ·Q.· ··And Footnote 61 is wrong; right?
 25· · · · ·A.· ··It would be 17 percent instead of

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 207 of 314 PageID
                                  #: 11221
                                                                     Page 207

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·23.53.
 ·3· · · · ·Q.· ··And you told us already you haven't
 ·4· ·done an analysis to see if that is statistically
 ·5· ·significant; right?
 ·6· · · · ·A.· ··I would have to do that test to know.
 ·7· · · · ·Q.· ··So sitting here today, you don't know
 ·8· ·if it would be statistically significant based on
 ·9· ·what you know now?
 10· · · · ·A.· ··I would have to test that.
 11· · · · ·Q.· ··And then paragraph 63, there's a 4.37
 12· ·percent figure.··Do you see that?
 13· · · · ·A.· ··Yes.
 14· · · · ·Q.· ··That might change as well; right?
 15· · · · ·A.· ··Well, we already covered that, yes.
 16· · · · ·Q.· ··And then so Footnote 63 would change.
 17· ·That's now wrong; right?
 18· · · · ·A.· ··The percentage would change.··Whether
 19· ·the conclusion about statistical significance needs
 20· ·to change is not clear.
 21· · · · ·Q.· ··And then paragraph 63, again, there's a
 22· ·reference to the average magnitude of stock price
 23· ·movement on earnings announcement days was 1.7
 24· ·times higher.··You would have to take another look
 25· ·at that one as well; right?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 208 of 314 PageID
                                  #: 11222
                                                                     Page 208

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··It would be slightly lower.··It might
 ·3· ·still round to 1.7.··I just don't know.··I would
 ·4· ·have to check.
 ·5· · · · ·Q.· ··And then on page 31, paragraph 65,
 ·6· ·there's a reference to average daily trading volume
 ·7· ·on the 17 days of 0.72 million.··Do you see that?
 ·8· · · · ·A.· ··Yes.
 ·9· · · · ·Q.· ··You would have to look at that again as
 10· ·well; right?
 11· · · · ·A.· ··That would go down slightly, yes.
 12· · · · ·Q.· ··So going back to what we talked about
 13· ·earlier, we looked at four of the events on your
 14· ·Exhibit 7 for the year-end results for 2011, 2012,
 15· ·2013 and 2014; right?
 16· · · · ·A.· ··That's correct.
 17· · · · ·Q.· ··And you had found a statistically
 18· ·significant increase in the price of Miller
 19· ·Energy's common stock in only one instance, and
 20· ·that was for the year 2013; right?
 21· · · · ·A.· ··Originally, that's correct.
 22· · · · ·Q.· ··Based on what you have in Exhibit 7 of
 23· ·your report and what you now know, can you now say
 24· ·that there was no statistically significant
 25· ·increase in the price of Miller Energy's common

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 209 of 314 PageID
                                  #: 11223
                                                                     Page 209

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·stock on the market date after Miller Energy
 ·3· ·disclosed its year-end results for 2011?
 ·4· · · · ·A.· ··Could I have that read back, please.
 ·5· · · · · · · ·(Record read.)
 ·6· · · · ·A.· ··That's correct.
 ·7· · · · ·Q.· ··There was a statistically significant
 ·8· ·decrease in the price of Miller Energy's common
 ·9· ·stock on the market date after Miller Energy
 10· ·disclosed its year-end results for 2012; correct?
 11· · · · ·A.· ··That's correct.
 12· · · · ·Q.· ··There was no statistically significant
 13· ·increase in the price of Miller Energy's common
 14· ·stock on the market date after Miller Energy
 15· ·disclosed its year-end results for 2013; is that
 16· ·correct?
 17· · · · ·A.· ··Based on what you've shown me, I
 18· ·believe that's correct.
 19· · · · ·Q.· ··There was a decrease, but only at the
 20· ·90 percent confidence level, in the price of Miller
 21· ·Energy's common stock on the market date after
 22· ·Miller Energy disclosed its year-end results of
 23· ·2014; correct?
 24· · · · ·A.· ··That's correct.
 25· · · · ·Q.· ··So for the four years at issue in this

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 210 of 314 PageID
                                  #: 11224
                                                                     Page 210

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·case, 2011 to 2014, in two instances, the
 ·3· ·disclosure of Miller Energy's year-end results did
 ·4· ·not lead to a statistically significant movement
 ·5· ·one way or another in the price of Miller Energy's
 ·6· ·common stock; is that right?
 ·7· · · · · · · ·MS. POSNER:··Objection.
 ·8· · · · ·A.· ··Can I have that read back.
 ·9· · · · · · · ·(Record read.)
 10· · · · · · · ·MS. POSNER:··Objection.
 11· · · · ·A.· ··That's correct.
 12· · · · ·Q.· ··In the other two instances, the
 13· ·disclosure of Miller Energy's year-end results led
 14· ·to a statistically significant decrease in the
 15· ·price of the stock at the 95 confidence level in
 16· ·one instance, and a statistically significant
 17· ·decrease in the price of the common stock at 90
 18· ·percent in the other instance; is that correct?
 19· · · · · · · ·MS. POSNER:··Objection.
 20· · · · ·A.· ··I think that's correct, yes.
 21· · · · ·Q.· ··So in no instance did the disclosure of
 22· ·Miller Energy's year-end results lead to a
 23· ·statistically significant increase in the stock
 24· ·price; correct?
 25· · · · · · · ·MS. POSNER:··Objection.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 211 of 314 PageID
                                  #: 11225
                                                                     Page 211

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Based on what you've shown me, I
 ·3· ·believe that's the case.
 ·4· · · · ·Q.· ··You're aware that KPMG issued audit
 ·5· ·opinions on Miller Energy's financial statements in
 ·6· ·certain years; right?
 ·7· · · · ·A.· ··That's my understanding, yes.
 ·8· · · · ·Q.· ··It was the financial statements for the
 ·9· ·years ended April 30, 2011, 2012, 2013 and 2014;
 10· ·correct?
 11· · · · ·A.· ··My understanding is they issued audit
 12· ·opinions for those years.··Whether there were -- I
 13· ·don't believe there were any earlier years, but I
 14· ·think by the time 2015 came around, I'm not sure a
 15· ·10-K was filed so I believe that's correct.
 16· · · · ·Q.· ··You understand that the plaintiffs in
 17· ·this case have alleged that there are four
 18· ·instances in which KPMG issued audit opinions that
 19· ·the plaintiffs have alleged were misstated; is that
 20· ·correct?
 21· · · · · · · ·MS. POSNER:··Objection.
 22· · · · ·A.· ··My understanding is there are four
 23· ·audit opinions.··I believe they're alleging other
 24· ·dates on which that material was incorporated by
 25· ·reference, but I believe that that's the four audit

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 212 of 314 PageID
                                  #: 11226
                                                                     Page 212

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·opinions that are being referenced.
 ·3· · · · ·Q.· ··And you understand the audit opinions
 ·4· ·were included in the Form 10-K's with the SEC;
 ·5· ·right?
 ·6· · · · ·A.· ··That's my understanding.··I would have
 ·7· ·to go back to check to give that opinion, but
 ·8· ·typically that's the case, yes.
 ·9· · · · ·Q.· ··You understand that plaintiffs' theory
 10· ·in this case is that KPMG's audit opinions helped
 11· ·artificially inflate the price of Miller Energy
 12· ·securities?
 13· · · · ·A.· ··That's my understanding of their claim,
 14· ·yes.
 15· · · · ·Q.· ··And in Exhibit 7, and in our discussion
 16· ·today on Miller Energy's common stock, you
 17· ·evaluated whether there was a statistically
 18· ·significant price movement in response to the
 19· ·disclosure of Miller Energy's year-end results for
 20· ·each of those years ending April 30, 2011, '12, '13
 21· ·and '14; correct?
 22· · · · ·A.· ··Yes.
 23· · · · ·Q.· ··And in each instance, you found no
 24· ·statistically significant increase in the price of
 25· ·the common stock; right?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 213 of 314 PageID
                                  #: 11227
                                                                     Page 213

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·MS. POSNER:··Objection.
 ·3· · · · ·A.· ··Based on what you've shown me, I
 ·4· ·believe that's correct.
 ·5· · · · ·Q.· ··Well, in two instances there was a
 ·6· ·movement but it was down, not up; right?
 ·7· · · · ·A.· ··Correct.
 ·8· · · · ·Q.· ··Would you agree that it appears that
 ·9· ·KPMG's audit opinions on Miller Energy's financial
 10· ·statements for the years ended April 30, 2011, '12,
 11· ·'13 and '14 did not result in the artificial
 12· ·inflation of Miller Energy's stock price?
 13· · · · · · · ·MS. POSNER:··Objection.
 14· · · · ·A.· ··I'm sorry, can I have that read back.
 15· · · · · · · ·(Record read.)
 16· · · · · · · ·MS. POSNER:··Objection.
 17· · · · ·A.· ··No.
 18· · · · ·Q.· ··Do you have any evidence that KPMG's
 19· ·audit opinions caused artificial inflation in the
 20· ·stock price?
 21· · · · ·A.· ··I wasn't asked to evaluate that.
 22· · · · ·Q.· ··You have no opinion on that topic?
 23· · · · ·A.· ··That's correct, I have not evaluated
 24· ·that.··I mean, I've seen plaintiffs' complaint.··I
 25· ·understand the economic logic of what their

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 214 of 314 PageID
                                  #: 11228
                                                                     Page 214

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·allegations are, but I, as a matter of fact, have
 ·3· ·not evaluated whether it's the case or not.
 ·4· · · · · · · ·MR. BALLARD:··Let's take a short break.
 ·5· · · · · · · ·THE VIDEO TECHNICIAN:··We're going off
 ·6· · · · ·the record.··The time is 2:28 p.m.
 ·7· · · · · · · ·(Recess taken.)
 ·8· · · · · · · ·THE VIDEO TECHNICIAN:··This begins
 ·9· · · · ·Media Unit No. 4.··The time is 2:59 p.m.
 10· · · · ·We're back on the record.
 11· · · · ·Q.· ··Turning to your report, at page 29,
 12· ·Footnote 61 --
 13· · · · · · · ·MS. POSNER:··What page did you say?
 14· · · · · · · ·MR. BALLARD:··Page 29, Footnote 61.
 15· · · · ·Q.· ··I believe you indicated earlier that
 16· ·you have not done the analysis as to whether you
 17· ·would still find statistical significance at the 95
 18· ·confidence level if it was 3 out of 17 instead of 4
 19· ·out of 17; right?
 20· · · · ·A.· ··That's what I said before.
 21· · · · ·Q.· ··You haven't done the analysis now; have
 22· ·you?
 23· · · · ·A.· ··I did a back of the envelope
 24· ·calculation that I would want to check several
 25· ·times before I, you know, was highly confident in

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 215 of 314 PageID
                                  #: 11229
                                                                     Page 215

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·it, but it suggested that just changing it to 3 out
 ·3· ·of 17, it would still be significant at the 95
 ·4· ·percent level.
 ·5· · · · ·Q.· ··Are you ready to express that opinion
 ·6· ·or do you need to do more work on that first?
 ·7· · · · ·A.· ··No.··Given what you've pointed out,
 ·8· ·there are likely to be corrections to my report and
 ·9· ·before I express any final opinion on that, I would
 10· ·want to review a number of different things.
 11· · · · ·Q.· ··I think earlier you also said that if
 12· ·you had removed the Cammer 5 factor entirely from
 13· ·your report, you hadn't evaluated whether you would
 14· ·still have an opinion on market efficiency without
 15· ·that; right?
 16· · · · ·A.· ··I think I said that there would be lots
 17· ·of -- that there would be considerable economic
 18· ·evidence towards efficiency from the other factors,
 19· ·but I had not considered the possibility of
 20· ·explicitly removing Cammer 5 from my report.
 21· · · · ·Q.· ··And I believe you said you hadn't given
 22· ·it thought and don't have an opinion sitting here
 23· ·today as whether removing that, you would still
 24· ·have an opinion.
 25· · · · ·A.· ··Well, again, I said I wasn't sure why

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 216 of 314 PageID
                                  #: 11230
                                                                     Page 216

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·one would ever do that given the circumstances of
 ·3· ·this case, but I have not considered whether just
 ·4· ·totally removing Cammer 5, what the conclusion
 ·5· ·would be.
 ·6· · · · ·Q.· ··Sitting here right now, you're not able
 ·7· ·to express an opinion on the question of whether
 ·8· ·there was a cause and effect relationship until you
 ·9· ·do further analysis.
 10· · · · · · · ·Given what you have just said, do you
 11· ·have an opinion, sitting here right now, on whether
 12· ·the market for the common stock was efficient
 13· ·during the analysis period?
 14· · · · · · · ·MS. POSNER:··Objection.
 15· · · · ·A.· ··Based on the analysis I've performed,
 16· ·it's clear that there is a much greater -- that
 17· ·there's a greater incidence of statistically
 18· ·significant days on the earnings announcements,
 19· ·that's there's greater absolute stock price
 20· ·movements, greater volume.
 21· · · · · · · ·Also just, you know, setting aside
 22· ·or -- not setting aside.··In addition to the
 23· ·analysis that's in my report, it's clear from just
 24· ·a cursory review of certain other dates during the
 25· ·class period that the stock price was moving in

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 217 of 314 PageID
                                  #: 11231
                                                                     Page 217

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·reaction to news.··It wasn't part of what is
 ·3· ·included in my report, but I still believe that
 ·4· ·even with the material you showed me today, that
 ·5· ·there's a -- that this security traded in an
 ·6· ·efficient market.
 ·7· · · · ·Q.· ··I understand you believe that.··But my
 ·8· ·question is, do you have, as a professional
 ·9· ·economist, an opinion sitting here today as to
 10· ·whether the market for the common stock of Miller
 11· ·Energy was efficient during the analysis period?
 12· · · · ·A.· ··I believe it was efficient during the
 13· ·analysis period, yes, and I -- like I said, I want
 14· ·to -- given what you've shown me, I want to go back
 15· ·and review certain items and evaluate certain
 16· ·items, but I do believe that it traded in an
 17· ·efficient market, yes.
 18· · · · ·Q.· ··You keep saying you believe.
 19· · · · ·A.· ··That's my opinion.
 20· · · · ·Q.· ··That is your opinion sitting here
 21· ·today?
 22· · · · ·A.· ··Yes.
 23· · · · ·Q.· ··Have you provided us with all the
 24· ·backup and basis for that opinion or do you still
 25· ·need to do more?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 218 of 314 PageID
                                  #: 11232
                                                                     Page 218

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Yes.··I think given what you've shown
 ·3· ·me, I will likely prepare a corrected version of
 ·4· ·the report and so at that point I believe I will
 ·5· ·have given you the full basis that I'm using to
 ·6· ·conclude that the market is efficient.··But this
 ·7· ·alone does not change my opinion of the market
 ·8· ·efficiency.
 ·9· · · · ·Q.· ··Do you expect that you will be revising
 10· ·your exhibits as well?
 11· · · · ·A.· ··Based on what you've shown me, there
 12· ·will likely be revisions to my exhibits, yes.
 13· · · · ·Q.· ··We got a large dump of data, Excel
 14· ·spreadsheets and the like.··That will change as
 15· ·well; right?
 16· · · · ·A.· ··I don't think anything in the event
 17· ·study, itself, will change, but the summaries from
 18· ·that event study will change.··So it's -- there
 19· ·will be materials in the backup that would change,
 20· ·yes.
 21· · · · ·Q.· ··Do you know how long it will take to do
 22· ·that work?
 23· · · · ·A.· ··I don't know with any precision.
 24· · · · ·Q.· ··I'd like you to take a look at Exhibit
 25· ·3 which is the Second Amended Complaint, and I'll

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 219 of 314 PageID
                                  #: 11233
                                                                     Page 219

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·direct your attention to paragraph 197 of the
 ·3· ·Second Amended Complaint.
 ·4· · · · · · · ·Do you have the complaint in front of
 ·5· ·you and are you looking at the section that begins
 ·6· ·with paragraph 197?··There's a heading, "The Truth
 ·7· ·Begins to Emerge"?
 ·8· · · · ·A.· ··Yes.
 ·9· · · · ·Q.· ··You understand that plaintiffs have
 10· ·alleged that the truth leaked out over a period of
 11· ·time beginning in December 2013?
 12· · · · ·A.· ··That's my the understanding, yes.
 13· · · · ·Q.· ··In paragraph 199, plaintiffs refer to
 14· ·an event on December 17, 2013.··Do you see that?
 15· · · · ·A.· ··I see that.
 16· · · · ·Q.· ··That was a concerned shareholder's
 17· ·letter; right?
 18· · · · ·A.· ··That's what they're pointing to, yes.
 19· · · · ·Q.· ··I'm going to hand you what we
 20· ·previously marked as Exhibit 17.··Exhibit 17 is a
 21· ·Schedule 14A.··Do you see that?
 22· · · · ·A.· ··I see that.
 23· · · · ·Q.· ··Proxy materials filed by some folks in
 24· ·connection with Miller Energy, and it contains a
 25· ·press release as well as the concerned shareholder

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 220 of 314 PageID
                                  #: 11234
                                                                     Page 220

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·letter dated December 17, 2013; correct?
 ·3· · · · ·A.· ··I see that, yes.
 ·4· · · · · · · ·(Exhibit 36, document indicating that
 ·5· · · · ·the concerned shareholder letter and the
 ·6· · · · ·accompanying materials were filed with the
 ·7· · · · ·SEC on December 17, at 11:41 a.m., marked for
 ·8· · · · ·identification, as of this date.)
 ·9· · · · ·Q.· ··Let me hand you what we've marked as
 10· ·Exhibit 36 in this case.··From Exhibit 36, can you
 11· ·see that the concerned shareholder letter and the
 12· ·accompanying materials were filed with the SEC on
 13· ·December 17, at 11:41 a.m.?
 14· · · · ·A.· ··That's what this seems to suggest.
 15· · · · ·Q.· ··So if this event had been included on
 16· ·your Exhibit 7, for example, it would have had a
 17· ·date of December 17 and a market date of December
 18· ·17th, 2013; right?
 19· · · · ·A.· ··That would have been the first day the
 20· ·market could have reacted to it, yes.
 21· · · · ·Q.· ··Because that was the day the
 22· ·information was made public during trading hours;
 23· ·right?
 24· · · · ·A.· ··Yes.
 25· · · · ·Q.· ··So under your methodology, you would

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 221 of 314 PageID
                                  #: 11235
                                                                     Page 221

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·have looked at December 17th to see if the price
 ·3· ·reacted; right?
 ·4· · · · ·A.· ··Well, when you say "your methodology,"
 ·5· ·under my methodology for evaluating market
 ·6· ·efficiency, if this was what I had included as a
 ·7· ·quote-unquote news date, that's true.
 ·8· · · · · · · ·Whether that's what I would ultimately
 ·9· ·do if asked to determine the market price impact of
 10· ·this particular announcement, that might be
 11· ·something different, but certainly under the
 12· ·methodology employed to analyze market efficiency,
 13· ·that's the case.
 14· · · · ·Q.· ··If truth leaked into the market on that
 15· ·day by virtue of this concerned shareholder letter
 16· ·as plaintiffs allege, wouldn't you expect the
 17· ·market to react on December 17th?
 18· · · · ·A.· ··That's plausible.··It's also plausible
 19· ·that the market wouldn't fully incorporate the
 20· ·information until possibly the 18th, especially if
 21· ·news reports or analyst reports or other things
 22· ·first started widely reporting on this later in the
 23· ·day.
 24· · · · · · · ·So there's a lot of specific details I
 25· ·would want to analyze before giving an opinion

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 222 of 314 PageID
                                  #: 11236
                                                                     Page 222

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·about what the full price impact of what this event
 ·3· ·might have been.··But the first day it could have
 ·4· ·reacted, based on what you're showing me, is
 ·5· ·December 17, 2013.
 ·6· · · · ·Q.· ··I thought earlier you said, when we
 ·7· ·were talking about whether you would look at a
 ·8· ·two-day window, you would in an efficient market
 ·9· ·expect at least a statistically significant
 10· ·reaction on day one.··You might also get one on day
 11· ·two.··I thought your testimony on that was pretty
 12· ·clear earlier.
 13· · · · ·A.· ··That you would expect to see a
 14· ·reaction.··I don't know that I used the words
 15· ·"statistically significant reaction."··But, you
 16· ·know, if one were to look at a full-day event
 17· ·window for this particular event, you know, one
 18· ·would want to look into the middle of the day on
 19· ·the next trading day as well.
 20· · · · · · · ·So I'm just saying it's not quite as
 21· ·simple as ending the analysis by just looking at
 22· ·the abnormal return on the 17th.··It could also be
 23· ·confounded by information prior to 11:00 a.m. on
 24· ·the 17th.··So answering the question of how this
 25· ·disclosure impacted the market price would require

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 223 of 314 PageID
                                  #: 11237
                                                                     Page 223

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·a detailed analysis potentially beyond what is
 ·3· ·already reported in my event study details.
 ·4· · · · ·Q.· ··Didn't you have items on your event
 ·5· ·study that came out during the trading day?
 ·6· · · · · · · ·MS. POSNER:··Objection.··I'm not
 ·7· · · · ·following your question.
 ·8· · · · ·A.· ··I believe they all came out either
 ·9· ·before or after the trading day on Exhibit 7.
 10· · · · ·Q.· ··So are you saying you would use a
 11· ·different methodology for events that come out
 12· ·during the trading day?
 13· · · · ·A.· ··I'm saying it's just something I would
 14· ·look at to determine whether the -- what the
 15· ·appropriate event window to draw conclusions from
 16· ·would be given the specific facts and circumstances
 17· ·of that particular event.··So it may or may not be.
 18· · · · ·Q.· ··Was there a statistically significant
 19· ·market reaction on December 17, 2013?
 20· · · · ·A.· ··No.
 21· · · · ·Q.· ··Was there a statistically significant
 22· ·decline on December 18th?
 23· · · · ·A.· ··Oh, I'm sorry.··I think I looked at the
 24· ·wrong date.··I apologize.··Let me double-check.
 25· ·There was not on the 17th.··There was on the 18th.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 224 of 314 PageID
                                  #: 11238
                                                                     Page 224

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··And what about the 19th?
 ·3· · · · ·A.· ··Yes, there was a significant reaction
 ·4· ·on the 19th as well.
 ·5· · · · ·Q.· ··So returning to the allegations of the
 ·6· ·Second Amended Complaint, in paragraph 199, where
 ·7· ·plaintiffs refer to the concerned shareholder's
 ·8· ·letter, plaintiffs allege that the price of Miller
 ·9· ·Energy stock dropped from a closing price of $8.60
 10· ·on December 16 to a closing price of $7.07 on
 11· ·December 19th.··Do you see that?
 12· · · · ·A.· ··I see that.
 13· · · · ·Q.· ··So plaintiffs are alleging that over
 14· ·that three-day period, the 17th, 18th and 19th, the
 15· ·price of Miller Energy's common stock dropped in
 16· ·response to the shareholder letter; correct?
 17· · · · ·A.· ··I think technically it's about a
 18· ·two-and-a-half day period, but that's what I
 19· ·understand, yes.
 20· · · · ·Q.· ··Is it your opinion that the declines on
 21· ·the 18th and the 19th were a reaction to the
 22· ·concerned shareholder letter and the filing on the
 23· ·morning of December 17th?
 24· · · · · · · ·MS. POSNER:··Objection.
 25· · · · ·A.· ··I have not reached an opinion on that.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 225 of 314 PageID
                                  #: 11239
                                                                     Page 225

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··Would it be consistent with a
 ·3· ·conclusion of market efficiency if it took three
 ·4· ·days for the price to react to a disclosure like
 ·5· ·this?
 ·6· · · · ·A.· ··I don't think you can rule that out.
 ·7· ·Again, I would want to study the specifics of how
 ·8· ·this information was disseminated to the market and
 ·9· ·whether there's evidence of broader dissemination
 10· ·on the 18th and 19th, and what other information
 11· ·might be available to evaluate that question.
 12· · · · ·Q.· ··You've given an opinion in this case
 13· ·that the market was efficient at that time; right?
 14· · · · ·A.· ··Yes.
 15· · · · ·Q.· ··Do you think you might need to look a
 16· ·little more closely back to examine the data around
 17· ·those dates?
 18· · · · · · · ·MS. POSNER:··Objection.
 19· · · · ·A.· ··No.··As I testified earlier, there's
 20· ·nothing inconsistent with market efficiency to say
 21· ·that the full impact on certain types of event days
 22· ·might extend beyond one day.··I don't think there's
 23· ·anything inconsistent with that.
 24· · · · ·Q.· ··Have you read the concerned shareholder
 25· ·letter?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 226 of 314 PageID
                                  #: 11240
                                                                     Page 226

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··I believe at one point I did.··It's
 ·3· ·been a while.··I don't recall.
 ·4· · · · ·Q.· ··Do you think it's the kind of
 ·5· ·information the market would ignore for a couple of
 ·6· ·days?
 ·7· · · · · · · ·MS. POSNER:··Objection.
 ·8· · · · ·Q.· ··It's pretty incendiary, don't you
 ·9· ·recall?
 10· · · · · · · ·MS. POSNER:··Objection.
 11· · · · ·A.· ··It's certainly the type of information
 12· ·that the stock price might react to.··Again, in
 13· ·this particular case, it clearly reacted not within
 14· ·a couple of days, but on the -- this was issued
 15· ·apparently during market hours on one day and by
 16· ·the end of the next trading day, the stock price
 17· ·had reacted in a statistically significant manner.
 18· ·Whether that was due to this letter or something
 19· ·else or what all the issues surrounding that might
 20· ·be, is not something I formed an opinion on.
 21· · · · ·Q.· ··So it's possible the market was
 22· ·reacting on the 18th and 19th to the December 17th
 23· ·morning disclosure; is that what you're saying?
 24· · · · ·A.· ··I think it's plausible that the market
 25· ·was continuing to digest this information on the

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 227 of 314 PageID
                                  #: 11241
                                                                     Page 227

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·18th and possibly even the 19th, but that's
 ·3· ·something I would have to analyze, whether there
 ·4· ·was supporting evidence for that.
 ·5· · · · ·Q.· ··It's also possible the market wasn't
 ·6· ·efficient; right?
 ·7· · · · ·A.· ··That's one hypothetical possibility but
 ·8· ·inconsistent with all the evidence in my report.
 ·9· · · · ·Q.· ··All of the evidence in your report, are
 10· ·you sure about that?
 11· · · · ·A.· ··Or the primary conclusion of my report,
 12· ·and all of the supporting factors that are
 13· ·described in my report.
 14· · · · ·Q.· ··Let's turn to paragraph 200 of the
 15· ·complaint.··There's a reference to a December 24,
 16· ·2013 report, "Miller Energy:··Digging Itself Into
 17· ·Another Deep Hole?" published on TheStreetSweeper.
 18· ·Do you see that?
 19· · · · ·A.· ··Yes.
 20· · · · ·Q.· ··Was there a statistically significant
 21· ·price movement following this posting?
 22· · · · ·A.· ··Again, it's not clear from the
 23· ·description whether it came out during market hours
 24· ·or before market hours on the 24th or after -- or
 25· ·post market hours on the 24th, so on the 24th

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 228 of 314 PageID
                                  #: 11242
                                                                     Page 228

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·there's not a statistically significant movement.
 ·3· · · · · · · ·On the 26th, which would be the next
 ·4· ·trading date, there's not a statistically
 ·5· ·significant movement.
 ·6· · · · ·Q.· ··In paragraph 205 of the complaint,
 ·7· ·plaintiffs allege that the market reacted over that
 ·8· ·period, including those two trading days, December
 ·9· ·24 and December 26; right?
 10· · · · ·A.· ··That's what plaintiffs' complaint is
 11· ·pointing out or attempting to -- alleging to point
 12· ·out.
 13· · · · ·Q.· ··So if plaintiffs are right about this,
 14· ·this could be another of those instances where
 15· ·there's no reaction on day one, but there is on day
 16· ·two?
 17· · · · ·A.· ··Again, I don't know what the exact
 18· ·timing was so I'm not going to speculate what it
 19· ·might or might not mean, and at least based on the
 20· ·daily event study here, neither day was
 21· ·statistically significant.
 22· · · · ·Q.· ··Okay.··You said neither day, so you're
 23· ·saying there's nothing statistically significant on
 24· ·December 24 or 26?
 25· · · · ·A.· ··Well, again, until I -- you know, if I

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 229 of 314 PageID
                                  #: 11243
                                                                     Page 229

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·were evaluating a specific question of whether that
 ·3· ·news caused any price response, I would want to
 ·4· ·look at a host of additional things, including
 ·5· ·trying to assess precisely when it came out,
 ·6· ·looking at the intraday pricing to see if there's
 ·7· ·additional information, looking to see if there's
 ·8· ·confounding positive information that might explain
 ·9· ·that.··I haven't done that analysis, so I don't
 10· ·know.
 11· · · · ·Q.· ··So in this case, you know that
 12· ·plaintiffs are alleging that there were statements
 13· ·at the beginning that supposedly inflated the
 14· ·price, and then truth comes out on certain dates at
 15· ·the end where the truth leaked out and the price
 16· ·declined again; right?··You know that's the theory?
 17· · · · ·A.· ··When you say the price declined again,
 18· ·I understand they're alleging there are corrective
 19· ·dates on which the price declined, yes.
 20· · · · ·Q.· ··So the critical dates where the
 21· ·plaintiffs are saying information moved the price
 22· ·were the dates of the alleged misstatements and the
 23· ·dates when the truth came out; right?
 24· · · · · · · ·MS. POSNER:··Objection.
 25· · · · ·A.· ··Well, it's not clear that, depending on

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 230 of 314 PageID
                                  #: 11244
                                                                     Page 230

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·the nature of the misstatements, whether or not
 ·3· ·they would be expected to move the stock price.
 ·4· ·For example, if plaintiffs were using the price
 ·5· ·maintenance theory, then they might not be expected
 ·6· ·to move the stock price on the misstatement or
 ·7· ·omission dates, especially if there were omissions,
 ·8· ·but on the corrective disclosures, my understanding
 ·9· ·is they're alleging the price declined on certain
 10· ·corrective dates that reflects the dissipation of
 11· ·artificial inflation.
 12· · · · ·Q.· ··So, so far, we've gone through six
 13· ·dates, the four alleged misstatement dates and the
 14· ·first of the two corrective disclosure dates, and
 15· ·we don't have a statistically significant movement
 16· ·in response to any of them on the first day; right?
 17· · · · · · · ·MS. POSNER:··Objection.
 18· · · · ·A.· ··Well, in reviewing plaintiffs'
 19· ·complaint, there's an allegation that the allegedly
 20· ·false and misleading audit opinion was first issued
 21· ·on August 29th, which according to my event study,
 22· ·was statistically significant.··So it's not clear
 23· ·to me that that's correct.
 24· · · · ·Q.· ··So are you now saying the year-end
 25· ·results for 2011 came out on August 29?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 231 of 314 PageID
                                  #: 11245
                                                                     Page 231

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··That's a possibility I need to
 ·3· ·investigate.
 ·4· · · · ·Q.· ··So you may have another error on your
 ·5· ·Exhibit 7?
 ·6· · · · ·A.· ··Well, given that you pointed out that I
 ·7· ·apparently inadvertently relied on a Dow Jones
 ·8· ·correction, I guess I would like to go back and
 ·9· ·review the details of each of these dates to make
 10· ·sure I'm selecting the right date, and I'm saying
 11· ·as of right now, there does appear to be a
 12· ·suggestion that August 29th may have been the right
 13· ·date to analyze.
 14· · · · ·Q.· ··So we went through event 9 and talked
 15· ·about how your report and exhibits might change if
 16· ·you use the right data.··You're now saying that
 17· ·event 1 might also be incorrect?
 18· · · · ·A.· ··It's possible.
 19· · · · ·Q.· ··Are you sure you still have an opinion
 20· ·sitting here today about whether the market was
 21· ·efficient?
 22· · · · ·A.· ··Yes.
 23· · · · ·Q.· ··Even without the data?
 24· · · · ·A.· ··No.··As I said, I believe there's
 25· ·sufficient evidence, based on the higher proportion

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 232 of 314 PageID
                                  #: 11246
                                                                     Page 232

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·of significant dates, that if what I'm saying about
 ·3· ·event 1 is right, that would actually improve the
 ·4· ·numbers, and my review of all the other Cammer
 ·5· ·factors and my review of other dates that I noted
 ·6· ·during the class period which showed statistically
 ·7· ·significant movements in response to clear new
 ·8· ·news, it's my professional opinion that the market
 ·9· ·for the common stock was efficient.
 10· · · · · · · ·I believe based on what you've shown me
 11· ·today, there's some important details in my report
 12· ·that I want to revisit, but nothing has changed my
 13· ·view as to whether the market is efficient or not.
 14· · · · ·Q.· ··So for Exhibit 7, you're saying you
 15· ·looked at 19 events, 19 events; right?
 16· · · · ·A.· ··17.
 17· · · · ·Q.· ··Sorry, 17.··Not a big number, 17
 18· ·events.··We know you got one of them wrong and
 19· ·you're saying you might have gotten two of them
 20· ·wrong, but one mistake was one direction and the
 21· ·other mistake might have been the other direction
 22· ·so it offsets?
 23· · · · ·A.· ··I'm not saying that at all yet.··I'm
 24· ·saying that there's details I want to go back and
 25· ·review.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 233 of 314 PageID
                                  #: 11247
                                                                     Page 233

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··But you're confident you've still got
 ·3· ·that opinion on market efficiency; right?
 ·4· · · · ·A.· ··Yes.
 ·5· · · · ·Q.· ··In paragraph 206 of the Second Amended
 ·6· ·Complaint, plaintiffs refer to a disclosure in the
 ·7· ·form of an 8-K.··Do you see that?
 ·8· · · · ·A.· ··I see that, yes.
 ·9· · · · ·Q.· ··And this one is alleged to have come
 10· ·out before trading began; right?
 11· · · · ·A.· ··The complaint alleges that on March 13,
 12· ·2014, before trading began, the company filed a
 13· ·Form 8-K.
 14· · · · ·Q.· ··And do you see that on your Exhibit 7?
 15· · · · ·A.· ··Yes, I see that.
 16· · · · ·Q.· ··Did you evaluate whether there was a
 17· ·statistically significant price movement on March
 18· ·13, 2014?
 19· · · · ·A.· ··I did.
 20· · · · ·Q.· ··Was there?
 21· · · · ·A.· ··No.
 22· · · · ·Q.· ··So here's another example of one of
 23· ·these news events not having a statistically
 24· ·significant price impact?
 25· · · · · · · ·MS. POSNER:··Objection.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 234 of 314 PageID
                                  #: 11248
                                                                     Page 234

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··At least on the date of March 13, 2014,
 ·3· ·that's correct, yes.
 ·4· · · · ·Q.· ··That's the proper market date to look
 ·5· ·at under your methodology; isn't it?
 ·6· · · · · · · ·MS. POSNER:··Objection.
 ·7· · · · ·A.· ··Yes.
 ·8· · · · ·Q.· ··Unless --
 ·9· · · · ·A.· ··Based on what I know, yes.
 10· · · · ·Q.· ··Paragraph 207 refers to an investor
 11· ·call.··Do you see that?
 12· · · · ·A.· ··Yes.
 13· · · · ·Q.· ··That would be the investor call that
 14· ·took place on March 13 and a transcript was filed
 15· ·on March 14 after hours; is that right?
 16· · · · ·A.· ··This says the public -- yeah, this
 17· ·seems to indicate that there was an investor call
 18· ·after the market on the 13th, and a public version
 19· ·available after market on the 14th.
 20· · · · ·Q.· ··So if you wanted to see if there was a
 21· ·reaction on the price, you would look at March 14?
 22· · · · ·A.· ··If the call actually took place after
 23· ·market on the 13th, the 14th is certainly a
 24· ·relevant date to look at.
 25· · · · ·Q.· ··Was there a statistically significant

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 235 of 314 PageID
                                  #: 11249
                                                                     Page 235

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·price movement on March 14, 2014?
 ·3· · · · ·A.· ··On March 14th, 2014?··No, there was
 ·4· ·not.
 ·5· · · · ·Q.· ··Can you turn to paragraph 209 of the
 ·6· ·complaint, please.
 ·7· · · · ·A.· ··Okay.
 ·8· · · · ·Q.· ··Looking at this allegation, I can't
 ·9· ·tell if plaintiffs are alleging that this was a
 10· ·misstatement date or a truth in the market date or
 11· ·what.··Do you know?
 12· · · · ·A.· ··I think they're alleging both in the
 13· ·sense that there's a reiteration of the alleged
 14· ·misstatements, but also a partial corrective
 15· ·disclosure based on the financial results.
 16· · · · ·Q.· ··So in this instance, we know that on
 17· ·July 15th, you found a price movement that was at
 18· ·least marginally significant at the 90 percent
 19· ·level; right?
 20· · · · · · · ·MS. POSNER:··Objection.
 21· · · · ·Q.· ··You can look at your Exhibit 7 for
 22· ·this.
 23· · · · ·A.· ··I find that July 15th was significant
 24· ·at the 90 percent level, and after the earnings
 25· ·call, was significant at the 95 percent level.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 236 of 314 PageID
                                  #: 11250
                                                                     Page 236

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··But it was a decline; right?
 ·3· · · · ·A.· ··Both were declines, yes.
 ·4· · · · ·Q.· ··So we finally found a statistically
 ·5· ·significant, at least at the 90 percent level,
 ·6· ·movement in the price of the common stock, but it's
 ·7· ·a decline in response to one of the four alleged
 ·8· ·misstatements made by KPMG and Miller Energy;
 ·9· ·right?
 10· · · · · · · ·MS. POSNER:··Objection.
 11· · · · ·A.· ··That's true, but there is also --
 12· ·plaintiffs are alleging at least that there was
 13· ·also partially corrective information at least over
 14· ·those two days as well.
 15· · · · ·Q.· ··What was the partially corrective
 16· ·information that came out over those two days?
 17· · · · ·A.· ··My understanding is the plaintiffs are
 18· ·alleging as part of the earnings release and the
 19· ·call, there was an acknowledgement that "costs and
 20· ·expenses were high, including DD&A expenses, and
 21· ·acknowledged that poor net income and earnings per
 22· ·share numbers were items that 'a number of our
 23· ·shareholders focused on.'"
 24· · · · · · · ·Plaintiffs talk about how "Brawley also
 25· ·acknowledged that Miller Energy's internal controls

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 237 of 314 PageID
                                  #: 11251
                                                                     Page 237

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·were still deficient, but touted the hiring of 'a
 ·3· ·junior accountant with big four accounting
 ·4· ·experience'··as a reason for investors to be
 ·5· ·optimistic."
 ·6· · · · · · · ·And then that there was discussion on
 ·7· ·the call about the cost for each well that
 ·8· ·defendants weren't able to provide complete
 ·9· ·answers.··And then they say in paragraph 213, "On
 10· ·and around this day, and on this news, risks or
 11· ·truth concealed by, or effects associated with,
 12· ·KPMG's fraud were partially revealed."
 13· · · · · · · ·So what is talked about in paragraph
 14· ·211 or 212, I understand to be the information that
 15· ·they're pointing to.
 16· · · · ·Q.· ··So the year-end disclosures for 2014
 17· ·were both the alleged misstatement that the
 18· ·plaintiffs are suing on and they're also what
 19· ·disclosed the truth partially to the market.··Have
 20· ·you ever seen that in a securities case before?
 21· · · · ·A.· ··Yes.
 22· · · · ·Q.· ··Where?
 23· · · · ·A.· ··I believe there have been a number of
 24· ·cases where defendant was making alleged false
 25· ·statements that continued to essentially give the

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 238 of 314 PageID
                                  #: 11252
                                                                     Page 238

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·market the same information over time.··And here
 ·3· ·it's alleging that the audit opinions, you know,
 ·4· ·that they were -- the financial statements were
 ·5· ·prepared consistent with GAAP, and I understand
 ·6· ·misleading or omitted other information and I don't
 ·7· ·believe the market would have seen an accountant's
 ·8· ·reiterating their accounting opinion as necessarily
 ·9· ·something that would increase the stock price on
 10· ·that given day because the market was probably
 11· ·expecting to hear that, but at the same time,
 12· ·announcing negative information that at least
 13· ·partially reveals what plaintiffs are alleging was
 14· ·misstated or concealed by the false and misleading
 15· ·statements.
 16· · · · ·Q.· ··Please turn to paragraph 215 of the
 17· ·Second Amended Complaint.··Plaintiffs in this
 18· ·paragraph refer to margin calls on November 26,
 19· ·2014.··Do you see that?
 20· · · · ·A.· ··I do.
 21· · · · ·Q.· ··Did you evaluate or give an opinion on
 22· ·whether there was a statistically significant price
 23· ·movement following this event?
 24· · · · ·A.· ··Can I have that read back, please.
 25· · · · · · · ·(Record read.)

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 239 of 314 PageID
                                  #: 11253
                                                                     Page 239

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··I mean, I haven't studied the specific
 ·3· ·timing of when those events occurred.··On the 26th,
 ·4· ·itself, I found there's not a statistically
 ·5· ·significant stock price movement.··On the following
 ·6· ·trading day of the 28th, there was.
 ·7· · · · ·Q.· ··And on December 1st as well; right?
 ·8· · · · ·A.· ··That's right.
 ·9· · · · ·Q.· ··If you look at plaintiffs' allegation
 10· ·in 215, they allege that the price of the common
 11· ·stock fell from a closing price of $3.16 on
 12· ·November 25, 2014, to $1.59 on December 1, 2014.
 13· ·Do you see that?
 14· · · · ·A.· ··I see that.
 15· · · · ·Q.· ··So plaintiffs are alleging that this
 16· ·disclosure or this event led to a decline in stock
 17· ·price over that three-day period from November 26
 18· ·through December 1; right?
 19· · · · ·A.· ··That seems to be what the allegation
 20· ·is.
 21· · · · · · · ·MS. POSNER:··Just a point of
 22· · · · ·clarification.··November 25th.
 23· · · · · · · ·MR. BALLARD:··No, the 25th was the
 24· · · · ·event day so the decline happened on November
 25· · · · ·26, 28 and December 1.··Right?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 240 of 314 PageID
                                  #: 11254
                                                                     Page 240

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·MS. POSNER:··Your question was we
 ·3· · · · ·allege, and I'm pointing out that what we
 ·4· · · · ·allege is that there was a drop from November
 ·5· · · · ·25th, from $3.16 to $1.59 on December 1,
 ·6· · · · ·2014.
 ·7· · · · ·Q.· ··Mr. Coffman, if you're evaluating
 ·8· ·plaintiffs' allegation as written here about the
 ·9· ·decline in the price from the closing price on
 10· ·November 25 through December 1, 2014, what market
 11· ·days would you look at to evaluate that?
 12· · · · ·A.· ··That would seem to encompass the market
 13· ·days of November 26th, November 28th and December
 14· ·1st.
 15· · · · ·Q.· ··Three days, not four; right?
 16· · · · ·A.· ··At least based on my reading of this,
 17· ·that's correct.
 18· · · · ·Q.· ··You would treat the November 25 day as
 19· ·the event day.··That's why you used that as the
 20· ·starting price, and then you looked to see if
 21· ·there's a change in the price on the 26th, 28th or
 22· ·December 1st; right?
 23· · · · ·A.· ··By citing a closing price on the 25th,
 24· ·I'm comparing the movement after that to that
 25· ·closing price.··My understanding is the implication

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 241 of 314 PageID
                                  #: 11255
                                                                     Page 241

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·is that the information wasn't out as of the close
 ·3· ·of November 25th.
 ·4· · · · · · · ·MR. BALLARD:··I knew I was right.
 ·5· · · · · · · ·MS. POSNER:··You're actually not, but
 ·6· · · · ·that's fine.··You were quoting what we
 ·7· · · · ·allege, so I just wanted to be clear about
 ·8· · · · ·what we actually specifically state.
 ·9· · · · · · · ·MR. BALLARD:··I understand but I also
 10· · · · ·read and understand English.
 11· · · · · · · ·MS. POSNER:··Apparently not.
 12· · · · ·Q.· ··I think you said there was no
 13· ·statistically significant price movement on
 14· ·November 26, right, and there was on November 28th
 15· ·and on December 1; right?
 16· · · · ·A.· ··Based on my event study, that's
 17· ·correct.
 18· · · · ·Q.· ··And so this would be one of those
 19· ·instances where there's no reaction on day one, but
 20· ·there is on day two and day three, and yet you
 21· ·would conclude that's still consistent with market
 22· ·efficiency?
 23· · · · · · · ·MS. POSNER:··Objection.
 24· · · · ·Q.· ··Is that your testimony?
 25· · · · ·A.· ··I haven't concluded anything about the

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 242 of 314 PageID
                                  #: 11256
                                                                     Page 242

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·timing of these -- this particular announcement or
 ·3· ·analyzed whether it makes sense to look at a one,
 ·4· ·two or three-day window so I haven't reached any
 ·5· ·conclusion about that.
 ·6· · · · ·Q.· ··Not to beat a dead horse or anything,
 ·7· ·but on November 25, 2014, looking at the closing
 ·8· ·price of 3.16, the price doesn't change after
 ·9· ·closing; right?
 10· · · · ·A.· ··Not during regular market hours.··It
 11· ·could during aftermarket trading, but I guess I
 12· ·don't see why that's relevant.··I'm saying I'm not
 13· ·sure the timing of when these margin calls
 14· ·occurred.··It's alleged that it was on November
 15· ·26th.··I'm saying it could have been after market
 16· ·on the 26th so I don't even know what day one
 17· ·actually is here.
 18· · · · · · · ·MR. BALLARD:··I'm just getting back to
 19· · · · ·my dispute with Laura about what the relevant
 20· · · · ·time period is.
 21· · · · · · · ·MS. POSNER:··I have no dispute with you
 22· · · · ·about what the relevant time period is.··I
 23· · · · ·was just correcting your reading of our
 24· · · · ·complaint.
 25· · · · · · · ·MR. BALLARD:··We will agree to disagree

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 243 of 314 PageID
                                  #: 11257
                                                                     Page 243

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·on that.
 ·3· · · · ·Q.· ··If the allegations in paragraph 215 are
 ·4· ·correct and it took three trading days for the
 ·5· ·market to react to this event, that would be a sign
 ·6· ·that the market was not efficient; correct?
 ·7· · · · ·A.· ··I think I need to give a multi-part
 ·8· ·answer to that question.··Number one, I'm not --
 ·9· ·it's not clear to me that's what actually occurred.
 10· ·Number two, to have an opinion about that, I would
 11· ·have to analyze precisely what happened and why I
 12· ·was seeing what I was seeing.
 13· · · · · · · ·If in some hypothetical world, if I saw
 14· ·an event and the first reaction to it seemed to
 15· ·occur three days later and it was clearly a widely
 16· ·available piece of information, that might cause a
 17· ·question, but if it was continuing to react because
 18· ·of some new piece of information or new analysis
 19· ·that was provided by some analyst or some other
 20· ·outlet, it might make perfect sense.··So until I
 21· ·analyze the specifics of the event and what
 22· ·occurred and why one might be observing what
 23· ·they're observing, I don't think I could draw any
 24· ·specific conclusion.
 25· · · · ·Q.· ··Let's look at paragraph 217 of the

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 244 of 314 PageID
                                  #: 11258
                                                                     Page 244

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·complaint.··Here there's an allegation about a Form
 ·3· ·8-K.··Do you see that?
 ·4· · · · ·A.· ··Yes.
 ·5· · · · ·Q.· ··As well as a Reuters report; do you see
 ·6· ·that?
 ·7· · · · ·A.· ··Yes.
 ·8· · · · ·Q.· ··And then there's an allegation that the
 ·9· ·market reacted over the period from December 4
 10· ·through December 8.··Do you see that?
 11· · · · ·A.· ··Well, I see -- I mean, in reading this
 12· ·now, one of the reasons the -- if these margin
 13· ·calls were occurring over time, that might be
 14· ·another explanation for why the price reaction is
 15· ·occurring over some period of time and then I think
 16· ·in paragraph 217 they're saying the information
 17· ·came out after market on the 14th, so it would
 18· ·effect subsequent trading days, and if I look, that
 19· ·would be the 5th and the 8th, so that would be two
 20· ·trading days.
 21· · · · ·Q.· ··Was there a statistically significant
 22· ·price movement on December 5, 2014?
 23· · · · ·A.· ··No.
 24· · · · ·Q.· ··Was there on December 8, 2014?
 25· · · · ·A.· ··Yes.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 245 of 314 PageID
                                  #: 11259
                                                                     Page 245

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··So again, another event where no
 ·3· ·reaction on day one, but there is on day two.··Is
 ·4· ·that consistent with market efficiency?
 ·5· · · · ·A.· ··It's not clear to me that how the
 ·6· ·market is reacting on day 8 relates back to what
 ·7· ·plaintiffs are alleging here.··That's an issue I
 ·8· ·would have to study.
 ·9· · · · ·Q.· ··So plaintiffs could be wrong about
 10· ·that, but if they're right about it, it's not
 11· ·consistent with market efficiency; right?
 12· · · · · · · ·MS. POSNER:··Objection.
 13· · · · ·A.· ··I would have to study it to give an
 14· ·opinion on that.
 15· · · · ·Q.· ··How many instances do I have to find
 16· ·where the market doesn't react on day one and does
 17· ·on day two for you to question whether the market
 18· ·was efficient?
 19· · · · ·A.· ··Well, you're not proving the predicate
 20· ·to your question, which is that there was -- that
 21· ·the news that the market is reacting to is from
 22· ·some multiple prior days.··That's just not
 23· ·something I've studied here.
 24· · · · ·Q.· ··Oh, I agree with you that plaintiffs
 25· ·haven't proven this allegation.··There we can agree

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 246 of 314 PageID
                                  #: 11260
                                                                     Page 246

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·on that.··But if they are to prove it and if it
 ·3· ·were true, as they alleged it, that it took a
 ·4· ·couple of days for these things to make their way
 ·5· ·into the market price, that would be inconsistent
 ·6· ·with market efficiency; correct?
 ·7· · · · · · · ·MS. POSNER:··Objection.
 ·8· · · · ·A.· ··Again, it would really depend on the
 ·9· ·facts and circumstances of each event.··I mean,
 10· ·when you're talking about the margin calls, for
 11· ·example, those could have been -- the trades
 12· ·necessary for those margin calls could have been
 13· ·happening over time or concentrated on a particular
 14· ·day after they started.
 15· · · · · · · ·I would have to study, you know, how
 16· ·exactly the information got into the market and how
 17· ·it was covered and when analysts were covering it,
 18· ·et cetera.··So I'm just not going to speculate
 19· ·about that because it would require a detailed --
 20· ·essentially drawing any conclusions about whether
 21· ·the news plaintiffs are pointing to is what
 22· ·actually caused the price movements and over what
 23· ·time, it would take a detailed analysis that I have
 24· ·not done.
 25· · · · ·Q.· ··Certainly, if you accepted plaintiffs'

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 247 of 314 PageID
                                  #: 11261
                                                                     Page 247

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·allegations as true, given what we've seen today,
 ·3· ·you've seen a number of things that would give
 ·4· ·cause for questioning whether there was market
 ·5· ·efficiency for the common stock; right?
 ·6· · · · · · · ·MS. POSNER:··Objection.
 ·7· · · · ·A.· ··No, because I mean, I don't take what
 ·8· ·plaintiffs allege in their complaint as the truth
 ·9· ·about what news was causing which price movements.
 10· · · · ·Q.· ··So perhaps if plaintiffs prove that
 11· ·their own allegations are wrong, then it would be
 12· ·consistent with your conclusion of efficiency, but
 13· ·you're not willing to accept their allegations as
 14· ·true?
 15· · · · · · · ·MS. POSNER:··Is that a question?
 16· · · · · · · ·MR. BALLARD:··Yes, it is.
 17· · · · ·A.· ··There is nothing in the formation of my
 18· ·opinions that require accepting plaintiffs'
 19· ·allegations as true in any way.
 20· · · · ·Q.· ··But accepting your opinion would
 21· ·require rejecting certain allegations of the
 22· ·complaint; correct?
 23· · · · ·A.· ··I haven't drawn that conclusion.··There
 24· ·may be other reasons for observing why what we're
 25· ·observing.··So, for example, on day one of these

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 248 of 314 PageID
                                  #: 11262
                                                                     Page 248

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·windows, maybe there was confounding positive
 ·3· ·information and so that's drowning out the effect
 ·4· ·on day one.
 ·5· · · · · · · ·I just haven't studied it, and you're
 ·6· ·asking me to speculate what the right conclusions
 ·7· ·are to draw from that and I just haven't done that
 ·8· ·analysis.
 ·9· · · · ·Q.· ··Well, with all due respect, you've
 10· ·given an opinion on market efficiency in this case
 11· ·and today is your deposition.··Today is the day for
 12· ·you to tell us if you have a basis for your
 13· ·opinion, and what it is, and the full extent of it.
 14· ·So now is your chance.
 15· · · · · · · ·Is there any way you can explain these
 16· ·anomalies we've looked at where it appears that the
 17· ·markets are not acting in an efficient way?
 18· · · · · · · ·MS. POSNER:··Objection.
 19· · · · ·A.· ··I think the predicate to your question
 20· ·is incorrect, which is that somehow what you're
 21· ·pointing out implies the market is reacting in an
 22· ·inefficient way.
 23· · · · ·Q.· ··Is that a yes or no?
 24· · · · · · · ·MS. POSNER:··Objection.
 25· · · · ·A.· ··I've laid out in my report the basis

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 249 of 314 PageID
                                  #: 11263
                                                                     Page 249

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·for my opinions on why the market is efficient, and
 ·3· ·I stand by them.
 ·4· · · · ·Q.· ··Do you want to tell the judge why you
 ·5· ·can't answer my question yes or no?
 ·6· · · · · · · ·MS. POSNER:··Objection.
 ·7· · · · ·A.· ··Can I have that question read back,
 ·8· ·please.
 ·9· · · · · · · ·(Record read.)
 10· · · · ·A.· ··And as I said, I don't believe you've
 11· ·shown me something that suggests there's an anomaly
 12· ·in which the market is behaving in an inefficient
 13· ·way.
 14· · · · ·Q.· ··We've looked at instances where the
 15· ·market didn't react on the first day, the market
 16· ·date as you defined it, in response to events that
 17· ·the plaintiffs have said are material.··That's not
 18· ·an anomaly for you?
 19· · · · ·A.· ··No, because sometimes material
 20· ·information isn't enough to change the market
 21· ·price.··Something can be material and be an
 22· ·important thing for a shareholder to consider, but
 23· ·not be sufficient to move the stock market price in
 24· ·a significant way.
 25· · · · · · · ·I think you're imputing into your

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 250 of 314 PageID
                                  #: 11264
                                                                     Page 250

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·questions that the plaintiffs are absolutely right
 ·3· ·about how to interpret what events moved the price
 ·4· ·on which days, and I'm saying I'm not taking that
 ·5· ·as a predicate to my opinion.··I've analyzed market
 ·6· ·efficiency on the basis of the analyses that are in
 ·7· ·my report.
 ·8· · · · ·Q.· ··Please turn to paragraph 218 of the
 ·9· ·Second Amended Complaint.
 10· · · · ·A.· ··Okay.
 11· · · · ·Q.· ··In paragraph 218, the plaintiffs allege
 12· ·that "On December 10, 2014, as the trading day
 13· ·began, Miller Energy filed a Form 8-K, attaching
 14· ·its earnings release for the second quarter of
 15· ·fiscal year 2015, ending October 31, 2014.··In that
 16· ·release, the Company announced during that quarter
 17· ·it, 'recognized a $265.3 million non-cash
 18· ·impairment charge related to its Redoubt field of
 19· ·proved and unproved properties.··The proved and
 20· ·unproved properties were written down to their
 21· ·estimated fair value."
 22· · · · · · · ·Do you see that?
 23· · · · ·A.· ··I see that.
 24· · · · ·Q.· ··Then plaintiffs allege that there were
 25· ·some comments on an earnings call that day about

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 251 of 314 PageID
                                  #: 11265
                                                                     Page 251

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·expense overruns and costs factored into the
 ·3· ·impairment.··Do you see that?
 ·4· · · · ·A.· ··I see that.
 ·5· · · · ·Q.· ··And then it says the company also
 ·6· ·announced a loss of $285.7 million.··Do you see
 ·7· ·that?
 ·8· · · · ·A.· ··I see that.
 ·9· · · · ·Q.· ··Was there a statistically significant
 10· ·movement in the price of Miller Energy's common
 11· ·stock in response to the disclosures on March 12,
 12· ·2015, that came out at 7:00 a.m. in the morning?
 13· ·So that's 16 on your report.
 14· · · · ·A.· ··I'm confused because you were reading
 15· ·me stuff about December 10 and then switched to
 16· ·March 12.
 17· · · · ·Q.· ··You're right.··I read the wrong date.
 18· ·Let me rephrase that.··You're looking at Exhibit 7?
 19· · · · ·A.· ··Yes.··And Exhibit 33 of -- Deposition
 20· ·Exhibit 33 as well.
 21· · · · ·Q.· ··Let me rephrase that.··So in paragraph
 22· ·218, there's an allegation about the Form 8-K on
 23· ·December 10, 2014.··Right?··That's what you're
 24· ·looking at?
 25· · · · ·A.· ··That's what you're referring to, yes.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 252 of 314 PageID
                                  #: 11266
                                                                     Page 252

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··And that's the one where there was a
 ·3· ·disclosure of a $265.3 million non-cash impairment
 ·4· ·charge related to the Alaska Assets; right?
 ·5· · · · ·A.· ··That's my understanding of what they're
 ·6· ·alleging, yes.
 ·7· · · · ·Q.· ··Returning to your Exhibit 7, does that
 ·8· ·appear on your list of events?
 ·9· · · · ·A.· ··December 10th, 2014 does, yes.
 10· · · · ·Q.· ··And that's event number 15; right?
 11· · · · ·A.· ··Yes.
 12· · · · ·Q.· ··Was there a statistically significant
 13· ·reaction in the price of the common stock?
 14· · · · ·A.· ··Not according to the event study, no.
 15· · · · ·Q.· ··Please turn to paragraph 222 of the
 16· ·complaint.
 17· · · · ·A.· ··Okay.
 18· · · · ·Q.· ··There's an allegation here about a
 19· ·disclosure on March 12, 2015.··Do you see that?
 20· · · · ·A.· ··I see that.
 21· · · · ·Q.· ··And this allegation states that "The
 22· ·Company revealed it was taking another $149.1
 23· ·million of impairment charges on the Alaska Assets,
 24· ·increasing total impairment to $414.4 million."
 25· · · · · · · ·Do you see that?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 253 of 314 PageID
                                  #: 11267
                                                                     Page 253

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Yes.
 ·3· · · · ·Q.· ··Did the price of the common stock react
 ·4· ·to this announcement?
 ·5· · · · ·A.· ··It does not appear there was a
 ·6· ·statistically significant result on March -- the
 ·7· ·complaint is referencing March 13.··It does not
 ·8· ·appear there's a statistically significant
 ·9· ·announcement there.
 10· · · · ·Q.· ··So there were two dates on which the
 11· ·company disclosed large impairment charges related
 12· ·to the Alaska Assets and on neither did the stock
 13· ·price react in a statistically significant way; is
 14· ·that correct?
 15· · · · · · · ·MS. POSNER:··Objection.
 16· · · · ·A.· ··At least on these two events, that's
 17· ·true.
 18· · · · ·Q.· ··And you are aware that this whole case
 19· ·is about the value of the Alaska Assets; right?
 20· · · · ·A.· ··My understanding is that the complaint
 21· ·is based on an allegation that the Alaska Assets
 22· ·were overvalued by Miller Energy in violation of
 23· ·GAAP, and that KPMG, nevertheless, provided a clean
 24· ·audit opinion.
 25· · · · ·Q.· ··And it's your understanding, based on

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 254 of 314 PageID
                                  #: 11268
                                                                     Page 254

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·your work, that in the four instances when KPMG
 ·3· ·made a public statement in the form of an audit
 ·4· ·opinion on the financial statements, the price
 ·5· ·never went up in a statistically significant way in
 ·6· ·reaction to those statements, and it also didn't go
 ·7· ·down when the company disclosed large impairment
 ·8· ·charges related to the Alaska Assets; correct?
 ·9· · · · · · · ·MS. POSNER:··Objection.
 10· · · · ·A.· ··Well, I believe it might have gone up
 11· ·on the first announcement of the audit opinion,
 12· ·based on my review of plaintiffs' complaint and the
 13· ·review of my event study.··On the two dates you
 14· ·pointed me to where they allege impairment charges,
 15· ·my event study does not suggest there's a
 16· ·statistically significant decline.
 17· · · · ·Q.· ··What you just testified to about the
 18· ·price possibly going up on one day, that's nowhere
 19· ·in your report; right?
 20· · · · ·A.· ··Well, it's in my backup materials that
 21· ·shows that there's a positive statistically
 22· ·significant stock price movement on August 29th.
 23· · · · ·Q.· ··It's nowhere in your report; right?
 24· · · · ·A.· ··It's not reflected in the text of my
 25· ·report.··It's reflected in my backup materials.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 255 of 314 PageID
                                  #: 11269
                                                                     Page 255

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··None of the backup materials attached
 ·3· ·to your report reflect that; correct?
 ·4· · · · ·A.· ··That there's a statistically
 ·5· ·significant stock price movement on August 29th,
 ·6· ·2011, there is.
 ·7· · · · ·Q.· ··Where?
 ·8· · · · ·A.· ··On Exhibit 33.
 ·9· · · · ·Q.· ··That's not attached to your report.
 10· · · · ·A.· ··I'm sorry.··I didn't catch the
 11· ·"attached to my report" part of the question.
 12· · · · ·Q.· ··Let me rephrase the question.··You
 13· ·produced a report and exhibits in this case that
 14· ·are intended to contain a complete statement of
 15· ·your opinions as required by the Federal Rules;
 16· ·correct?
 17· · · · ·A.· ··Yes.
 18· · · · ·Q.· ··The testimony you just gave about the
 19· ·stock price possibly going up in response to KPMG's
 20· ·statements is nowhere to be found in that report or
 21· ·the exhibits to it; correct?
 22· · · · ·A.· ··It's not.··Again, the purpose of my
 23· ·report was not to evaluate that question.··It was
 24· ·to evaluate whether there was evidence of market
 25· ·efficiency.··So the fact that that particular

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 256 of 314 PageID
                                  #: 11270
                                                                     Page 256

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·conclusion or data isn't in my report is not
 ·3· ·particularly relevant to this question.
 ·4· · · · ·Q.· ··You actually excluded that date from
 ·5· ·your report and you did so quite intentionally
 ·6· ·because you deemed it an outlier; right?
 ·7· · · · · · · ·MS. POSNER:··Objection.
 ·8· · · · ·A.· ··Well, no.··I excluded it from the
 ·9· ·estimation window for future dates because there
 10· ·was clearly important firm-specific information and
 11· ·a huge stock price movement on that day.··That's
 12· ·why it was excluded.
 13· · · · · · · ·I didn't exclude it because it was
 14· ·KPMG's statement or for any other reason.··It would
 15· ·have biased my event study results on future days
 16· ·to continue including that date in the estimation
 17· ·period.··It's a different issue.
 18· · · · ·Q.· ··Do you have any explanation for why the
 19· ·price of the common stock didn't go down in
 20· ·response to the disclosures about the impairment
 21· ·charges on December 10, 2014 and March 12, 2015?
 22· · · · · · · ·MS. POSNER:··Objection.
 23· · · · · · · ·THE WITNESS:··Can I have that read back
 24· · · · ·please.
 25· · · · · · · ·(Record read.)

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 257 of 314 PageID
                                  #: 11271
                                                                     Page 257

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··That's not something I formed a
 ·3· ·conclusion on, no.
 ·4· · · · ·Q.· ··I'd like to talk a little bit about the
 ·5· ·event studies you conducted with respect to the
 ·6· ·Series C and Series D preferred shares, so please
 ·7· ·turn to page 37 of your report.
 ·8· · · · ·A.· ··Okay.
 ·9· · · · ·Q.· ··So your discussion of the event studies
 10· ·for the preferred securities, it looks like it
 11· ·starts on page 33; is that right?
 12· · · · ·A.· ··Yes.
 13· · · · ·Q.· ··And if you look at paragraph 70, you
 14· ·refer to an October 5, 2012 offering of 685,000
 15· ·shares of the C series; right?
 16· · · · ·A.· ··Correct.
 17· · · · ·Q.· ··Do you know how many of those shares
 18· ·were sold in that offering?
 19· · · · ·A.· ··I thought it was those 685,000 shares,
 20· ·but I believe that's -- I'm using their SEC filing
 21· ·to state that's what they were offering.··I guess I
 22· ·don't know precisely how many were sold on that
 23· ·day.
 24· · · · ·Q.· ··You referred to the Form 10-Q, right,
 25· ·in the footnote?··And the 10-Q states "On September

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 258 of 314 PageID
                                  #: 11272
                                                                     Page 258

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·28, 2012, we sold 685,000 shares of the company's
 ·3· ·newly designated 10.75 percent Series C cumulative
 ·4· ·redeemable preferred stock, the Series C preferred
 ·5· ·stock, pursuant to the company's shelf registration
 ·6· ·statement."
 ·7· · · · · · · ·So did you take that to mean that they
 ·8· ·sold the entirety of the 685,000 shares?
 ·9· · · · ·A.· ··Yes.··That helps remind me of why I was
 10· ·able to make that statement, yes, or that they were
 11· ·sold, not just offered.
 12· · · · ·Q.· ··And they entered the market at $23 per
 13· ·share; right?
 14· · · · ·A.· ··That's what they were sold for.
 15· · · · ·Q.· ··On the next page, in paragraph 71, you
 16· ·refer to an additional offering of C series shares
 17· ·in October of 2012 which was an at-the-market
 18· ·issuance.··Do you see that?
 19· · · · ·A.· ··Yes.
 20· · · · ·Q.· ··So those shares were sold into the
 21· ·market at varying prices over time; correct?
 22· · · · ·A.· ··That's my understanding, yes.
 23· · · · ·Q.· ··And then at the end of that paragraph,
 24· ·you indicate that Miller Energy issued an
 25· ·additional 625,000 shares of the C series at $22.9

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 259 of 314 PageID
                                  #: 11273
                                                                     Page 259

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·per share.··Do you see that?
 ·3· · · · ·A.· ··Yes.
 ·4· · · · ·Q.· ··So those shares entered the market at
 ·5· ·$22.9 a share; right?
 ·6· · · · ·A.· ··Yes.··When you say entered the market,
 ·7· ·that's what they were sold for, yes.
 ·8· · · · ·Q.· ··There were different initial prices for
 ·9· ·the C series shares as they were sold originally
 10· ·into the market; correct?
 11· · · · ·A.· ··When you say initial prices, that was
 12· ·just the price, because it's one transaction when
 13· ·they bought the stock.
 14· · · · ·Q.· ··Some people bought the stock as an
 15· ·initial matter at $23 a share.··Some people bought
 16· ·it initially at $22.90 a share and some people
 17· ·bought it in the aftermarket offerings at a variety
 18· ·of other prices; correct?
 19· · · · ·A.· ··That's consistent with my
 20· ·understanding, yes, that there were different
 21· ·transaction prices for the sales of these shares.
 22· · · · ·Q.· ··If you look at the complaint, and
 23· ·paragraph 317, you will see an allegation that
 24· ·"This Count," the Section 11 count, "is brought in
 25· ·connection with each of the Offerings (except for

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 260 of 314 PageID
                                  #: 11274
                                                                     Page 260

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·the February 13, 2013 Offering)."
 ·3· · · · · · · ·Do you see that?
 ·4· · · · ·A.· ··I see that.
 ·5· · · · ·Q.· ··If you turn to paragraph 286, you will
 ·6· ·see a list of offerings.··Do you see that?
 ·7· · · · ·A.· ··Yes.
 ·8· · · · ·Q.· ··There are three Series C offerings
 ·9· ·listed here.··Do you see those?
 10· · · · ·A.· ··Yes.
 11· · · · ·Q.· ··There's a May 7, 2013 offering where
 12· ·shares were sold at $22.25 and that was 500,000
 13· ·shares; right?
 14· · · · ·A.· ··I'm sorry.··I was looking at something
 15· ·and lost the context of your question.··Can you
 16· ·re-ask it please.
 17· · · · ·Q.· ··Looking at the Second Amended
 18· ·Complaint, paragraph 286, you can see that on May
 19· ·7, 2013, according to plaintiffs, there were
 20· ·500,000 additional C series shares that were sold
 21· ·at $22.25.··Right?
 22· · · · ·A.· ··I see that.
 23· · · · ·Q.· ··And then the plaintiffs allege that on
 24· ·June 27, 2013, there was another offering in which
 25· ·335,000 Series C shares were offered at $21.50;

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 261 of 314 PageID
                                  #: 11275
                                                                     Page 261

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·right?
 ·3· · · · ·A.· ··Yes.
 ·4· · · · ·Q.· ··And comparing that list with the
 ·5· ·allegation in paragraph 13, you can see that the
 ·6· ·plaintiffs are alleging that the Section 11 claim
 ·7· ·is asserted on behalf of those who purchased in or
 ·8· ·can trace their shares to the May 7, 2013 and the
 ·9· ·June 27, 2013 offerings; is that correct?
 10· · · · · · · ·MS. POSNER:··For Series C.
 11· · · · · · · ·MR. BALLARD:··For Series C.
 12· · · · ·A.· ··So just so I make sure I understand the
 13· ·question, paragraph 286 lists the -- not the
 14· ·initial offering of Series C, but the additional
 15· ·offerings after the initial offering in February,
 16· ·May and June of 2013.
 17· · · · ·Q.· ··Those are the offerings that are at
 18· ·issue in the case with the exception that February
 19· ·13, 2013 is excluded as stated in paragraph 317 of
 20· ·the complaint.··Do you see that?
 21· · · · ·A.· ··I mean, I see that.··I mean, this
 22· ·strikes me as a legal issue over which they're
 23· ·bringing claims on versus which they're not, which
 24· ·I haven't really studied, but I see what you're
 25· ·pointing me to.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 262 of 314 PageID
                                  #: 11276
                                                                     Page 262

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··So the Section 11 claim is not asserted
 ·3· ·in connection with the February 2013 offering of
 ·4· ·625,000 C series shares.··You can see that; right?
 ·5· ·It says so right in 317.
 ·6· · · · ·A.· ··That seems to be what it's indicating.
 ·7· · · · ·Q.· ··And the Section 11 claim is also not
 ·8· ·asserted in connection with the October 2012
 ·9· ·at-the-market offering or the October 2012 offering
 10· ·of 685,000 C series shares.··You see that; right?
 11· · · · ·A.· ··You're suggesting it doesn't include
 12· ·the October 5th initial offering of 685,000 shares?
 13· · · · ·Q.· ··That's right.
 14· · · · · · · ·MS. POSNER:··Can you read back the
 15· · · · ·question.··I just want to make sure he said
 16· · · · ·the Section 11 claim.
 17· · · · · · · ·(Record read.)
 18· · · · ·Q.· ··So let me ask this:··Would you agree
 19· ·there were at least 680,000 plus 625,000 for a
 20· ·total of over 1.3 million C series shares in the
 21· ·market that are not at issue in the Section 11
 22· ·claim in this case?
 23· · · · ·A.· ··Again, this is an issue I haven't
 24· ·focused on.··I think if what you're representing,
 25· ·which is that the initial offering of 685,000

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 263 of 314 PageID
                                  #: 11277
                                                                     Page 263

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·shares is not part of this case, and the 625,000
 ·3· ·shares offered in February are not part of this
 ·4· ·case, that would imply that there is over a million
 ·5· ·shares of Series C that are not subject to Section
 ·6· ·11 damages or Section 11 claims.
 ·7· · · · · · · ·Whether that's an appropriate legal
 ·8· ·reading of this or not, I don't know, but from a
 ·9· ·mathematical perspective, if those offerings don't
 10· ·have Section 11 claims, what you're saying is
 11· ·right.
 12· · · · · · · ·MR. BALLARD:··Mark this as the next
 13· · · · ·exhibit.
 14· · · · · · · ·(Exhibit 37, Certification of Martin
 15· · · · ·Ziesman, marked for identification, as of
 16· · · · ·this date.)
 17· · · · · · · ·THE WITNESS:··I was going to say that's
 18· · · · ·true at some point in time.··Obviously,
 19· · · · ·before October 5th, 2012 -- before the
 20· · · · ·February 2013 date, it's only 685,000, but
 21· · · · ·collectively after the fact, what you said is
 22· · · · ·right.
 23· · · · ·Q.· ··Please look at Defendant's Exhibit 37
 24· ·and you can turn to the certification and it's the
 25· ·certification of Mr. Martin Ziesman, and attached

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 264 of 314 PageID
                                  #: 11278
                                                                     Page 264

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·is a Schedule A which lists his purchase of C
 ·3· ·series shares.··Do you see that?
 ·4· · · · ·A.· ··Okay, I see that.
 ·5· · · · ·Q.· ··Mr. Ziesman says he bought 1,000 shares
 ·6· ·of the C series stock on June 4, 2014, at a price
 ·7· ·of $25.4292 per share.··Right?
 ·8· · · · ·A.· ··That's what it appears to assert, yes.
 ·9· · · · ·Q.· ··And that's the only purchase he says he
 10· ·made; right?
 11· · · · ·A.· ··In this declaration, that's true, or
 12· ·certification, that's true.
 13· · · · ·Q.· ··So from this you can tell he didn't buy
 14· ·those shares in the October 2014 initial offering;
 15· ·right?
 16· · · · ·A.· ··I don't think your question was right.
 17· · · · ·Q.· ··He did not buy his shares in the
 18· ·original offering in October 2012; right?
 19· · · · ·A.· ··That seems unlikely, yes.
 20· · · · ·Q.· ··It was years later.
 21· · · · ·A.· ··And at a different price.··Yes, that
 22· ·doesn't seem right.
 23· · · · ·Q.· ··He didn't buy them in the at-the-market
 24· ·offering that began in October 2012 either;
 25· ·correct?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 265 of 314 PageID
                                  #: 11279
                                                                     Page 265

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··It doesn't appear so, but I haven't
 ·3· ·studied how long that at-the-market offering took
 ·4· ·place, but given that it's almost two years later,
 ·5· ·I would agree with that.
 ·6· · · · ·Q.· ··Mr. Ziesman didn't buy in the February
 ·7· ·2013 offering; correct?
 ·8· · · · ·A.· ··No.
 ·9· · · · ·Q.· ··And he didn't buy in the May 7, 2013
 10· ·offering; right?
 11· · · · ·A.· ··No.
 12· · · · ·Q.· ··He didn't buy in the June 27, 2013
 13· ·offering; right?
 14· · · · ·A.· ··No.
 15· · · · ·Q.· ··Mr. Ziesman obviously bought in the
 16· ·aftermarket; correct?
 17· · · · ·A.· ··Well, when you say aftermarket, do you
 18· ·mean in the secondary market?
 19· · · · ·Q.· ··Yes.
 20· · · · ·A.· ··I don't know that for -- well, give me
 21· ·just a second.
 22· · · · · · · ·That appears to be the case, yes, or
 23· ·that would be an inference I would likely draw from
 24· ·this.
 25· · · · ·Q.· ··Do you know if the 1,000 Series C

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 266 of 314 PageID
                                  #: 11280
                                                                     Page 266

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·shares that Mr. Ziesman acquired in June of 2014
 ·3· ·came from the batch that was offered originally in
 ·4· ·October of 2012?
 ·5· · · · ·A.· ··I don't know that.
 ·6· · · · ·Q.· ··Do you know if they came from the
 ·7· ·February 2013 offering?
 ·8· · · · ·A.· ··I don't know that.
 ·9· · · · ·Q.· ··Do you know if they came from the May
 10· ·7, 2013 offering?
 11· · · · ·A.· ··It had to come from one of the
 12· ·offerings, but I don't know which offering it came
 13· ·from.
 14· · · · ·Q.· ··It could have come from the
 15· ·at-the-market or any of the other offerings, right,
 16· ·you just don't know which one?
 17· · · · ·A.· ··I don't know.
 18· · · · ·Q.· ··Do you know of any way you could trace
 19· ·those particular shares to any particular offering?
 20· · · · ·A.· ··I don't know the answer to that,
 21· ·whether there's a way or not.
 22· · · · ·Q.· ··So they may have come from one of the
 23· ·offerings that is at issue in the case or they
 24· ·might have come from one of the offerings that is
 25· ·not at issue in this case as far as you know;

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 267 of 314 PageID
                                  #: 11281
                                                                     Page 267

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·right?
 ·3· · · · · · · ·MS. POSNER:··Objection.
 ·4· · · · ·A.· ··As far as I know, that's not an issue
 ·5· ·I've investigated.
 ·6· · · · ·Q.· ··So returning to your discussion of the
 ·7· ·preferred shares, you included some exhibits where
 ·8· ·you included your event studies related to the
 ·9· ·preferred shares; right?
 10· · · · ·A.· ··I have exhibits that summarize that.··I
 11· ·also provided backup material with the details but
 12· ·yeah, there are a number of exhibits that summarize
 13· ·my findings from those event studies and other
 14· ·data.
 15· · · · ·Q.· ··And those are Exhibits 9 and 10 relate
 16· ·to the C series, and 11 and 12 relate to the D
 17· ·series; right?
 18· · · · ·A.· ··Again, it goes beyond the event study,
 19· ·but Exhibit 9 and 10 are addressing cause and
 20· ·effect for the C series, and 11 and 12 are
 21· ·addressing it for the D series, and then there's
 22· ·also text -- it's also discussed in the text and
 23· ·there are charts in the text as well.
 24· · · · ·Q.· ··Let's look at the text on page 37,
 25· ·paragraph 74 and 75.··This is one of the places you

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 268 of 314 PageID
                                  #: 11282
                                                                     Page 268

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·discuss the preferred securities; correct?
 ·3· · · · ·A.· ··Yes.
 ·4· · · · ·Q.· ··And in paragraph 74 in the middle you
 ·5· ·write, "From the time of the issuance of each of
 ·6· ·the preferred securities to the time where the
 ·7· ·market prices substantially fall below the par
 ·8· ·value (and therefore indicating an increased risk
 ·9· ·of default) market price would be driven primarily
 10· ·by changes in the time value of money (i.e., the
 11· ·applicable discount rate)."
 12· · · · · · · ·Do you see that?
 13· · · · ·A.· ··Yes.
 14· · · · ·Q.· ··And then you say market prices would
 15· ·not be expected to be sensitive to all the factors
 16· ·that impact the common stock; right?
 17· · · · ·A.· ··Correct.
 18· · · · ·Q.· ··So you did an event study for the
 19· ·period after October 15, 2014, when you expected
 20· ·the market prices would be more sensitive to
 21· ·information about the financial condition of the
 22· ·company; is that fair?
 23· · · · ·A.· ··Yeah, where I would expect it to be
 24· ·more sensitive to company-specific information.
 25· · · · ·Q.· ··Did you conduct an event study or any

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 269 of 314 PageID
                                  #: 11283
                                                                     Page 269

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·study to assess whether there was a cause and
 ·3· ·effect relationship between events affecting the
 ·4· ·time value of money and movements in the price of
 ·5· ·the preferred stock?
 ·6· · · · ·A.· ··No.
 ·7· · · · ·Q.· ··So you have no event study examining
 ·8· ·the period from the beginning of the analysis
 ·9· ·period up to October 15, 2014; correct?
 10· · · · ·A.· ··I have an event study.··I performed the
 11· ·regression analysis.··I don't rely on a testing any
 12· ·of dates during that period to evaluate market
 13· ·efficiency.
 14· · · · ·Q.· ··You could have done an event study to
 15· ·assess whether there was a cause and effect
 16· ·relationship between events affecting the time
 17· ·value of money and movements in the price of the
 18· ·stock prior to October 15, 2014; right?
 19· · · · ·A.· ··Well, that paragraph 47 of my report,
 20· ·when I'm citing Cammer, it's saying "One of the
 21· ·most convincing ways to demonstrate market
 22· ·efficiency would be to demonstrate, over time, a
 23· ·cause and effect relationship between company
 24· ·disclosures and resulting movements in stock
 25· ·price."

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 270 of 314 PageID
                                  #: 11284
                                                                     Page 270

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·So I interpret that to mean
 ·3· ·company-specific information or company specific --
 ·4· ·so the time value of money component would be more
 ·5· ·of an independent market effect, not a
 ·6· ·company-specific event.
 ·7· · · · ·Q.· ··You could still test it; couldn't you?
 ·8· · · · ·A.· ··One could test whether the prices were
 ·9· ·sensitive to things like interest rates, et cetera.
 10· · · · ·Q.· ··And that would bear on the question of
 11· ·whether the market is efficient; correct?
 12· · · · ·A.· ··It may.
 13· · · · ·Q.· ··But you chose not to do that kind of
 14· ·analysis?
 15· · · · ·A.· ··I did not do that analysis, that's
 16· ·correct.
 17· · · · ·Q.· ··So you do not have evidence or an
 18· ·opinion on whether there was a cause and effect
 19· ·relationship between events affecting the time
 20· ·value of money and movements in the price of the
 21· ·preferred stock in the period from the beginning of
 22· ·the analysis period up through October 15, 2014;
 23· ·correct?
 24· · · · ·A.· ··That was not the focus of my analysis,
 25· ·to analyze the changes in the time value of money.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 271 of 314 PageID
                                  #: 11285
                                                                     Page 271

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·My focus was to analyze whether during the period
 ·3· ·where it would be expected to respond to
 ·4· ·company-specific information, whether there was
 ·5· ·evidence that it did have a cause and effect
 ·6· ·relationship during that period.
 ·7· · · · ·Q.· ··The preferred securities had a debt
 ·8· ·component and an equity component; right?
 ·9· · · · ·A.· ··I think -- a debt-like component and an
 10· ·equity-like components, yes.··It's not like it's a
 11· ·strict combination of the two in a strict way, but
 12· ·yes, it had those sorts of components.
 13· · · · ·Q.· ··Just focus on the Series C for a
 14· ·moment.··They were paying an interest rate of 10.75
 15· ·percent; right?
 16· · · · ·A.· ··If there were going to be dividends
 17· ·paid, that's the rate at which the dividends were
 18· ·going to be paid.
 19· · · · ·Q.· ··Do you remember what interest rates
 20· ·were back then?
 21· · · · ·A.· ··Could you be more specific about what
 22· ·interest rate?
 23· · · · ·Q.· ··Well, we can cut right to the chase on
 24· ·this.··10.75 percent was pretty high, indicating
 25· ·that this was a risky security; right?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 272 of 314 PageID
                                  #: 11286
                                                                     Page 272

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·MS. POSNER:··Objection.
 ·3· · · · ·A.· ··This security certainly had risk and
 ·4· ·the 10.7 percent being above the risk-free rate,
 ·5· ·certainly indicates that, yes.
 ·6· · · · ·Q.· ··Investors were demanding a significant
 ·7· ·premium over the risk-free rate for this security;
 ·8· ·right?
 ·9· · · · ·A.· ··Yes.
 10· · · · · · · ·MS. POSNER:··Objection.
 11· · · · ·Q.· ··Given that, why wouldn't you expect the
 12· ·security price to react to information about the
 13· ·financial condition about the company?
 14· · · · ·A.· ··I'm not saying it couldn't.··I'm saying
 15· ·during a period where the prices are substantially
 16· ·below par value is when you would expect it to be
 17· ·more sensitive to company-specific information
 18· ·where there's -- the data would be more powerful
 19· ·for testing the cause and effect question.
 20· · · · ·Q.· ··So you could have done an event study
 21· ·for company announcements for the period from the
 22· ·beginning of the analysis period up to October 14,
 23· ·2015 as well, but you just didn't do it?
 24· · · · · · · ·MS. POSNER:··Objection.
 25· · · · ·A.· ··I could have.··It just would not have

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 273 of 314 PageID
                                  #: 11287
                                                                     Page 273

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·surprised me to find that the securities weren't
 ·3· ·reacting to that information, so I didn't view that
 ·4· ·as a powerful test of cause and effect.··Because
 ·5· ·for a bond, a bond-like instrument, as I described
 ·6· ·in the report, the focus of the market would be on
 ·7· ·the ability to pay the dividend, not the excess
 ·8· ·equity value over the -- in other words, the
 ·9· ·equity-like components would not be as significant.
 10· · · · ·Q.· ··So if you did an event study of some
 11· ·type for the period up to October 15, 2014, you
 12· ·thought it wouldn't provide evidence of efficiency?
 13· · · · · · · ·MS. POSNER:··Objection.··That's not
 14· · · · ·what he testified to.
 15· · · · ·A.· ··No.··I said that during that period, it
 16· ·would not likely be a powerful test because the
 17· ·types of events like earnings announcements that I
 18· ·test for the common stock wouldn't be expected to
 19· ·alter the price of the security unless there was a
 20· ·fundamental change in the liquidity of the company
 21· ·or perceived liquidity of the company.
 22· · · · ·Q.· ··For purposes of the preferred
 23· ·securities, you divided the analysis period into
 24· ·two parts, divided by the date October 15, 2014;
 25· ·right?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 274 of 314 PageID
                                  #: 11288
                                                                     Page 274

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··I ran a different model before and
 ·3· ·after that date, that's correct, yes.
 ·4· · · · ·Q.· ··You ran a model after that date, and
 ·5· ·you didn't before that date; right?
 ·6· · · · ·A.· ··Well, I ran a model.··I just didn't
 ·7· ·select any dates to test where there was obvious
 ·8· ·firm-specific information that I thought would
 ·9· ·likely change or had a high degree of possibility
 10· ·of changing the value of the security in a
 11· ·significant way.
 12· · · · ·Q.· ··This methodology that you have
 13· ·described in your report where you constructed two
 14· ·different fixed estimation windows for the
 15· ·preferred securities, is that something you've seen
 16· ·in other cases?
 17· · · · ·A.· ··It's certainly something where there is
 18· ·an obvious change in what the market would be
 19· ·considering as factors affecting the value to use a
 20· ·different estimation period for that portion of the
 21· ·relevant period.
 22· · · · ·Q.· ··Have you done this in any other cases?
 23· · · · ·A.· ··I believe there are other cases where I
 24· ·have used fixed regression windows for certain
 25· ·portions of analysis or class periods, yes.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 275 of 314 PageID
                                  #: 11289
                                                                     Page 275

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··Is this a common technique?
 ·3· · · · ·A.· ··I think it's very common when there's a
 ·4· ·reason to believe that there's been a fundamental
 ·5· ·change in the factors that affect the
 ·6· ·return-generating process of the security, yes.
 ·7· · · · ·Q.· ··Is there any academic literature
 ·8· ·supporting this methodology?
 ·9· · · · ·A.· ··I think there's general academic
 10· ·literature that supports that if you observe a
 11· ·security over a period of time and have economic
 12· ·reasons to believe the security will behave
 13· ·differently in two different periods, to run two
 14· ·different regressions to study those periods.··I
 15· ·believe that is, yes.
 16· · · · ·Q.· ··Where can I find that?
 17· · · · ·A.· ··I think the general concepts of how a
 18· ·regression model would be biased if you didn't do
 19· ·it in the face of different -- of a
 20· ·return-generating process having changed or an
 21· ·underlying model having changed, and you didn't
 22· ·adjust for it, how that would be biased is in basic
 23· ·econometrics textbooks, but the specific use of
 24· ·different regressions for an event study over
 25· ·different periods, I don't recall the specific

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 276 of 314 PageID
                                  #: 11290
                                                                     Page 276

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·literature, but it's certainly something that I
 ·3· ·recall having read about.
 ·4· · · · ·Q.· ··Let's look at Exhibit No. 11 to your
 ·5· ·report.··Exhibit 11 summarizes the event study you
 ·6· ·conducted with respect to the D series.··Is that
 ·7· ·right?
 ·8· · · · ·A.· ··This summarizes the event study results
 ·9· ·for the D series, yes, or at least the dates of
 10· ·material announcements, yes.
 11· · · · ·Q.· ··Let's back up.··I want to look at the C
 12· ·series first.··Let's go to Exhibit 9.
 13· · · · ·A.· ··Okay.
 14· · · · ·Q.· ··Exhibit 9 shows a summary of your event
 15· ·study for the C series; right?
 16· · · · ·A.· ··Yes.··And again, there's more beyond
 17· ·this, but this summarizes the results for the
 18· ·specific days that I'm testing.
 19· · · · ·Q.· ··And in this, you look at nine events;
 20· ·right?
 21· · · · ·A.· ··Just to be clear, I also look at the
 22· ·194 no news events, so that's not summarized here
 23· ·but this is the nine events that I'm calling the
 24· ·news days or events that I'm testing.
 25· · · · ·Q.· ··And you compared the results you found

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 277 of 314 PageID
                                  #: 11291
                                                                     Page 277

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·on the nine news or event days with the results you
 ·3· ·found on the no news days; right?
 ·4· · · · ·A.· ··That's correct.
 ·5· · · · ·Q.· ··So for this analysis here, you included
 ·6· ·earnings releases as well as certain other events;
 ·7· ·right?
 ·8· · · · ·A.· ··That's correct, yes.
 ·9· · · · ·Q.· ··On the common stock, you looked at only
 10· ·earnings releases; right?
 11· · · · ·A.· ··That's correct.
 12· · · · ·Q.· ··Why a different methodology?
 13· · · · ·A.· ··Because the Series C and Series D were
 14· ·offered -- a couple of different reasons.··Number
 15· ·one, they're offered later in the class period.
 16· · · · · · · ·Number two, over the period in which
 17· ·they're trading at par value, I wouldn't, for the
 18· ·reasons described, wouldn't expect them to respond
 19· ·to quarterly earnings announcements frequently.··So
 20· ·that was going to leave me with a small sample size
 21· ·of dates to test.
 22· · · · · · · ·Three would not be -- I think there's
 23· ·three earnings announcements over the relevant
 24· ·period for performing this test so I attempted to
 25· ·identify an additional category or categories of

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 278 of 314 PageID
                                  #: 11292
                                                                     Page 278

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·dates that would be relevant to test.
 ·3· · · · ·Q.· ··Wait a minute.··This analysis here on
 ·4· ·Exhibit 9 is for the period when you said after
 ·5· ·October 15, 2014, you would expect the market
 ·6· ·prices of the preferred C series shares to react to
 ·7· ·earnings announcements; right?
 ·8· · · · ·A.· ··Or at least could potentially, but I
 ·9· ·describe in the report how I'm not surprised that
 10· ·they don't, given that the market price of the
 11· ·common stock didn't react to these particular
 12· ·earnings announcements either.
 13· · · · ·Q.· ··If you look at Exhibit 9 for this C
 14· ·series and you look at the earnings releases, that
 15· ·would be events 2, 4 and 8; right?
 16· · · · ·A.· ··That's correct.
 17· · · · ·Q.· ··And the price of the preferred stock,
 18· ·the C series, never reacted in a statistically
 19· ·significant way to an earnings release; correct?
 20· · · · · · · ·MS. POSNER:··Objection.
 21· · · · ·A.· ··That's correct, and what I'm saying is
 22· ·that that's not in any way inconsistent with market
 23· ·efficiency given that the common stock didn't react
 24· ·significantly to those either.
 25· · · · ·Q.· ··If you used the same methodology for

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 279 of 314 PageID
                                  #: 11293
                                                                     Page 279

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·the C series that you did for the common stock, you
 ·3· ·would have found no cause and effect relationship
 ·4· ·between the release of new information and
 ·5· ·movements in the price of the preferred stock; is
 ·6· ·that correct?
 ·7· · · · ·A.· ··Well, if you're saying if I had used
 ·8· ·the exact same precise methodology, I suppose
 ·9· ·that's true, but there's reasons not to do that
 10· ·that are described in the report, and I do follow
 11· ·the same general methodology, which is to analyze
 12· ·dates with clear firm-specific news and compare it
 13· ·to dates where there's no firm-specific news.
 14· · · · · · · ·So the overall methodology is the same.
 15· ·It's just I have a criteria for identifying
 16· ·additional dates for the Series C preferred stock
 17· ·and Series D preferred stock that I believe speak
 18· ·to -- that are potentially material events for the
 19· ·company that provide relevant evidence about market
 20· ·efficiency by testing those dates.
 21· · · · ·Q.· ··To be clear, on Exhibit 11, you can
 22· ·confirm that the price of the Series D preferred
 23· ·also never reacted in a statistically significant
 24· ·way to an earnings release; correct?
 25· · · · · · · ·MS. POSNER:··Objection.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 280 of 314 PageID
                                  #: 11294
                                                                     Page 280

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··Correct, and for the same reasons I
 ·3· ·responded to the Series C question, that did not
 ·4· ·surprise me.
 ·5· · · · ·Q.· ··Can you look at Exhibit 2-C, please.
 ·6· · · · ·A.· ··Okay.
 ·7· · · · ·Q.· ··What is this intended to show?
 ·8· · · · ·A.· ··It's just a graphical display of this
 ·9· ·particular information, what the closing price of
 10· ·the Series C preferred stock was, when the end of
 11· ·the analysis period was in the event that -- is the
 12· ·end of the analysis period, and then identifies the
 13· ·specific offerings that at least I was aware of
 14· ·that occurred during the analysis period.
 15· · · · ·Q.· ··And this shows stock price as well as
 16· ·volume data?
 17· · · · ·A.· ··I'm sorry, I left out the volume, yes.
 18· ·It shows the closing price of the Series C and the
 19· ·volume of the Series C on each day.
 20· · · · ·Q.· ··So you're saying, looking at this
 21· ·chronology here, prior to the middle of October
 22· ·2014, you would expect the price not to be reacting
 23· ·to company specific news, only interest rate
 24· ·movements?
 25· · · · · · · ·MS. POSNER:··Objection.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 281 of 314 PageID
                                  #: 11295
                                                                     Page 281

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··No.··I mean, it could react.··I was
 ·3· ·just devising a period where -- so it's plausible
 ·4· ·that it's reacting to company-specific news.··I was
 ·5· ·trying to define a more powerful test of the cause
 ·6· ·and effect relationship which would be the power of
 ·7· ·any test would be greater during the period where
 ·8· ·it was trading in a more equity-like fashion.
 ·9· · · · ·Q.· ··Let's go back to Exhibit 9 for a
 10· ·minute.··You drew these nine events from that
 11· ·period mid-October 2014 through the end of the
 12· ·analysis period and then I guess a little bit
 13· ·beyond that; right?
 14· · · · ·A.· ··Well, it includes the day after the
 15· ·analysis period, the day of the delisting, yes.
 16· · · · ·Q.· ··And when I look at Footnote 1, it looks
 17· ·like you referred to a time period of October 8,
 18· ·2012 through October 14, 2014.··Is that the period
 19· ·you used to evaluate no news days?
 20· · · · ·A.· ··I believe that's the case, yes.
 21· · · · ·Q.· ··So you drew the nine events on one side
 22· ·of your comparison from one period of time and you
 23· ·drew the 100 and whatever no news days from a
 24· ·different period of time?
 25· · · · ·A.· ··Again, there's no reason not to look at

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 282 of 314 PageID
                                  #: 11296
                                                                     Page 282

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·the no news days from the earlier point in time
 ·3· ·because you can still evaluate whether there were
 ·4· ·more than the expected statistically significant
 ·5· ·stock price movements based on chance alone during
 ·6· ·that period.··So that's still a relevant period to
 ·7· ·consider for the no news dates.
 ·8· · · · ·Q.· ··Why wouldn't you just use the same
 ·9· ·period of time?··Wouldn't it be better to use the
 10· ·same period of time for the event days and the no
 11· ·news days?
 12· · · · ·A.· ··The news event dates I'm picking come
 13· ·from post-2014, but for the no news days, there's
 14· ·no reason not to look at the entire period.··I
 15· ·mean, one could make that comparison too, but --
 16· · · · ·Q.· ··As a matter of methodology, wouldn't it
 17· ·be better, as a general matter, if you're drawing a
 18· ·comparison, to look at the event days from a period
 19· ·of time and compare them with the no news days from
 20· ·the same period of time?
 21· · · · ·A.· ··Well, I'm looking at both from the
 22· ·entire period of time.··I'm just identifying the
 23· ·nine event dates come from post 10/14 -- I'm sorry,
 24· ·post 10/15/2014, because that's when I believe
 25· ·there are events that are more likely to influence

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 283 of 314 PageID
                                  #: 11297
                                                                     Page 283

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·the price of the stock in a significant way.
 ·3· · · · ·Q.· ··Well, you didn't include the earnings
 ·4· ·events from the earlier period of time.
 ·5· · · · ·A.· ··Right, for reasons I described in my
 ·6· ·report.
 ·7· · · · ·Q.· ··I know.··So I'm asking if you're going
 ·8· ·to limit the period of time when you're looking at
 ·9· ·events, shouldn't you look at the same period of
 10· ·time when you're looking at no news days?··Wouldn't
 11· ·that be a better methodology?
 12· · · · ·A.· ··I don't think there's anything wrong
 13· ·with looking at no news dates over the entire
 14· ·period.··You could make that as an additional
 15· ·comparison, but I don't think that's necessarily a
 16· ·better way of doing it.
 17· · · · · · · ·When you get to a natural stopping
 18· ·point --
 19· · · · · · · ·MR. BALLARD:··This is perfect.··We can
 20· · · · ·take a break now.
 21· · · · · · · ·THE VIDEO TECHNICIAN:··We're going off
 22· · · · ·the record.··The time is 4:44 p.m.
 23· · · · · · · ·(Recess taken.)
 24· · · · · · · ·THE VIDEO TECHNICIAN:··The time is 4:54
 25· · · · ·p.m.··We're back on the record.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 284 of 314 PageID
                                  #: 11298
                                                                     Page 284

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··Mr. Coffman, could you turn to page 49
 ·3· ·of your report, please.
 ·4· · · · ·A.· ··Okay.
 ·5· · · · ·Q.· ··This is where you talk about damages,
 ·6· ·and in the carryover paragraph you indicate that
 ·7· ·plaintiffs' complaint alleges -- I'm sorry.··Hold
 ·8· ·on.··I've got the wrong page.··On pages 48 through
 ·9· ·49 --
 10· · · · ·A.· ··It starts on 47.
 11· · · · ·Q.· ··I'm sorry, you're right.··So let's go
 12· ·back.··From page 47 onward, you have a discussion
 13· ·of 10(b)5 damages as well as Section 11 damages;
 14· ·right?
 15· · · · ·A.· ··Yes.
 16· · · · ·Q.· ··And let's talk about Section 11 damages
 17· ·first.··In Section 11, there's a statutory formula
 18· ·that you mention in your report.··Right?
 19· · · · ·A.· ··Yes.
 20· · · · ·Q.· ··And you quote it here.··It states in
 21· ·part that you calculate damages for a Section 11
 22· ·claim in part based on the difference between the
 23· ·amount paid for the security not exceeding the
 24· ·price at which the security was offered to the
 25· ·public, and then the sale price, and there's

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 285 of 314 PageID
                                  #: 11299
                                                                     Page 285

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·several ways that can be calculated; right?
 ·3· · · · ·A.· ··Yes, not just the sales price but
 ·4· ·there's a number of different potential prices or
 ·5· ·values that you compare against based on when the
 ·6· ·shares sold.
 ·7· · · · ·Q.· ··Depending on whether you held it
 ·8· ·forever or whether you sold it during the class
 ·9· ·period or the like; right?
 10· · · · ·A.· ··Or I think it's technically not the
 11· ·class period, but the date of suit, or there's -- I
 12· ·mean, it says what it says.
 13· · · · ·Q.· ··Got it.··But the point is, for any of
 14· ·these damages calculations, you need to know the
 15· ·price at which the security was initially offered
 16· ·to the public; correct?
 17· · · · ·A.· ··That's one element of the calculation,
 18· ·yes.
 19· · · · ·Q.· ··Well, let's take a look at Mr. Ziesman.
 20· ·Do you have his certification?··It was Exhibit 37.
 21· · · · ·A.· ··Yes.
 22· · · · ·Q.· ··So Mr. Ziesman, as we've noted earlier,
 23· ·purchased in June of 2014 at a price of $25.43 per
 24· ·share basically.··Right?
 25· · · · ·A.· ··Slightly below that, but yes, it rounds

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 286 of 314 PageID
                                  #: 11300
                                                                     Page 286

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·to that.
 ·3· · · · ·Q.· ··He purchased at a price that was higher
 ·4· ·than any of the initial offering prices for the C
 ·5· ·series securities; is that correct?
 ·6· · · · ·A.· ··That's my understanding, yes.
 ·7· · · · ·Q.· ··So his damages will be limited by the
 ·8· ·statutory formula; is that correct?
 ·9· · · · ·A.· ··Yes.
 10· · · · ·Q.· ··To know what his damages are, you need
 11· ·to know which offering his shares came from; is
 12· ·that correct?
 13· · · · ·A.· ··Well, you could make a statement about
 14· ·that his -- the offering price wasn't below a
 15· ·certain number so you could use the lowest offering
 16· ·price and say that his damages would be at least
 17· ·that much, but --
 18· · · · ·Q.· ··To accurately calculate his damages,
 19· ·you need to know which offering his shares came
 20· ·from, correct, according to the statutory formula?
 21· · · · ·A.· ··Like I said, I think there's a way to
 22· ·calculate it conservatively, but to precisely base
 23· ·it on the offering that that individual security
 24· ·was bought in, I don't know if that's necessary,
 25· ·but if it is, then what I'm describing would be a

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 287 of 314 PageID
                                  #: 11301
                                                                     Page 287

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·conservative estimate, but not necessarily the
 ·3· ·precise amount of damages that he might be entitled
 ·4· ·to.
 ·5· · · · ·Q.· ··If his shares came from the initial
 ·6· ·offering in October 2012 at $23 per share, his
 ·7· ·damages would be capped based on the $23 amount
 ·8· ·under the statutory formula; correct?
 ·9· · · · ·A.· ··Could I have that read back.
 10· · · · ·Q.· ··I'll restate it.··If Mr. Ziesman's
 11· ·shares came from the October 12 offering in which
 12· ·shares were sold at $23 per share, the statutory
 13· ·formula would limit his damages based on the $23
 14· ·initial share price; correct?
 15· · · · ·A.· ··That's my understanding, yes.
 16· · · · ·Q.· ··If his shares came from the offering in
 17· ·February 2013, when shares were offered at $22.90
 18· ·per share, his damages would be limited based on
 19· ·that number; correct?
 20· · · · ·A.· ··I'm assuming you're quoting those
 21· ·numbers right without looking at them, but yes, it
 22· ·would be limited based on the offering price as of
 23· ·that date.
 24· · · · ·Q.· ··If his shares came from the
 25· ·at-the-market offering, his damages would be

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 288 of 314 PageID
                                  #: 11302
                                                                     Page 288

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·limited under the statutory formula to whatever the
 ·3· ·original at-the-market offering price was for those
 ·4· ·particular shares; correct?
 ·5· · · · ·A.· ··That's my understanding, yes.
 ·6· · · · ·Q.· ··Do you know if his shares,
 ·7· ·Mr. Ziesman's shares, came from the October 2012
 ·8· ·offering?
 ·9· · · · ·A.· ··I don't.
 10· · · · ·Q.· ··Do you know if they came from the
 11· ·at-the-market offering?
 12· · · · ·A.· ··I don't.
 13· · · · ·Q.· ··Do you know if they came from the 2013
 14· ·best efforts offering?
 15· · · · ·A.· ··You're referring to the at-the-market
 16· ·offering?
 17· · · · ·Q.· ··No.··There was an at-the-market
 18· ·offering in October 2012 and then a best efforts
 19· ·underwriting in February of 2013.
 20· · · · ·A.· ··I don't know.
 21· · · · ·Q.· ··Do you know if his shares came from the
 22· ·May 2013 offering?
 23· · · · ·A.· ··I don't know.
 24· · · · ·Q.· ··Do you know if his shares came from the
 25· ·June 27 offering?

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 289 of 314 PageID
                                  #: 11303
                                                                     Page 289

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·A.· ··I don't know.
 ·3· · · · ·Q.· ··So you can't say what Mr. Ziesman's
 ·4· ·damages would be under the statutory formula; isn't
 ·5· ·that fair?
 ·6· · · · · · · ·MS. POSNER:··Objection.
 ·7· · · · ·A.· ··If it's unclear which offering it came
 ·8· ·from, I haven't determined whether that's
 ·9· ·determinable or not, but if it can't be determined,
 10· ·the best one could do is the most conservative
 11· ·estimate of his damages.
 12· · · · ·Q.· ··Well, the statutory formula says
 13· ·damages are calculated based on the difference
 14· ·between the amount paid for the security not
 15· ·exceeding the price at which the security was
 16· ·offered.··Right?
 17· · · · ·A.· ··Yeah, and all I'm suggesting is that
 18· ·one could make a statement saying that his damages
 19· ·would be at least a certain amount if the -- if you
 20· ·could base it off of the lowest offering price.
 21· · · · ·Q.· ··So if we go back to that statutory
 22· ·formula and the parenthetical "not exceeding the
 23· ·price," you would be calculating damages by a
 24· ·formula where you would insert the word "lower"
 25· ·before the word "price," so the formula in the

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 290 of 314 PageID
                                  #: 11304
                                                                     Page 290

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·statute would be calculated based on the difference
 ·3· ·between the amount paid for the security not
 ·4· ·exceeding the lowest price at which the security
 ·5· ·was offered to the public?
 ·6· · · · ·A.· ··No.
 ·7· · · · · · · ·MS. POSNER:··Objection.
 ·8· · · · ·A.· ··I'm not rewriting the statute.··You're
 ·9· ·asking me -- again, I'm not -- it's not clear to me
 10· ·what offering he purchased in.··It's not clear to
 11· ·me whether or not that information would ultimately
 12· ·be available.
 13· · · · · · · ·I'm just saying that even if one
 14· ·couldn't determine his damages precisely based on
 15· ·the formula, if there was ambiguity about which
 16· ·offering he bought in, you could still make a
 17· ·statement potentially about the lowest amount of
 18· ·damages if it could be traced back to at least an
 19· ·offering that was at issue in the case.··I'm not --
 20· · · · · · · ·That's all I'm saying.··As a matter of
 21· ·math, you could identify that damages were at least
 22· ·some certain amount if you were able to trace it
 23· ·back to an offering that is at issue in the case.
 24· · · · ·Q.· ··You couldn't determine what his precise
 25· ·damages are under the statutory formula without

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 291 of 314 PageID
                                  #: 11305
                                                                     Page 291

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·being able to trace his shares back to a particular
 ·3· ·offering.··Isn't that a fact?
 ·4· · · · ·A.· ··I don't think you could identify the
 ·5· ·precise damages.··I think I already testified to
 ·6· ·that, yes.
 ·7· · · · ·Q.· ··And yet you have given an opinion in
 ·8· ·this case that you believe it would be possible to
 ·9· ·calculate Section 11 damages on a class-wide basis;
 10· ·is that not right?··That was the opinion you stated
 11· ·in your report?
 12· · · · ·A.· ··Well, I say -- again, embedded in
 13· ·paragraph 101 of my report is the idea that the
 14· ·purchase was made pursuant or traceable to the
 15· ·offering documents.··So if there's a determination
 16· ·that based on what you're showing me, it can't be
 17· ·traced, then that's not part of what would be
 18· ·calculated.
 19· · · · · · · ·If it can be traced, I'm saying I could
 20· ·make a statement about if it could be traced back
 21· ·to multiple offerings, one of multiple offerings
 22· ·that are part of the case, I could make a statement
 23· ·about that the damages were at least a certain
 24· ·amount, but I could not calculate the precise
 25· ·damages, so I could come up with a conservative

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 292 of 314 PageID
                                  #: 11306
                                                                     Page 292

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·estimate.
 ·3· · · · ·Q.· ··So for now, we're only talking about
 ·4· ·Mr. Ziesman; right?
 ·5· · · · ·A.· ··That's my understanding of what your
 ·6· ·question is.
 ·7· · · · ·Q.· ··Yes.
 ·8· · · · ·A.· ··Yeah.
 ·9· · · · ·Q.· ··So now let's talk about the entirety of
 10· ·the proposed Section 11 class.··Is it your
 11· ·testimony that you can calculate damages under the
 12· ·Section 11 formula for the proposed Section 11
 13· ·class in this case?
 14· · · · ·A.· ··My understanding of the definition of
 15· ·the class is people who purchased pursuant to or
 16· ·traceable to the offering documents, so that
 17· ·some -- that the definition of the class would only
 18· ·include people for which you could at least trace
 19· ·back to an offering, and I'm saying that while one
 20· ·might not be able to calculate precise damages for
 21· ·each investor, one would be able to calculate a
 22· ·minimum amount.
 23· · · · ·Q.· ··I'm not asking if you can calculate a
 24· ·minimum amount.··I'm asking if you can calculate
 25· ·the damages according to what you said is a

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 293 of 314 PageID
                                  #: 11307
                                                                     Page 293

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·statutory formula that can be applied on a
 ·3· ·class-wide basis.··You can't; can you?
 ·4· · · · ·A.· ··I don't think you can apply precisely
 ·5· ·the wording in here if you don't know which
 ·6· ·offering to trace it back to.
 ·7· · · · ·Q.· ··And you looked at volume data for the
 ·8· ·Series C shares; didn't you?
 ·9· · · · ·A.· ··I did.
 10· · · · ·Q.· ··They traded, in your opinion, quite
 11· ·frequently?
 12· · · · ·A.· ··They did trade quite frequently.
 13· · · · ·Q.· ··They turned over more than, on average,
 14· ·two times a year; right?
 15· · · · ·A.· ··That's true, yes.
 16· · · · ·Q.· ··Mr. Ziesman goes into his Scottrade
 17· ·account in June of 2014 and buys 1,000 shares of C
 18· ·series stock.··By that time, the C series has been
 19· ·trading and trading and trading in high volume for
 20· ·a long period of time; correct?
 21· · · · ·A.· ··On average, they were trading more than
 22· ·the average security on the exchange, so there was
 23· ·a lot of volume, yes.
 24· · · · ·Q.· ··So his shares are likely to have traded
 25· ·multiple times between the initial offering date,

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 294 of 314 PageID
                                  #: 11308
                                                                     Page 294

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·whenever that was, and we don't know when it was,
 ·3· ·and when he purchased them; right?
 ·4· · · · · · · ·MS. POSNER:··Objection.
 ·5· · · · ·A.· ··I don't know that you can conclude that
 ·6· ·those particular shares traded multiple times.··I
 ·7· ·just don't know.
 ·8· · · · ·Q.· ··There's just no way to know; right?
 ·9· · · · · · · ·MS. POSNER:··Objection.
 10· · · · ·A.· ··It's not clear whether there may or may
 11· ·not be records that would allow one to trace it
 12· ·back to a particular offering.··I'm just saying I
 13· ·don't have any information that would allow me to
 14· ·do that as I sit here.
 15· · · · ·Q.· ··Is the same true for the Series D
 16· ·shares, you don't know how or whether a particular
 17· ·plaintiff would be able to trace their shares back
 18· ·to a particular offering?
 19· · · · · · · ·MS. POSNER:··Objection.
 20· · · · ·A.· ··If they bought it in the offering
 21· ·itself, they presumably could.··If they bought in
 22· ·the secondary market, only after the first offering
 23· ·and not additional offerings, they might be able
 24· ·to.
 25· · · · · · · ·And again, whether they could after a

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 295 of 314 PageID
                                  #: 11309
                                                                     Page 295

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·secondary offering, I think would depend on what
 ·3· ·evidence there might be, but I don't know of any as
 ·4· ·I sit here.
 ·5· · · · ·Q.· ··So a plaintiff who actually bought in
 ·6· ·one of the offerings at the offering price, for
 ·7· ·that plaintiff, you could calculate their damages
 ·8· ·accurately under the statutory formula?
 ·9· · · · ·A.· ··Absolutely, yes.
 10· · · · ·Q.· ··It's just the people who bought in the
 11· ·aftermarket where you don't know?
 12· · · · · · · ·MS. POSNER:··Objection.
 13· · · · ·A.· ··Again, I think with the exception of
 14· ·people who bought after the first offering before
 15· ·there were any secondary offerings, one could
 16· ·logically trace back to the initial offering.
 17· · · · ·Q.· ··You're talking about the D series now?
 18· · · · ·A.· ··Theoretically, that would be true for
 19· ·both series.
 20· · · · ·Q.· ··Well, the first few offerings of C
 21· ·series are outside of the period and aren't at
 22· ·issue in this case so you could never trace back to
 23· ·those.
 24· · · · · · · ·MS. POSNER:··Objection.
 25· · · · ·Q.· ··I guess let me ask you this:··You've

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 296 of 314 PageID
                                  #: 11310
                                                                     Page 296

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·testified you could calculate damages for the
 ·3· ·Section 11 claim for the C series shares.··How
 ·4· ·would you do that?
 ·5· · · · ·A.· ··Well, for somebody that bought in one
 ·6· ·of the offerings, you would follow the statutory
 ·7· ·formula.··For somebody that bought in the
 ·8· ·aftermarket, you would have to evaluate if there
 ·9· ·was a way to trace it back to one or a series of
 10· ·the offerings that are relevant in the case, and
 11· ·like I said, you could -- you might not be able to
 12· ·calculate the damages precisely, but you could get
 13· ·a lower bound estimate of what those damages would
 14· ·be.
 15· · · · ·Q.· ··In your report, at paragraph 102, you
 16· ·wrote, "Given that there is a statutorily defined
 17· ·formula for Section 11 damages, it is clear that
 18· ·damages under Section 11 can be calculated using a
 19· ·common methodology for members of the Section 11
 20· ·class."
 21· · · · · · · ·Do you see that in paragraph 102?
 22· · · · ·A.· ··Yes, and I'm stating that with respect
 23· ·to what I say in paragraph 101 is my understanding
 24· ·that it has to be pursuant or traceable to the
 25· ·offering documents at issue in the case.

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 297 of 314 PageID
                                  #: 11311
                                                                     Page 297

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · ·Q.· ··So if a plaintiff didn't purchase any
 ·3· ·offering, like Mr. Ziesman, and can't trace to a
 ·4· ·particular offering, you can't calculate that
 ·5· ·plaintiff's damages under the statutory formula; is
 ·6· ·that fair?
 ·7· · · · ·A.· ··I think it would be difficult to do
 ·8· ·that with precision.··One might be able to say what
 ·9· ·the minimum amount of damages are, but it would be
 10· ·hard to know which precise offering price to use in
 11· ·the formula.
 12· · · · ·Q.· ··Let's turn back to the complaint in
 13· ·this case, the Second Amended Complaint, Exhibit 3,
 14· ·and I want to direct your attention again to
 15· ·paragraph 197.··That's the beginning of the section
 16· ·on the allegation that "the truth begins to
 17· ·emerge."··Do you have that in front of you?
 18· · · · ·A.· ··Yes.
 19· · · · ·Q.· ··Before we dig into that, I want to
 20· ·direct your attention to one other paragraph
 21· ·earlier in the complaint, paragraph 4.
 22· · · · · · · ·In paragraph 4, plaintiffs allege "The
 23· ·Miller Energy house of cards finally began to
 24· ·collapse in December 2013, when it started to
 25· ·become clear that the Alaska Assets were worth

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 298 of 314 PageID
                                  #: 11312
                                                                     Page 298

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·nowhere near what KPMG and Miller Energy said they
 ·3· ·were, in large part because the assumptions about
 ·4· ·how much it would cost Miller Energy to actually
 ·5· ·extract hydrocarbons from those Alaska Assets were
 ·6· ·massively and fraudulently understated."
 ·7· · · · · · · ·Do you see that?
 ·8· · · · ·A.· ··Yes.
 ·9· · · · ·Q.· ··And then plaintiffs allege in paragraph
 10· ·4, "As this reality materialized, Miller Energy's
 11· ·securities prices began to crumble."
 12· · · · · · · ·Do you see that?
 13· · · · ·A.· ··Yes.
 14· · · · ·Q.· ··Do you understand the plaintiffs are
 15· ·asserting a materialization of risk theory in this
 16· ·case?
 17· · · · ·A.· ··I understand those words appear and
 18· ·might be a legal way of describing loss causation
 19· ·in this case, but my understanding is that they're
 20· ·alleging that the fact that these assets were worth
 21· ·far less than what was being reported was known or
 22· ·should have been known from the very beginning so
 23· ·that it didn't require additional events for the
 24· ·risk to materialize.
 25· · · · ·Q.· ··You understand that the plaintiffs

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 299 of 314 PageID
                                  #: 11313
                                                                     Page 299

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·allege that there were quantities of oil and gas
 ·3· ·reserves in the Alaska Assets that had not been
 ·4· ·extracted yet, they were underground or underwater;
 ·5· ·right?
 ·6· · · · ·A.· ··That's my understanding, yes.
 ·7· · · · ·Q.· ··And plaintiffs allege that the costs
 ·8· ·associated with extracting the oil from under the
 ·9· ·ground or under the water, plaintiffs allege they
 10· ·were understated, those costs; right?
 11· · · · ·A.· ··That's part of what they're alleging, I
 12· ·understand.
 13· · · · ·Q.· ··And they allege that by understating
 14· ·the cost of extraction, the value of the assets was
 15· ·effectively overstated?
 16· · · · · · · ·MS. POSNER:··Objection.
 17· · · · ·A.· ··That's at least one part of what
 18· ·they're alleging.··I don't know if there's other
 19· ·things, but that's a general understanding of part
 20· ·of what they're alleging, yes, is that the value is
 21· ·overstated for at least that reason.
 22· · · · ·Q.· ··So hypothetically, if the cost of
 23· ·extracting a barrel of oil is $10 a barrel and the
 24· ·price of oil is $100 a barrel, there could be great
 25· ·value there, but if the cost of extraction is $10

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 300 of 314 PageID
                                  #: 11314
                                                                     Page 300

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·and the price of oil is $5, there could be no value
 ·3· ·there if that's the price of oil; right?
 ·4· · · · · · · ·MS. POSNER:··Objection.
 ·5· · · · ·A.· ··Possibly under your hypothetical.··You
 ·6· ·have to think about option values and things like
 ·7· ·that too, but your general point is understood,
 ·8· ·yes.
 ·9· · · · ·Q.· ··The value of the Alaska Assets could
 10· ·depend on both the price of oil and the cost of
 11· ·extraction?
 12· · · · · · · ·MS. POSNER:··Objection.
 13· · · · ·A.· ··That's fair, yes.
 14· · · · ·Q.· ··And the plaintiffs are alleging that
 15· ·Miller Energy made assumptions about the cost of
 16· ·extracting the oil and that those were understated
 17· ·or effectively understated the cost of extraction.
 18· ·That's what they're alleging, you understand that;
 19· ·right?
 20· · · · · · · ·MS. POSNER:··Objection.
 21· · · · ·A.· ··That's at least my understanding of
 22· ·what they're alleging.··Again, I don't have
 23· ·committed to memory all the bases of what they're
 24· ·alleging, but that's a good -- I think obviously
 25· ·paragraph 4 is a summary of what they're alleging,

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 301 of 314 PageID
                                  #: 11315
                                                                     Page 301

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·which is that the costs that were embedded in how
 ·3· ·the valuation was done were unrealistic.··That's my
 ·4· ·understanding of their complaint.
 ·5· · · · ·Q.· ··Have you done any analysis of the
 ·6· ·allegations of the complaint regarding the risk
 ·7· ·materializing and the truth leaking out?
 ·8· · · · ·A.· ··I think you're asking if I analyzed
 ·9· ·loss causation and the answer is no.
 10· · · · ·Q.· ··So you haven't taken a look at the
 11· ·events alleged beginning in paragraph 197, going
 12· ·forward, to see if they were leaking out new
 13· ·information or correcting prior misstatements?··You
 14· ·haven't taken a look at that?
 15· · · · ·A.· ··That's not an analysis I performed, no.
 16· · · · ·Q.· ··If you were asked to calculate damages
 17· ·in this case for the 10(b) plaintiffs, how would
 18· ·you go about doing that?
 19· · · · ·A.· ··Well, it's described in my report.··I
 20· ·would calculate the difference between the
 21· ·artificial inflation at the time of purchase minus
 22· ·the artificial inflation at the time of sale.
 23· ·That's how damages are calculated.··That would rely
 24· ·on a detailed loss causation analysis to actually
 25· ·quantify the artificial inflation at different

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 302 of 314 PageID
                                  #: 11316
                                                                     Page 302

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·points in time and that's something I have not
 ·3· ·determined precisely how I would do it.
 ·4· · · · ·Q.· ··Well, let's look at paragraph 100 of
 ·5· ·your report.··In this paragraph, you're talking
 ·6· ·about the methodology that you would use if you
 ·7· ·were asked to calculate damages for the 10(b)
 ·8· ·class?
 ·9· · · · ·A.· ··Well, I think in paragraph 99, I define
 10· ·how damages would be calculated.··I then talk in
 11· ·paragraph 100 about some of the procedures that
 12· ·would be used to potentially analyze artificial
 13· ·inflation per share, but I don't determine
 14· ·precisely how artificial inflation per share would
 15· ·be quantified based on the facts and circumstances
 16· ·of this case.
 17· · · · ·Q.· ··And I think you said you haven't looked
 18· ·at artificial inflation in this case and you
 19· ·haven't been asked to; is that right?
 20· · · · ·A.· ··In terms of quantifying it, correct.
 21· · · · ·Q.· ··In paragraph 100 you write, "In
 22· ·particular, as is standard procedure in Section
 23· ·10(b) cases, the most common methodology to
 24· ·quantify artificial inflation is to perform an
 25· ·event study that measures price reaction to

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 303 of 314 PageID
                                  #: 11317
                                                                     Page 303

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·disclosures that reveal the relevant truth
 ·3· ·concealed by the alleged material omissions and/or
 ·4· ·misrepresentations."
 ·5· · · · · · · ·You wrote that?
 ·6· · · · ·A.· ··I did, yes.
 ·7· · · · ·Q.· ··Have you done anything to evaluate what
 ·8· ·the relevant truth concealed by the alleged
 ·9· ·material omissions and/or misstatements was in this
 10· ·case?
 11· · · · ·A.· ··Well, I generally understand it to be
 12· ·the overvaluation of the assets, and the -- that
 13· ·were signed off by the company KPMG in their
 14· ·financial statements.
 15· · · · ·Q.· ··So if you were conducting a damages or
 16· ·loss causation analysis in this case, you would be
 17· ·looking at the events that supposedly corrected the
 18· ·prior misstatements to see if they revealed a
 19· ·relevant truth?
 20· · · · ·A.· ··That would be part of the analysis,
 21· ·yes.
 22· · · · ·Q.· ··And what exactly would you be looking
 23· ·for in looking at the disclosures that revealed the
 24· ·relevant truth?
 25· · · · ·A.· ··Can you be a little more specific in

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 304 of 314 PageID
                                  #: 11318
                                                                     Page 304

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·your question?··I'm a little confused by what you
 ·3· ·mean.
 ·4· · · · ·Q.· ··In doing this analysis where you would
 ·5· ·have to look at disclosures that revealed the
 ·6· ·relevant truth, that's your phrase, would you be
 ·7· ·looking for a disclosure of a specific misstatement
 ·8· ·or omission on the part of KPMG?
 ·9· · · · ·A.· ··I don't think the announcement, itself,
 10· ·would necessarily have to mention KPMG, but it
 11· ·would have to be either a direct or indirect
 12· ·revelation that the value of the underlying assets
 13· ·were less than what the market had believed they
 14· ·were based on those statements.
 15· · · · ·Q.· ··Would you be looking for disclosures
 16· ·that relate to the cost of extraction and whether
 17· ·they were higher than previously stated or assumed?
 18· · · · ·A.· ··That's one thing that might be relevant
 19· ·to look at, yes.
 20· · · · ·Q.· ··What else might you be looking for to
 21· ·determine what disclosures revealed the relevant
 22· ·truth?
 23· · · · ·A.· ··Given that I haven't been asked to
 24· ·analyze loss causation, I haven't concluded
 25· ·precisely what all the different categories or

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 305 of 314 PageID
                                  #: 11319
                                                                     Page 305

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·types of information that might potentially be
 ·3· ·partially corrective would be, so I don't think I
 ·4· ·could answer your question.
 ·5· · · · ·Q.· ··So if we went through the paragraphs in
 ·6· ·this section in the complaint beginning on page 197
 ·7· ·regarding the truth beginning to emerge, I could
 ·8· ·ask you about each of them, but you haven't
 ·9· ·evaluated whether they are, in fact, corrective
 10· ·disclosures or whether the truth was coming out for
 11· ·any of those; right?
 12· · · · ·A.· ··That's correct.
 13· · · · ·Q.· ··So sitting here today, you don't know
 14· ·how you would -- if you were to conduct that kind
 15· ·of study, how you would treat any of these
 16· ·particular events or disclosures; is that fair?
 17· · · · ·A.· ··That's fair.··I haven't drawn any
 18· ·conclusions about precisely how I would treat any
 19· ·of those particular events or even whether there's
 20· ·other events that might qualify.
 21· · · · · · · ·(Exhibit 38, Brean Capital report from
 22· · · · ·October 13, 2014, marked for identification,
 23· · · · ·as of this date.)
 24· · · · ·Q.· ··I'm going to hand you Exhibit No. 38.
 25· ·In paragraph 214 of the complaint, plaintiffs

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 306 of 314 PageID
                                  #: 11320
                                                                     Page 306

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·allege that "On October 13, 2014, after trading
 ·3· ·hours" --
 ·4· · · · ·A.· ··What paragraph number?
 ·5· · · · ·Q.· ··214.··In paragraph 214, plaintiffs
 ·6· ·allege that "On October 13, 2014, after trading
 ·7· ·hours, Reuters reported that Brean Capital, a firm
 ·8· ·whose analyst had been following Miller Energy
 ·9· ·closely, cut its price target from $9 to $7."
 10· · · · · · · ·And then plaintiffs allege that "On and
 11· ·around this day, and on this news, risks or truth
 12· ·concealed by, or effects associated with, KPMG's
 13· ·fraud were partially revealed, leaked out, or
 14· ·materialized, and as a result, Miller Energy's
 15· ·stock price fell."
 16· · · · · · · ·Do you see that?
 17· · · · ·A.· ··Yes.
 18· · · · ·Q.· ··If you look at Exhibit number 38, you
 19· ·can see this is the Brean Capital report from
 20· ·October 13, 2014?
 21· · · · ·A.· ··It's a Brean Capital report from that
 22· ·date, yes.
 23· · · · ·Q.· ··At the beginning, it starts in the
 24· ·investment summary by saying "We reduced our 2014
 25· ·crude oil and natural gas price forecasts."

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 307 of 314 PageID
                                  #: 11321
                                                                     Page 307

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· · · · · · · ·Do you see that?
 ·3· · · · ·A.· ··I see that.
 ·4· · · · ·Q.· ··And then in the next sentence, "We also
 ·5· ·reduced our long-term forecasts for crude oil."
 ·6· · · · · · · ·Do you see that?
 ·7· · · · ·A.· ··I see that.
 ·8· · · · ·Q.· ··And then in the next sentence, "These
 ·9· ·changes in our commodity price forecasts led to
 10· ·significant price target changes in our coverage
 11· ·universe, most notably for Bonanza Creek, Emerald
 12· ·Oil, Laredo Petroleum, Miller Petroleum and Warren
 13· ·Resources."
 14· · · · · · · ·Do you see that?
 15· · · · ·A.· ··I see that.
 16· · · · ·Q.· ··Do you see any indication here that
 17· ·this report had anything to do with anything other
 18· ·than the price of oil falling?
 19· · · · ·A.· ··I don't see any specific reference here
 20· ·beyond oil prices.
 21· · · · ·Q.· ··It sure doesn't look like any relevant
 22· ·truth came out of this report; right?
 23· · · · · · · ·MS. POSNER:··Objection.
 24· · · · ·A.· ··I would have to understand if there was
 25· ·some theory being asserted by which the oil price

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 308 of 314 PageID
                                  #: 11322
                                                                     Page 308

 ·1· · · · · · · · · · · ··C. Coffman
 ·2· ·declines are somehow representative of risks
 ·3· ·materializing that's related to the fraud, but in
 ·4· ·terms of company-specific information that is
 ·5· ·contained in here, I don't see anything.
 ·6· · · · · · · ·MR. BALLARD:··It's 5:30 and I promised
 ·7· · · · ·to wrap up by 5:30 so I think we will call it
 ·8· · · · ·a day.
 ·9· · · · · · · ·MS. POSNER:··Before we go off the
 10· · · · ·record, since I, in our seven hours, haven't
 11· · · · ·had a chance to redirect, and since we're
 12· · · · ·going to have to bring Mr. Coffman back
 13· · · · ·anyway, I'm happy, if you need a few more
 14· · · · ·minutes to finish up to be able to do that on
 15· · · · ·the portions you didn't get to today, and I
 16· · · · ·will do my redirect then.
 17· · · · · · · ·MR. BALLARD:··We might as well do it
 18· · · · ·when we come back.
 19· · · · · · · ·THE VIDEO TECHNICIAN:··This completes
 20· · · · ·the deposition of Chad Coffman on April 12,
 21· · · · ·2019, at 5:30 p.m.··We are off the record.
 22· · · · · · · ·(Time noted:··5:30 p.m.)
 23· ·
 24· ·
 25· ·

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 309 of 314 PageID
                                  #: 11323
Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 310 of 314 PageID
                                  #: 11324
                                                                     Page 310

 ·1· ·
 ·2· · · · · · · · · ·C E R T I F I C A T E
 ·3· ·STATE OF NEW YORK )
 ·4· · · · · · · · · · ·:
 ·5· ·COUNTY OF NEW YORK)
 ·6· ·
 ·7· · · · ·I, ELEANOR GREENHOUSE, a Shorthand Reporter
 ·8· ·and Notary Public within and for the State of New
 ·9· ·York, do hereby certify:
 10· · · · ·That, CHAD COFFMAN, the witness whose
 11· ·deposition is hereinbefore set forth, was duly
 12· ·sworn by me and that such deposition is a true
 13· ·record of the testimony given by such witness.
 14· · · · ·I further certify that I am not related to
 15· ·any of the parties to this action by blood or
 16· ·marriage, and that I am in no way interested in the
 17· ·outcome of this matter.
 18· · · · ·IN WITNESS WHEREOF, I have hereunto set my
 19· ·hand this 14th day of April, 2019.
 20· ·
 21· ·
 22· · · · · · · · · ··______________________________
 23· · · · · · · · · · · · ··ELEANOR GREENHOUSE
 24· ·
 25· ·

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 311 of 314 PageID
                                  #: 11325
                                                                     Page 311

 ·1· ·
 ·2· ·April 12, 2019
 ·3· · · · · · · · · · · · ·I N D E X
 ·4· ·WITNESS· · · · · · ·EXAMINATION BY· · · · ·PAGE
 ·5· ·CHAD COFFMAN· · · ··MR. BALLARD· · · · · · · ·4
 ·6· ·
 ·7· ·REQUESTS (RQ):··137-7, 136-11
 ·8· ·
 ·9· · · · · · · · · · ··E X H I B I T S
 10· ··EXHIBIT· · ··DESCRIPTION· · · · ··PAGE··LINE
 11· ··Exhibit 25, March 15, 2019· · · · · ·4· ··6
  · ···expert report of Chad Coffman
 12· ·
  · ···Exhibit 26, Second Amended· · · · ·109· ·18
 13· ··Form 10-K for Miller Energy
  · ···for the period ending April
 14· ··30, 2011
 15· ··Exhibit 27, detail printed· · · · ·109· ·24
  · ···from the EDGAR website for
 16· ··Second Amended Form 10-K for
  · ···Miller Energy for the period
 17· ··ending April 30, 2011, with
  · ···filing date of August 29, 2011
 18· ·
  · ···Exhibit 28, Form 10-K for· · · · ··112· ··3
 19· ··Miller Energy for the period
  · ···ended April 30, 2012
 20· ·
  · ···Exhibit 29, detail printed· · · · ·112· ··6
 21· ··from the EDGAR website for
  · ···Form 10-K for Miller Energy
 22· ··for the period ended April 30,
  · ···2012, showing filing date of
 23· ··July 16, 2012 at 5:17 p.m.
 24· ·
 25· ·

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 312 of 314 PageID
                                  #: 11326
                                                                     Page 312

 ·1· ·
 ·2· · · · · · · · · ·I N D E X (Continued.)
 ·3· · · · · · · · · · ··E X H I B I T S
 ·4· ··EXHIBIT· · ··DESCRIPTION· · · · ··PAGE··LINE
 ·5· ··Exhibit 30, document· · · · · · · ·192· ·15
  · ···indicating filing date of July
 ·6· ··15, 2013, 5:18 p.m., for April
  · ···30, 2013 Form 10-K
 ·7· ·
  · ···Exhibit 31, July 16, 2013 8-K· · ··194· ··7
 ·8· ·
  · ···Exhibit 32, document· · · · · · · ·194· ··9
 ·9· ··indicating filing date of 8:13
  · ···a.m., on July 16, 2013, for
 10· ··July 16, 2013, 8-K
 11· ··Exhibit 33, printout of· · · · · ··195· ·19
  · ···some the backup material used
 12· ··in Chad Coffman's expert report
 13· ··Exhibit 34, printout from· · · · ··199· ··2
  · ···Marketwired
 14· ·
  · ···Exhibit 35, Dow Jones press· · · ··200· ·12
 15· ··release
 16· ··Exhibit 36, document indicating· ··220· ··4
  · ···that the concerned shareholder
 17· ··letter and the accompanying
  · ···materials were filed with the
 18· ··SEC on December 17, at 11:41 a.m.
 19· ··Exhibit 37, Certification of· · · ·263· ·14
  · ···Martin Ziesman
 20· ·
  · ···Exhibit 38, Brean Capital· · · · ··305· ·21
 21· ··report from October 13, 2014
 22· ·
 23· ·
 24· ·
 25· ·

                   REPORTERS CENTRAL, LLC * 212-594-3582

Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 313 of 314 PageID
                                  #: 11327
   Errata – Deposition of Chad Coffman – 04-12-2019
         1. 46: 4-6 – Missing “the,” should state “I think it’s fair to say that the event study
             tests are more direct than some of [the] other factors.”
         2. 47: 15 – “marketing,” should be “market”.
         3. 52: 9 – “race,” should be “release.”
         4. 80: 18 – “Investec,” should be “Investext.”
         5. 87: 24 – “snow,” should be “know.”
         6. 88: 5 – “Investec,” should be “Investext.”
         7. 89: 2 – “dedicating,” should be “dedicated.”
         8. 96: 7 – “Investec,” should be “Investext.”
         9. 159: 7 - “analysts reports,” should be “analyst reports.”
         10. 244: 17 – “14th,” should be “4th.”
         11. 245: 6 – “day 8” should state “December 8.”
         12. 272: 4 – “10.7 percent,” should be “10.75 percent”.
         13. 281: 20 – When I gave the answer “I believe that’s the case, yes,”, I had
             interpreted the question to be asking whether that was “a” period from which I
             evaluated no news dates, not “the” period (i.e. to the exclusion of other periods).
             As is evident from my report and backup data, the period I used to evaluate “no
             news” dates spans October 8, 2012 to July 31, 2015”




Case 3:16-cv-00121-TAV-DCP Document 138-1 Filed 05/22/19 Page 314 of 314 PageID
                                  #: 11328
